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U.S. DISTRICT COURT
    N.D. OF ALABAMA
Don Houston                                                                                                           1
                                        Page 1                                                         Page 3
 1     IN THE UNITED STATES DISTRICT COURT                    1 thereto.
 2     FOR THE NORTHERN DISTRICT OF ALABAMA                   2       IT IS FURTHER STIPULATED AND AGREED
 3           SOUTHERN DIVISION                                3 that notice of filing of deposition by
 4                                                            4 commissioner is waived.
 5 CIVIL ACTION NO. 2:12-cv-02819-RDP                         5
 6                                                            6               INDEX
 7 GINA KAY RAY, KRISTY FUGATT, et al.                        7
 8     PLAINTIFF(S),                                          8   EXAMINATION BY:                        PAGE NO.
 9 VS.                                                        9   Mr. Evans                     9; 232
10 JUDICIAL CORRECTION SERVICES,                             10                           289
11 INC., et al.,                                             11   Mr. Tankersley                182; 294
12     DEFENDANT(S).                                         12   Mr. Finch                     285
13                                                           13
14 CIVIL ACTION NO. 2:15-cv-00493-RDP                        14              EXHIBITS
15                                                           15
16 KARI WOODS, HALI WOODS, et al.,                           16   Plaintiff's Exhibit:
17     PLAINTIFF(S),                                         17   No. 283      Notice of Deposition-CHC     43
18 VS.                                                       18   No. 284      Notice of Deposition-Houston 43
19 THE CITY OF COLUMBIANA, et al.,                           19   No. 285      Notice of Deposition-Houston 44
20     DEFENDANT(S).                                         20   No. 286      Notice of Deposition-CHC     44
21                                                           21   No. 287      Large Organization Chart 51
22            DEPOSITION OF                                  22            (Set Out Separately)
23            DON HOUSTON                                    23   No. 288      Chain/Goetz 10-6-11       77
                                                    Page 2                                                       Page 4
 1            STIPULATION                                     1   Plaintiff's Exhibit:     Page No.
 2          IT IS STIPULATED AND AGREED, by and               2   No. 289 CHC/JCS Merger Agreement 80
 3   between the parties through their respective             3   No. 290 Chain/Houston 10-13-11        81
 4   counsel, that the deposition of DON HOUSTON              4   No. 291 Email/Houston 7-7-11        82
 5   may be taken before Kerry K. Thames, Commis-             5   No. 292 Chain/Houston 7-27-11        84
 6   sioner, at 600 Marriott Drive, Nashville,                6   No. 293 Email/Goetz 1-31-12        87
 7   Tennessee, on September 12, 2016, commencing             7   No. 294 Email/Houston 6-2-12        89
 8   at 9:05 A.M.                                             8   No. 295 Email/Ray 10-26-12        92
 9          IT IS FURTHER STIPULATED AND AGREED               9   No. 296 12-7-12 Ray Hire Document 95
10   that the signature to and reading of the                10   No. 297 Email/Houston 12-13-12        96
11   deposition by the witness is waived, said               11   No. 298 Chain/Goetz 12-31-12        99
12   deposition to have the same force and effect            12   No. 299 Email/Houston 1-9-13       100
13   as if full compliance had been had with all             13   No. 300 Chain/Houston 1-23-13       103
14   laws and rules of court relating to the taking          14   No. 301 Chain/Goetz 1-30-13       104
15   of depositions.                                         15   No. 302 Chain/Goetz 1-5-13       106
16          IT IS FURTHER STIPULATED AND AGREED              16   No. 303 Chain/Houston 1-4-13       108
17   that it shall not be necessary for any                  17   No. 304 Chain/Goetz 1-15-13       109
18   objections to be made by counsel to any                 18   No. 305 Email/Houston 5-17-14       112
19   questions except as to form or leading                  19   No. 306 Chain/Goetz 5-14-13       113
20   questions, and that counsel for the parties             20   No. 307 Email/Houston 6-25-13       115
21   may make objections and assign grounds at the           21   No. 308 Email/Goetz 7-29-13       117
22   time of the trial, or at the time said                  22   No. 309 Email/Goetz 8-20-13       118
23   deposition is offered in evidence, or prior             23   No. 310 Email/Allison 11-6-13     119
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Don Houston                                                                                        2
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 1   Plaintiff's Exhibit:       Page No.              1            APPEARANCES
 2   No. 311 Chain/Buss 11-12-13          121         2
 3   No. 312 Chain/Buss 1-13-14          123          3   FOR THE PLAINTIFF(S):
 4   No. 313 CCS Executive Leadership 127             4   Mr. G. Daniel Evans
 5           Document for 2014                        5   Ms. Alexandria Parrish
 6   No. 314 CCS Leadership Document for 129          6   THE EVANS LAW FIRM
 7           2015                                     7   1736 Oxmoor Road, Suite 101
 8   No. 315 Noncompete for Stan Stevens 148          8   Birmingham, Alabama 35209
 9   No. 316 Houston 2013 W-2 Forms          154      9
10   No. 317 Kidd 2013 W-2 Forms           156       10   FOR THE DEFENDANT(S):
11   No. 318 6-13-14 CCS Open Letter        158      11   Mr. F. Lane Finch, Jr.
12   No. 319 7-23-14 Dominicis Letter 160            12   SWIFT, CURRIE, MCGHEE AND HIERS
13   No. 320 Chain/Buss 2-11-14          168         13   2 North 20th Street
14   No. 321 Email/Ray 9-11-15          171          14   Suite 1405
15   No. 322 Email/Ray 10-2-15          174          15   Birmingham, Alabama 35203
16   No. 323 1-1-15 Management Services 177          16
17           Agreement Between CHC and CCS           17   Mr. Will Hill Tankersley
18   No. 324 Chain/Allison 5-15-14        232        18   BALCH & BINGHAM
19   No. 325 Email/Ray 9-4-14          235           19   1901 6th Avenue North
20   No. 326 Email/Lloyd 6-16-14         238         20   Suite 1500
21   No. 327 CHC Integration Project      240        21   Birmingham, Alabama 35203
22   No. 328 Chain/McClure 9-11-15          252      22
23   No. 329 Chain/McClure 9-8-15          254       23
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 1   Plaintiff's Exhibit:          Page No.           1   FOR THE DEFENDANT(S) CONTINUED:
 2   No. 330 Chain/McClure 3-16-15           255      2   Mr. Michael L. Jackson
 3   No. 331 Chain/Houston 12-5-14           257      3   WALLACE, JORDAN, RATLIFF & BRANDT
 4   No. 332 Chain/Lloyd 2-11-15            260       4   800 Shades Creek Parkway
 5   No. 333 JCS Filed 2015 Annual Report 262         5   Suite 400
 6   No. 334 CHC Filed 2015 Annual Report 264         6   Birmingham, Alabama 35209
 7   No. 335 3-9-16 State of Georgia        266       7
 8           Filing for JCS                           8   Mr. J. Bentley Owens, III
 9   No. 336 JCS, etc., Answers to        272         9   ELLIS, HEAD, OWENS & JUSTICE
10           First Interrogatories                   10   113 North Main Street
11                                                   11   Columbiana, Alabama 35051
12   Defendant's Exhibit:                            12
13   No. 1   Organizational Chart     284            13
14                                                   14
15                                                   15
16                                                   16
17                                                   17
18                                                   18
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21                                                   21
22                                                   22
23                                                   23

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Don Houston                                                                                                   3
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 1          I, Kerry K. Thames, acting as                  1        Q. How many times have you been to
 2   Commissioner, certify that on this date as            2   Alabama?
 3   provided by the Federal Rules of Civil                3        A. Not many. Probably less than five
 4   Procedure, and the foregoing stipulation of           4   in my life.
 5   counsel, there came before me DON HOUSTON,            5        Q. All right, and what was your
 6   witness in the above cause, for oral                  6   business to Alabama?
 7   examination, whereupon the following                  7        A. Either driving through --
 8   proceedings were had:                                 8        Q. Uh-huh.
 9                                                         9        A. -- I actually went there in 1989
10               DON HOUSTON,                             10   taking -- I took Soviet inspectors to a
11   being first duly sworn, was examined and             11   facility outside of Birmingham.
12   testified as follows:                                12        Q. Outside of Birmingham?
13                                                        13        A. Yeah, I think that's where it was,
14           THE COURT REPORTER: Usual                    14   but it was during -- I was an interpreter for
15   stipulations?                                        15   the Intermediate Nuclear Forces Treaty, and so
16           MR. FINCH: That's fine.                      16   we took Soviet inspectors to a number of
17                                                        17   places in the United States wherever they had
18   EXAMINATION BY MR. EVANS:                            18   Pershing 1A and Pershing 2 missiles.
19        Q. Would you state your name, please,           19        Q. Do you speak Russian?
20   sir?                                                 20        A. (Indicating). Yes.
21        A. Don Houston.                                 21        Q. I would say yes.
22        Q. Mr. Houston, I'm Danny Evans. We             22        A. Yes.
23   met just a few minutes earlier. I have the           23        Q. That's interesting.
                                                Page 10                                              Page 12
 1   opportunity to ask you some questions today.          1            (Whereupon, an off-the-record
 2   Have you given depositions before?                    2   discussion was had).
 3        A. I have.                                       3        Q. (BY MR. EVANS) Other than the
 4        Q. Okay, well, you know the routine,             4   time you came there, do you remember any
 5   then, and --                                          5   other --
 6        A. I do.                                         6        A. Yeah, I made a trip there probably
 7        Q. -- I know you've met with Mr.                 7   in '14 or '15 just to meet with Colleen Ray.
 8   Finch. Obviously, if you need to take a break         8        Q. I see. And was that your only
 9   or anything like that, please let us know. At         9   visit as far as business interests --
10   different points today I'll mark some                10        A. Yes.
11   documents as exhibits and refer to them as           11        Q. -- that we're here about?
12   exhibit numbers. I'm sure you've had that            12        A. Yes.
13   done before too --                                   13        Q. And you met with Mrs. Ray. Where
14        A. I have.                                      14   did you meet with her?
15        Q. -- so we've got a lot of paper               15        A. It was outside of -- what is that,
16   that we'll show you. I would like to just            16   Selma. I think it's Selma, yeah.
17   start off with a little bit of background            17        Q. Could have been. And that's at or
18   information about you if I may. Do you have          18   about the time that JCS was pulling out of
19   any connections in Alabama, any relatives,           19   Alabama, it sounds like?
20   any --                                               20        A. It was prior to that.
21        A. No, I do not.                                21        Q. Was it?
22        Q. Have you been to Alabama?                    22        A. Yeah.
23        A. I've been to Alabama.                        23        Q. What was the purpose of your
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Don Houston                                                                                               4
                                            Page 13                                              Page 15
 1   meeting?                                          1        A. '78.
 2        A. It was to discuss whether or not          2        Q. So you got out of the Army and
 3   we were going to hire a firm, a lobbying firm.    3   got your --
 4        Q. And did you?                              4        A. Then went to school.
 5        A. No.                                       5        Q. I see. You said you got your B.A.
 6        Q. Did you hire any lobbying                 6   degree in '78 and you got out of the Army --
 7   individuals --                                    7        A. Yeah -- well, actually I started
 8        A. No.                                       8   in '78 and got out in '82, so that was
 9        Q. -- at that time?                          9   incorrect.
10        A. No.                                      10        Q. I see. So you got out of the Army
11        Q. Had you hired other lobbying             11   in '78 --
12   individuals prior to that time?                  12        A. Correct.
13        A. No. In Alabama, no.                      13        Q. -- and did you go immediately to
14        Q. And this was in relation to the          14   work --
15   JCS operation in Alabama, is that right?         15        A. I did.
16        A. Yes.                                     16        Q. -- with the Department of
17        Q. We'll get into that in more              17   Corrections?
18   detail.                                          18        A. No, I went to -- went to school,
19        A. Okay.                                    19   and I taught for two years, and then went to
20        Q. I would like to know just a brief        20   TDCJ right after that.
21   synopsis of your education. Can you tell me      21        Q. And I'm not familiar with that
22   that?                                            22   acronym.
23        A. I have a bachelor's degree in            23        A. Texas Department of Corrections.
                                            Page 14                                              Page 16
 1   education and psychology, postgraduate work in    1        Q. Okay. So you would have taught
 2   psychology.                                       2   until '84, and then in '84 you would have gone
 3        Q. And when did you get your B.A.            3   to the Department of Corrections?
 4   degree?                                           4        A. Correct.
 5        A. 1978.                                     5        Q. Until '91 --
 6        Q. As far as your activity after your        6        A. Correct.
 7   school, if you can carry me forward with your     7        Q. -- I presume?
 8   work history a little bit, where you worked,      8           MR. FINCH: Be sure you let him
 9   what you did, and so forth.                       9   finish so you don't make it hard on the court
10        A. Okay. Seven years in the U.S.            10   reporter trying to get two people at once.
11   Army.                                            11        A. Okay.
12        Q. Okay.                                    12           (Whereupon, an off-the-record
13        A. Seven years with the Department          13   discussion was had).
14   of -- Texas Department of Corrections.           14        Q. (BY MR. EVANS) What position did
15   Seventeen years with a private prison company.   15   you have with the Department of Corrections?
16        Q. Which was that?                          16        A. I was supervisor over the
17        A. Wackenhut Corrections.                   17   Diagnostic and Psychological Department.
18        Q. I'm sorry?                               18        Q. Okay. And why did you leave
19        A. Wackenhut, W-a-c-k-e-n-h-u-t,            19   there?
20   Corrections.                                     20        A. Offered a better job.
21        Q. And rather than just the years,          21        Q. And that was with Wackenhut
22   can we put a date on -- when did you get out     22   Corrections?
23   of the Army?                                     23        A. Wackenhut Corrections.
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 1        Q. So you went directly from the             1   2009?
 2   Department of Corrections to Wackenhut?           2        A. I had a chance to become president
 3        A. Yes.                                      3   of a small medical company.
 4        Q. Okay. And it sounds like that             4        Q. And what was that?
 5   would have been, if you worked with Wackenhut     5        A. Physicians Network Association.
 6   seventeen years, that would have put you up       6        Q. PNA?
 7   until about 2008, is that right?                  7        A. PNA.
 8        A. 2009, yes, sir.                           8        Q. And who offered you that position?
 9        Q. 2009?                                     9        A. The owner of the company.
10        A. Yes.                                     10        Q. Who was?
11        Q. And what position did you have           11        A. Dr. Vernon Farley.
12   with Wackenhut?                                  12        Q. And where was that job located?
13        A. Many.                                    13        A. Lubbock, Texas.
14        Q. Well, help me understand what that       14        Q. And how long did you stay with
15   includes.                                        15   PNA?
16        A. I started off as an assistant            16        A. I guess I still am with PNA.
17   warden. I became a warden, a regional            17        Q. Explain that to me, if you would.
18   director, a vice president over programs, vice   18        A. PNA is one of the companies that
19   president over all adult facilities, and my      19   is a subsidiary of CHC.
20   last position with them was a senior regional    20           MR. FINCH: And just for every-
21   vice president.                                  21   body's reference, whenever Don refers to CHC,
22        Q. I see. And where does Wackenhut          22   he's referring to CHC Companies, Inc., rather
23   operate private prisons?                         23   than --
                                            Page 18                                              Page 20
 1        A. All over the country and                  1           MR. EVANS: We'll get into that --
 2   internationally. They are now called the GEO      2           MR. FINCH: -- what sometimes is
 3   Group.                                            3   called CHC when people are referring to
 4        Q. The G --                                  4   Correctional Healthcare Companies, Inc.
 5        A. They changed their name GEO.              5           MR. EVANS: We'll get into all of
 6        Q. And is this where you first met           6   that, Lane.
 7   Mr. Dominicis?                                    7           MR. FINCH: All right.
 8        A. I --                                      8        Q. (BY MR. EVANS) When did PNA
 9        Q. Jorge, is that right?                     9   become a subsidiary of CHC?
10        A. Oh, Dominicis.                           10        A. Let's see. I think late 2010, but
11        Q. Okay, I'm sorry, I mispronounced         11   I don't know the exact date. But it was in
12   his name.                                        12   2010.
13        A. Yes, I did meet him there.               13        Q. Up until that point were you
14        Q. Okay, and in your capacity there         14   solely concerned and functioning under PNA?
15   at the GEO Group or Wackenhut group, did you     15        A. Correct.
16   have any ownership in the company?               16        Q. You had no other dual role of any
17        A. Just stock. I purchased stock and        17   kind?
18   was awarded some stock, but no real ownership.   18        A. No.
19        Q. And during your time up until            19        Q. And in 2010, up until 2010, did
20   2009, did you have any other business pursuits   20   you have any ownership share in PNA?
21   or professional pursuits?                        21        A. I did not.
22        A. No.                                      22        Q. Was your superior Mr. -- or Dr.
23        Q. Why did you leave the GEO Group in       23   Vernon Farley the whole time that you were
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Don Houston                                                                                           6
                                           Page 21                                              Page 23
 1   there?                                            1        Q. And what was your capacity at CHC
 2        A. Yes. And I guess his son, his son         2   initially?
 3   worked for him.                                   3        A. Initially I was executive vice
 4        Q. Purchased by CHC in 2010. What            4   president of operations.
 5   part, if any, did you play in that?               5        Q. Where were you located?
 6        A. I did some of the due diligence           6        A. In Denver -- or Greenwood Village.
 7   work, responded to due diligence requests on      7        Q. Who was your superior?
 8   the part of CHC, met with members of the CHC      8        A. Doug Goetz.
 9   executive team.                                   9        Q. Did you have any ownership in CHC
10        Q. And who were they?                       10   once the purchase was made?
11        A. Doug Getz and Dr. Larry Wolk.            11        A. I don't know if it's ownership. I
12        Q. Was, and I'll probably butcher his       12   rolled proceeds into it, so --
13   name, Jorge Dominicis, is that right, was he     13        Q. Can you explain that for me?
14   involved at that time at all?                    14        A. I put money in the company, so I
15        A. No.                                      15   invested.
16        Q. And when the company PNA was             16        Q. Well, I hope you got something for
17   purchased, did the entity itself remain          17   it. Did they give you some stock?
18   intact?                                          18        A. It's all restricted stock and --
19        A. It did.                                  19        Q. But you have some stock ownership?
20        Q. And it continues to operate under        20        A. Yes.
21   the name or brand of PNA?                        21        Q. And once CHC purchased PNA, did
22        A. It does.                                 22   you have a directorship in the entity CHC?
23        Q. Do you have any ongoing                  23        A. No.
                                           Page 22                                              Page 24
 1   responsibility there?                             1        Q. Well, you said you reported to
 2        A. I'm the president of PNA.                 2   Doug Goetz. What position did Mr. Goetz have
 3        Q. What does it do -- where is it            3   at that time?
 4   located? Does it have a --                        4        A. The CEO.
 5        A. It really doesn't have a                  5        Q. So he was the head of the company?
 6   corporate office anymore, but it does have        6        A. Yes.
 7   contracts.                                        7        Q. Did you have a board chairman or
 8        Q. And what type of service does it          8   anybody of that nature?
 9   provide?                                          9        A. Yes, we did.
10        A. Health care. It's a health care          10        Q. Who was the board chairman?
11   company.                                         11        A. I think Doug was the board chair
12        Q. And who does it provide health           12   at that time.
13   care services to?                                13        Q. And was he also located in the
14        A. It provides them to counties, to         14   Denver, Colorado, area?
15   private operators, to the federal government.    15        A. Yes, sir.
16        Q. Services for inmates or --               16        Q. And how long did you remain in
17        A. Yes, health care services.               17   that capacity?
18        Q. But they're all for inmates?             18        A. Until 20 -- no, I became the chief
19        A. Correct.                                 19   operating officer about a year later.
20        Q. As far as CHC, now, it sounds            20        Q. So you were initially the
21   like in 2010 you become an employee of CHC, is   21   executive vice president of operations?
22   that correct?                                    22        A. Yes.
23        A. Correct.                                 23        Q. And then you became the COO --
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Don Houston                                                                                              7
                                          Page 25                                               Page 27
 1        A. Right.                                   1        A. Bruce McDaniel.
 2        Q. -- about 2011?                           2        Q. But as far as you were concerned,
 3        A. About then. Doug Goetz -- I mean         3   the operation of the entity was continuing to
 4   Dr. Wolk left the company, and I took his        4   operate as CHC Companies, Inc., is that right?
 5   position.                                        5        A. Yeah, as far as I was concerned,
 6        Q. And did you remain there in              6   nothing changed.
 7   Denver?                                          7        Q. And during this time frame of 2010
 8        A. I did.                                   8   to 2011, you told me your function was
 9        Q. And were you continuing to report        9   executive vice president and COO. What
10   to Mr. Goetz?                                   10   services was CHC Companies, Inc., providing?
11        A. Yes.                                    11        A. Health care.
12        Q. And was he still remaining as the       12        Q. Health care. Again, to inmates?
13   board chairman at that point?                   13        A. To inmates. Almost exclusively to
14        A. Yes.                                    14   inmates.
15        Q. And I guess your ownership,             15        Q. It sounds like most of this
16   restricted stock, remained about the same?      16   business model is focused on inmate
17        A. The same.                               17   populations and things of that nature, is that
18        Q. Were you continuing to operate          18   correct?
19   under the name of CHC, or did you operate       19        A. Correct.
20   under the name of any other company?            20        Q. And when we get to 2011, other
21        A. CHC.                                    21   than your becoming the COO, did you have any
22        Q. I have seen, as Lane pointed out,       22   other change in your function, title, anything
23   also the name Correctional Healthcare           23   of that nature?
                                          Page 26                                               Page 28
 1   Companies. Did you ever operate as that name?    1       A. No.
 2        A. I -- there was some change of name       2       Q. Your responsibilities remained
 3   that was done I guess for tax purposes and       3   essentially the same?
 4   other things. I really wasn't involved in        4       A. They did.
 5   that. As far as I knew, I was CHC, and that's    5       Q. And how many states were you
 6   what I operated as is CHC.                       6   providing these services in at that time?
 7        Q. We'll go through those documents         7       A. I don't know. At least a dozen.
 8   in a little bit --                               8       Q. Did you have to travel a lot, or
 9        A. Okay.                                    9   were you mostly --
10        Q. -- but we've seen documents that        10       A. I traveled a lot.
11   were filed in Delaware where Correctional       11           MR. FINCH: Be sure to slow down
12   Healthcare Companies name was changed to CHC    12   so Kerry doesn't blow a gasket.
13   Companies, and CHC Companies was changed to     13           (Whereupon, an off-the-record
14   Correctional Healthcare Companies. Do you       14   discussion was had).
15   know anything about why that happened?          15       Q. (BY MR. EVANS) I know at some
16        A. No.                                     16   point in time, we're taking this deposition
17        Q. Do you know why Mr. Goetz would         17   here in Nashville, at some point in time you
18   have done that?                                 18   moved here, correct, to Nashville?
19        A. I don't know that Mr. Goetz was         19       A. At what --
20   the one who was doing that. I think it was      20       Q. I'll say it again --
21   the PE firm and the CFO. I'm sure Doug was      21       A. My office is here, yes.
22   involved, but --                                22       Q. You haven't moved?
23        Q. Who was the CFO at this time?           23       A. I have not moved.
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Don Houston                                                                                         8
                                          Page 29                                             Page 31
 1        Q. How often are you here in               1           MR. FINCH: Hold on, hold on. Let
 2   Nashville?                                      2   him finish his question.
 3        A. All week.                               3        A. Okay.
 4        Q. And then you go back to Colorado?       4        Q. (BY MR. EVANS) Any other entities
 5        A. No, to Texas. I live in Texas.          5   operate out of that address, that location?
 6        Q. I see. What part?                       6        A. Out of that address, no.
 7        A. Just outside of Dallas in               7        Q. Okay, you began to say something
 8   Rockwall, Texas.                                8   before you were interrupted. What were you
 9        Q. Did you move from Colorado to           9   going to say?
10   Texas?                                         10        A. Well, I was going to say that
11        A. Yes.                                   11   those are the divisions that operate out of
12        Q. And when did you do that?              12   Nashville, out of that office.
13        A. Let's see, July of 2014.               13        Q. And when we're talking about
14        Q. But you were still working at that     14   divisions, you're talking about divisions of
15   point in time for CHC?                         15   CCS?
16        A. Correct.                               16        A. Yes.
17        Q. Was there any particular reason        17        Q. Your office, which division is
18   that you moved?                                18   that?
19        A. Family. My family is in Texas.         19        A. State and Federal.
20        Q. Okay, so you were able to -- go        20        Q. We'll get into those details, but
21   ahead and drink your water.                    21   when did your office, your business office,
22           (Whereupon, an off-the-record          22   actually relocate to Nashville?
23   discussion was had).                           23        A. I guess it was -- this is '16, so
                                          Page 30                                             Page 32
 1        Q. (BY MR. EVANS) But you were able        1   it had to be January of '15.
 2   to work from a location in Texas even though    2        Q. January of '15. Was that after
 3   your office previously had been in Colorado?    3   the purchase of CCH by CCS --
 4        A. I live in Texas. I fly here on          4            MR. FINCH: I'm going to let
 5   Monday, I leave on Friday. So I work here --    5   you --
 6   I'm here all week.                              6        Q. (BY MR. EVANS) -- CHC by --
 7        Q. And what's the address of your          7            MR. FINCH: -- sort of go as long
 8   office here?                                    8   as we have a practical understanding of
 9        A. 1283 Murfreesboro Pike.                 9   purchase without getting into the details of
10        Q. How many other divisions of the        10   exactly how that was accomplished --
11   company operate from that location?            11            MR. EVANS: We'll get into the
12        A. Two divisions operate from that        12   details.
13   location.                                      13            MR. FINCH: -- and we'll give you
14        Q. And what are they?                     14   more detail on that later.
15        A. They're the State and Federal, and     15        Q. (BY MR. EVANS) Was that after the
16   there's Local Detention.                       16   purchase of CHC by CCS?
17           MS. PARRISH: So State and              17        A. I don't know that there was ever a
18   Federal is one division?                       18   purchase by CCS, but it was after those two
19        A. State and Federal is one division,     19   companies have come together and -- yes, it
20   and Local Detention is another.                20   was after that.
21        Q. (BY MR. EVANS) I see. Any other        21        Q. And you currently operate from
22   entities or --                                 22   that location?
23        A. There's --                             23        A. Which location.
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Don Houston                                                                                              9
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 1        Q. The Murfreesboro location?                1   time it was Jarrett Gorlin.
 2        A. Yes.                                      2        Q. Mr. Gorlin had previously been one
 3        Q. Backing up a little bit, you were         3   of the owners of JCS, is that correct?
 4   with CHC, I believe, when JCS was acquired, is    4        A. Correct.
 5   that correct?                                     5        Q. So when it was purchased in
 6        A. I was.                                    6   September of 2011, he remained with the
 7        Q. Did you have any part in that             7   company, is that correct?
 8   acquisition?                                      8        A. Correct.
 9        A. None whatsoever.                          9        Q. And Doug Goetz as the CFO -- or
10        Q. Had you had any function in JCS          10   CEO of CHC --
11   prior to that time?                              11        A. Right.
12        A. None whatsoever.                         12        Q. -- had responsibility over the new
13        Q. Do you know when that occurred?          13   purchased entity too, is that right?
14        A. 2011, late 2011, I believe.              14        A. I just know that Jarrett reported
15        Q. The information we have is Septem-       15   directly to Doug.
16   ber of 2011. Does that sound appropriate?        16        Q. Was there a period of time when
17        A. Probably about right, yes.               17   the folks at CHC were involved in an
18        Q. Who handled the acquisition of JCS       18   integration of JCS into that entity?
19   by CHC Companies?                                19        A. We had an aspirational integra-
20        A. Doug Goetz and Bruce McDaniel.           20   tion, yes.
21        Q. After it was purchased, did you          21        Q. Explain what you mean by that.
22   acquire some responsibility for JCS?             22        A. We talked about integrating, we
23        A. What do you mean by responsibi-          23   even tried to integrate some of JCS, but it
                                            Page 34                                               Page 36
 1   lity?                                             1   was more of a, like I say, an aspirational
 2        Q. Did that come under your bailiwick        2   integration than an actual integration.
 3   as a person with CHC, the COO?                    3         Q. When the JCS entity was purchased
 4        A. Eventually.                               4   by CHC, did the JCS employees become employees
 5        Q. At what point?                            5   of CHC?
 6        A. It was not, really, until Dirk            6         A. No.
 7   Allison became the CEO of the company.            7         Q. Were they paid by the CHC payroll
 8        Q. When what was that?                       8   people?
 9        A. It was 2014. I don't remember             9         A. I think eventually they were. Not
10   exactly when it was, but it was 2014.            10   at first, but eventually, yes.
11        Q. Mr. Allison, what had been his           11         Q. Were they issued W-2s from CHC?
12   connection with any of that?                     12         A. I haven't seen them so I couldn't
13        A. He replaced Doug Goetz.                  13   answer that.
14           MR. TANKERSLEY: Say again,               14         Q. We'll try to refresh your
15   please.                                          15   recollection with some of these documents.
16        A. He replaced Doug Goetz as the CEO.       16         A. Okay.
17           MR. TANKERSLEY: Thank you, sir.          17         Q. Your current position is what?
18        Q. (BY MR. EVANS) Up until 2014 did         18         A. I'm the president of State and
19   you have any responsibility for overseeing the   19   Federal.
20   operations of JCS?                               20         Q. State and Federal?
21        A. No.                                      21         A. That's a division.
22        Q. Who did?                                 22         Q. Of?
23        A. Doug Goetz and for most of the           23         A. CCS.
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Don Houston                                                                                           10
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 1        Q. Do you have titles with any other         1        A. That's correct.
 2   entities of?                                      2        Q. Had you worked with Mr. Boyle
 3        A. I'm the CEO of CHC and the                3   before coming here to Nashville?
 4   president of PNA.                                 4        A. No.
 5        Q. Any other entities --                     5        Q. When CCS and CHC came together,
 6        A. No.                                       6   whatever term you want to use, did you take
 7        Q. -- within the CCS umbrella?               7   any part in that joinder?
 8        A. No, sir.                                  8        A. Only in responding to due
 9        Q. By the way, there at the                  9   diligence requests.
10   Murfreesboro address do y'all have conference    10        Q. And when that joinder occurred,
11   rooms?                                           11   which we believe to be in July of 2014, does
12        A. Yes.                                     12   that sound about right --
13        Q. We were told you didn't so that we       13        A. About.
14   would have to relocate --                        14        Q. -- did you acquire any ownership
15           MR. FINCH: Well, that's not what         15   in any of the remaining entities?
16   I said.                                          16        A. No.
17        Q. (BY MR. EVANS) We were --                17        Q. For instance, do you own any
18        A. Available conference rooms --            18   membership share in CCS?
19        Q. A different issue, huh?                  19        A. I do not.
20        A. -- probably not.                         20        Q. You maintain the title of
21        Q. Okay.                                    21   president of a division of CCS?
22           MR. FINCH: That's what I said.           22        A. Correct.
23        Q. (BY MR. EVANS) Well, we're happy         23        Q. And you hold also the title of COO
                                           Page 38                                               Page 40
 1   to have you here anyway.                          1   of CHC, which is owned by CCS, correct?
 2           In your current position as COO of        2        A. I don't know that it's owned by
 3   CHC, president of PNA, president of the State     3   CCS.
 4   and Federal Division of CCS, who do you report    4        Q. What do you understand the
 5   to?                                               5   relationship to be?
 6        A. Jorge Dominicis.                          6        A. They are two companies that exist
 7        Q. And his position is what?                 7   side by side with a holding company that owns
 8        A. He's the CEO.                             8   them.
 9        Q. Of what?                                  9        Q. As far as the other divisions of
10        A. Of CCS.                                  10   CCS, are you familiar with those?
11        Q. CCS, LLC?                                11        A. I am.
12        A. Yes.                                     12        Q. I had seen this title by your name
13        Q. So he's the top of the pyramid, so       13   previously, president of the Private Prison
14   to speak?                                        14   Division?
15        A. Yes --                                   15        A. That's not an accurate title.
16        Q. And would that --                        16        Q. It's not?
17        A. -- except for the board.                 17        A. No.
18        Q. I'm sorry?                               18        Q. Well, do you have any idea why it
19        A. Except for the board.                    19   was published as such?
20        Q. And the board chairman is who?           20        A. I don't know.
21        A. Jerry Boyle.                             21        Q. Is there a difference in the
22        Q. As I understand, Mr. Boyle was one       22   Private Prison Division and the State and
23   of the founders of the enterprise?               23   Federal Prison Division?
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Don Houston                                                                                           11
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 1        A. It's a subset of -- Private             1   private that you would have used within the --
 2   Prisons is a subset of State and Federal.       2        A. No.
 3        Q. So you would be president of the        3        Q. -- past three or four years?
 4   larger group that included that?                4        A. Not in the last three or four
 5        A. Correct.                                5   years, no.
 6        Q. And you would be responsible for        6        Q. We started this process, Mr.
 7   the operations of the private prisons?          7   Houston, by sending some notices of deposition
 8        A. I am, yes.                              8   to your counsel and the counsel for the other
 9        Q. I've seen various files about you,      9   parties. I'm going to mark those.
10   sir, when you were with the GEO Group, that    10        A. Okay.
11   you oversaw twenty-four correctional facili-   11
12   ties and things of that nature?                12          (Plaintiff's Exhibit Numbers 283
13        A. Correct.                               13   and 284 were marked for identification and
14        Q. Do you maintain any ongoing            14   copies of same are attached hereto).
15   ownership or connection with the GEO Group?    15
16        A. None whatsoever.                       16        Q. (BY MR. EVANS) We had intended to
17        Q. Was Mr. Dominicis' position for        17   not only take your deposition personally but
18   the GEO Group?                                 18   also the deposition of the representative of
19        A. He -- he was the -- I don't know       19   CHC Companies, so I'm showing you the
20   what his title was, I think he was president   20   deposition notice of you and of the actual
21   of GEO Care, which was a division of the GEO   21   company, CHC, which I've marked as Exhibits
22   Group.                                         22   283 and 284.
23        Q. Did you and Mr. Dominicis leave        23
                                          Page 42                                                Page 44
 1   there at the same time?                         1          (Plaintiff's Exhibit Numbers 285
 2        A. No, I left about five years before      2   and 286 were marked for identification and
 3   he did.                                         3   copies of same are attached hereto).
 4        Q. What is are your email address?         4
 5        A. Don.houston@correctcaresolutions.       5         Q. (BY MR. EVANS) And for complete-
 6   com.                                            6   ness I'll show you 285 and 286, which are the
 7        Q. Solutions.com?                          7   same exhibits, except they have a different
 8        A. Uh-huh (Nodding head).                  8   case at the top because there's another case
 9        Q. Do you use any other email              9   involved with the same issue.
10   addresses?                                     10            MR. FINCH: It's just the same,
11        A. I have my private email address.       11   but remember I mentioned there was Columbiana
12        Q. Well, concerning your company, do      12   as --
13   you --                                         13         A. Yeah.
14        A. The -- I'm trying to remember what     14         Q. (BY MR. EVANS) Have you seen
15   my CHC one was. I had a CHC email address,     15   those documents before?
16   but I don't use that anymore. I use the        16         A. I have.
17   Correct Care Solutions.                        17         Q. In the corporate representative
18        Q. So all of the email that would be      18   document we've identified certain topics that
19   coming to you since the joinder of Correct     19   we would like to talk to a representative of
20   Care Solutions and CHC would be under this     20   CHC about. I'll ask you, sir, are you the
21   email?                                         21   corporate representative on all of those
22        A. Probably.                              22   listed topics, seventeen of them.
23        Q. Any other emails other than your       23         A. Seventeen?
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Don Houston                                                                                           12
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 1           MR. FINCH: Look at 283. That's            1   provided those, will you provide them?
 2   the one we looked at.                             2           MR. FINCH: Yeah, there's not a
 3        A. (Examining documents). Yes.               3   problem with providing it. It's my
 4        Q. (BY MR. EVANS) So you're the              4   understanding we did provide Mr. Houston's
 5   corporate representative for CHC Companies,       5   noncompete. Hold on one second. I should be
 6   Inc., on all seventeen topics?                    6   able to tell you. I'm not -- I don't have
 7        A. Yes.                                      7   that on my laptop with the other noncompetes,
 8        Q. Okay, you understand that while           8   but I thought that we had sent that to you.
 9   you're answering questions today you will be      9   We will get that to you.
10   answering them both in your individual           10           MR. EVANS: Okay.
11   capacity and as a representative of that         11        Q. (BY MR. EVANS) Do you have a
12   company?                                         12   noncompete clause --
13        A. Yes, sir.                                13        A. I do.
14        Q. Okay.                                    14        Q. -- or noncompete contract?
15        A. Okay.                                    15           And when did you execute such a
16        Q. We also had requested certain            16   document?
17   categories of documents, and your attorney has   17        A. I think 2010.
18   provided some of those.                          18        Q. 2010?
19           MR. EVANS: There were some               19        A. Uh-huh (Nodding head).
20   additional documents that we've had some         20        Q. So that would have been at the
21   correspondence about, Lane, the 2015 W-3s, the   21   time you were still working at CHC?
22   policies and procedures of CCS that were never   22        A. Correct.
23   provided to us. Do you have any?                 23        Q. When this joinder of CCS and CHC
                                            Page 46                                              Page 48
 1           MR. FINCH: I believe the 2003             1   came about in the summer of 2014, did you
 2   W-3, although it looks different, that's what     2   execute a new noncompete clause?
 3   that document says --                             3        A. No.
 4           MR. EVANS: It's not a W-3 --              4        Q. So whatever noncompete clause you
 5           MS. PARRISH: It's actually an ADP         5   had would still be back with CHC?
 6   printout, so I don't --                           6        A. Correct.
 7           MR. FINCH: So I don't have that,          7        Q. Do you have any kind of employment
 8   and I've requested and don't have currently       8   or contractual relationship with CCS?
 9   the other two documents.                          9        A. I do.
10           MR. EVANS: Okay, but you'll get          10        Q. And what is that?
11   those for us?                                    11        A. As the president of State and
12           MR. FINCH: Yes.                          12   Federal.
13           MR. EVANS: And there was a -- we         13        Q. Do you have a contract, a written
14   didn't get Mr. Houston's noncompete agreement    14   document, that establishes that?
15   either.                                          15        A. It's an employment agreement.
16           MR. FINCH: I thought that was --         16        Q. Okay, does it have a noncompete
17           MR. EVANS: We got a noncompete           17   provision in it as well?
18   agreement, but not his.                          18        A. It just retains what I had with
19           MS. PARRISH: I think we got              19   CHC.
20   Colleen's, I understand --                       20        Q. I see. And does it pertain to any
21           MR. FINCH: Right, and I think we         21   of the other entities under the CCS umbrella?
22   also provided you with Don's.                    22        A. I don't know. I would have to
23           MR. EVANS: If you haven't                23   review that.
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Don Houston                                                                                               13
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 1        Q. All right. Can you get us a copy         1   glasses back and forth, and so we've blown it
 2   of that?                                         2   up into a size that even I can read now.
 3            MR. FINCH: I don't have that one,       3       A. Okay.
 4   but we'll get it.                                4           MR. EVANS: We've got copies for
 5        Q. (BY MR. EVANS) Who are you paid          5   everybody.
 6   by, as we sit here today?                        6
 7        A. CCS.                                     7           (Plaintiff's Exhibit Number 287
 8        Q. So the check would come to you           8   was marked for identification and copy of same
 9   from CCS payroll, I suppose?                     9   is attached hereto).
10        A. Yes.                                    10
11        Q. And your W-2 would come to you          11        Q. (BY MR. EVANS) We've marked this
12   from CCS payroll?                               12   as Exhibit 287. May I come there beside you,
13        A. I think my last W-2 was CHC.            13   sir?
14        Q. Do you expect your next one will        14        A. You can.
15   be CCS?                                         15        Q. We've put Exhibit 287 up there on
16        A. I guess. I don't . . .                  16   this organizational chart that was provided to
17        Q. Does the payroll, accounting, and       17   us?
18   all of that function under the CCS umbrella     18        A. Okay.
19   cover CHC and the various other entities that   19        Q. Have you seen there before?
20   we've been talking about?                       20        A. I don't know if I've seen this
21        A. I think completely now.                 21   exact one, but I've seen --
22        Q. How about the Legal Division under      22        Q. Similar documents?
23   the CCS umbrella?                               23        A. -- similar documents, yes.
                                           Page 50                                                Page 52
 1        A. Yes.                                     1        Q. Can you see the indicate date
 2        Q. And the IT Department, do                2   that's under the CCS logo up there?
 3   y'all --                                         3        A. I see it.
 4        A. For the most part. Not complete-         4        Q. It appears to be January 23rd,
 5   ly.                                              5   2015. Have there been any changes of
 6        Q. I've seen a department called            6   significance since that time, if you know?
 7   Compliance. Does the Compliance Department       7        A. Let me look at it.
 8   cover all of the entities under the CCS          8        Q. Okay, sure.
 9   umbrella?                                        9        A. (Examining document).
10        A. For the most part, yes.                 10            (Whereupon, an off-the-record
11        Q. Do you know how many entities are       11   discussion was had).
12   under that umbrella?                            12        A. Yeah, there have been.
13        A. No.                                     13        Q. (BY MR. EVANS) Can you identify
14        Q. But they all funnel up to Mr.           14   any of those for me?
15   Dominicis as the head, is that correct?         15        A. Well, there's now three divisions.
16        A. What do you mean by all?                16        Q. Okay, let's see. We're looking at
17        Q. All of the entities that are under      17   that Exhibit 287. How many divisions does
18   that same CCS, LLC umbrella.                    18   this depict?
19            MR. FINCH: Everything below CCS.       19        A. There's one, two, three -- at
20        A. Everything below CCS, yes.              20   least -- one, two, three, four.
21        Q. (BY MR. EVANS) Let me show you --       21        Q. So the January 2015 chart depicts
22   we were given an organizational chart, and it   22   four divisions?
23   was so small, you could see me flipping         23        A. Uh-huh (Nodding head).
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Don Houston                                                                                            14
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 1        Q. Is that correct? You have to              1        A. This is JCS (Indicating).
 2   answer out yes.                                   2        Q. Okay, Stan Stevens shows as JCS
 3        A. Yes, yes.                                 3   IT --
 4        Q. And in this depiction, in January         4        A. Yes.
 5   of 2015, which of the services were shared        5        Q. -- Jaime Herndon is JCS control-
 6   company-wide? You've told me accounting would     6   ler, Colleen Ray Alabama State manager, so all
 7   have been?                                        7   of that is JCS?
 8        A. Yes.                                      8        A. Correct.
 9        Q. Legal would have been, I believe          9        Q. And all of it is under you in the
10   that's what you said?                            10   CCS Private Prisons Division, is that correct?
11        A. Yes.                                     11        A. Yes.
12        Q. And I believe you said compliance        12        Q. And at the point that CCS and CHC
13   would have been?                                 13   and all of these things came together, would
14        A. Compliance --                            14   these people under the JCS, would they also be
15           MR. FINCH: He said for the most          15   paid out of the accounting and finance
16   part.                                            16   department?
17        A. For the most past.                       17        A. Yes.
18        Q. (BY MR. EVANS) How about human           18        Q. And would they share the legal
19   resources?                                       19   service division if they needed it?
20        A. For the most part.                       20        A. For the most part, yes.
21        Q. And as far as IT --                      21        Q. And would they have compliance
22        A. IT was not completely --                 22   looking over their shoulder?
23        Q. Integrated?                              23        A. I don't think that --
                                            Page 54                                               Page 56
 1        A. -- integrated.                            1           MR. FINCH: Hold on, hold on. I'm
 2        Q. In this chart, this Exhibit 287,          2   sorry. Object to the form of the question.
 3   where are you?                                    3   What do you mean looking over their shoulder?
 4        A. I'm here.                                 4           MR. EVANS: Whatever compliance
 5        Q. Okay, you're in the Private               5   does.
 6   Prisons over here to the far right?               6        Q. (BY MR. EVANS) Would compliance
 7        A. Right.                                    7   be providing its functions to them or not?
 8        Q. And it's got a parentheses                8        A. No.
 9   twenty-four by it. What does that indicate?       9        Q. How about IT?
10        A. That's probably the number of            10        A. No.
11   facilities.                                      11        Q. Any other company-wide operations
12        Q. I see. And under this Private            12   that would also be provided to JCS?
13   Prison Division, you're, of course, shown as     13        A. So we said HR, legal, and Finance
14   the president of that division, correct?         14   and Accounting -- actually at that time I
15        A. Okay.                                    15   don't know that Finance and Accounting was
16        Q. Okay, and under that Ms. Karen           16   doing more than just help advising Jaime.
17   Lloyd is the operations manager in Florida, is   17        Q. As far as the human resources,
18   that right?                                      18   would it be part of the company policy at that
19        A. That's what it says.                     19   time to try to implement company-wide employee
20        Q. I mean, is that correct?                 20   policies and vacations and travel policies and
21        A. That's correct.                          21   such as that?
22        Q. Okay. Is JCS under this Private          22        A. Not necessarily, no.
23   Prisons Division?                                23        Q. How would human resources apply to
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Don Houston                                                                                            15
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 1   JCS under the CCS chart here?                    1   no part in the day-to-day operations.
 2        A. They would be a -- someone that          2         Q. You delegated that to your
 3   they could go to for questions, so they would    3   subordinates, is that correct?
 4   advise them. They would be a resource more       4            MR. FINCH: Object to form.
 5   than anything else. They would do a lot of       5         A. Well, Karen Lloyd was responsi-
 6   the back office work. They would help them in    6   ble, and her subordinates were responsible for
 7   the hiring process. They would help them         7   the day-to-day operations.
 8   complete documents.                              8         Q. (BY MR. EVANS) And Ms. Lloyd
 9        Q. So if someone was hired or fired         9   reported to, looks like --
10   at JCS, those records would go through human    10         A. Yeah, I see him, and that's not
11   resources?                                      11   correct. She didn't report to Dan.
12        A. Yes.                                    12         Q. Who did she report to?
13        Q. And payroll for JCS would go            13         A. She reported to me, so this is not
14   through Finance and Accounting?                 14   correct.
15        A. Eventually. I don't know when           15         Q. I see. Now, you mentioned a
16   that exactly happened, but eventually it        16   little earlier when we started this conversa-
17   happened, yes.                                  17   tion that this chart has changed somewhat,
18        Q. And under your position here,           18   that you only have three divisions?
19   Private Prisons President, you would have had   19         A. Correct.
20   overall responsibility for JCS in addition to   20         Q. Can you explain to me what those
21   other entities, is that correct?                21   are?
22        A. Well, I didn't really have -- I         22         A. Yes, State and Federal. State and
23   don't know what you mean by responsibility.     23   Federal takes what's prisons here and combines
                                           Page 58                                               Page 60
 1        Q. Well, were you their boss?               1   that with this.
 2        A. I -- I advised Karen Lloyd --            2        Q. Okay.
 3        Q. Could you hire and fire?                 3        A. And then Local Detention is
 4        A. No, she hired and fired.                 4   this --
 5        Q. Could you fire her?                      5        Q. Which is now -- or previously
 6        A. I could.                                 6   indicated as Jails?
 7        Q. Okay, and you could direct her           7        A. Jails, that's now Local Detention,
 8   actions?                                         8   and CCRS is its own division.
 9        A. I could.                                 9        Q. And what toes that stand for?
10        Q. Yes, and responsibility for the         10        A. Correct Care Recovery Solutions.
11   performance of that JCS part of the Private     11        Q. What is its function?
12   Prisons, did that fall on your shoulders?       12        A. It's psychiatric hospitals. It's
13        A. Repeat that.                            13   primarily the hospital business.
14        Q. Yes, sir. The responsibility for        14        Q. So the three operating divisions
15   the performance of that JCS part of the         15   now are the psychiatric, CCRS --
16   Private Prisons, was that on you?               16        A. Right.
17           MR. FINCH: Object to form.              17        Q. -- private detentions --
18        A. The financial performance of it,        18        A. No, no, no.
19   yes.                                            19        Q. Excuse me, what is this --
20        Q. (BY MR. EVANS) Well, you make a         20        A. Local Detention.
21   distinction. What other part would not have     21        Q. Local Detention. And then
22   been part of your responsibility?               22   prisons?
23        A. The day-to-day operations. I had        23        A. State and Federal.
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Don Houston                                                                                           16
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 1         Q. Uh-huh, okay. As far as the             1        A. Yeah, he's not whatsoever.
 2   common-shared functions of the enterprise,       2        Q. And was he in 2015?
 3   administrative aspect, are those essentially     3        A. Never has been.
 4   the same with IT, Legal, Finance and             4        Q. So other than that error that you
 5   Accounting, Compliance, and Human Resources?     5   saw in January of 2015 on the chart, was
 6            MR. FINCH: Object to form. As to        6   Exhibit 287 substantially correct?
 7   which companies?                                 7        A. It's hard -- there's a lot of
 8            MR. EVANS: Under the CCS umbrel-        8   names that are wrong --
 9   la.                                              9        Q. Okay.
10            MR. FINCH: As to all companies?        10        A. -- and there's a lot of reporting
11         A. As to all companies, not every bit     11   that I don't know that it's exactly the way it
12   of it supports every bit of the company. CCRS   12   is, or was.
13   has -- not all of it supports every part of     13        Q. Those charts, of course, were
14   the company.                                    14   produced to us by CCS. Do you know why they
15         Q. (BY MR. EVANS) Is JCS still in         15   would have that many errors in them, if that's
16   operation?                                      16   a concern to you?
17         A. JCS is still in operation.             17        A. I'm not sure who produced this
18         Q. And where is it still operating?       18   document.
19         A. It functions like this (Indica-        19           MS. PARRISH: It has a Bates right
20   cating). So it reports to me, but it doesn't    20   here, CHC --
21   report to Dan. So this is not correct.          21        A. Okay, I mean, it's probably
22         Q. So as we sit here today, it's          22   as accurate as you could have one. You know,
23   still operating, and it still reports to you    23   there's been a lot of names -- people have
                                           Page 62                                               Page 64
 1   as it did for some time?                         1   changed positions, titles have changed.
 2         A. Correct.                                2        Q. (BY MR. EVANS) And the company at
 3         Q. In what states does it operate          3   the top of the structure is shown as CCS, LLC.
 4   now?                                             4   You saw that, didn't you?
 5         A. Florida and Georgia.                    5        A. Well, I would have to --
 6         Q. And as it operates now, does it         6        Q. Well, please feel free to get up
 7   still share these other functions that we've     7   and look.
 8   talked about, human resources, legal,            8        A. Here we go. That's what it says
 9   accounting?                                      9   for Jorge Dominicis.
10            MR. FINCH: Subject to his earlier      10           (Whereupon, an off-the-record
11   answer, object to form.                         11   discussion was had).
12         A. Yes.                                   12        Q. (BY MR. EVANS) As we were talking
13         Q. (BY MR. EVANS) You can keep that       13   about there chart, Mr. Houston, I know you
14   before you. It may help as we go through some   14   said some of the names have changed --
15   of this.                                        15        A. A lot have changed.
16         A. All right.                             16        Q. -- yeah, and, of course, we're
17         Q. I wish I could make it smaller,        17   looking back a year, over a year at this
18   but there's just so much detail.                18   point, a year and nine months --
19            (Whereupon, an off-the-record          19        A. Correct.
20   discussion was had).                            20        Q. -- but as you look at this
21         Q. (BY MR. EVANS) You mentioned that      21   organizational structure, all of those people
22   there was an error on the chart about Dan       22   would have been under the CCS umbrella at some
23   being involved in the chain of command --       23   point in time, is that correct?
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Don Houston                                                                                             17
                                            Page 65                                              Page 67
 1        A. I believe so, yes. I haven't              1       Q. And you're pointing to Legal,
 2   looked at every person on there.                  2   Finance and Accounting --
 3        Q. Okay. When you were looking at            3       A. Yes.
 4   your part over there, did that look correct       4       Q. -- and Human Resources?
 5   except for the line from Karen Lloyd?             5       A. Yes.
 6        A. Let me look at it again here.             6       Q. And you would know that because
 7            MR. FINCH: And you also mentioned        7   you're the president of that division,
 8   Dan --                                            8   correct?
 9        A. Yeah, Dan was definitely not              9       A. Correct.
10   there.                                           10       Q. And the CHC personnel would,
11        Q. (BY MR. EVANS) Right.                    11   again, like JCS, they would report to you?
12        A. Karen should have been here              12           MR. FINCH: Object to form.
13   because she doesn't report to --                 13       A. Ultimately, yes -- ask that
14        Q. Why don't you just take a pen and        14   question again.
15   circle --                                        15       Q. (BY MR. EVANS) Yes, sir. Am I
16            MR. FINCH: Hold on a second.            16   correct that you are the head of the CHC
17   Guys, I think Kerry is having a real hard time   17   operations --
18   hearing this --                                  18       A. Correct.
19            MR. EVANS: Oh, I'm sorry.               19       Q. -- and those people ultimately
20            MR. FINCH: -- so y'all need to          20   would report up the chain to you?
21   sort of turn sideways.                           21       A. These, correct, yes, sir.
22        Q. (BY MR. EVANS) Okay, I'm asking          22       Q. Okay, thank you. I know you told
23   him, Kerry, to take a pen and show the correct   23   me earlier that your office is at the
                                            Page 66                                              Page 68
 1   line of authority from Karen to him.              1   Murfreesboro address.
 2        A. (Marking).                                2       A. Yes, sir.
 3        Q. Okay, other than the change from          3       Q. Is the office of CHC at that same
 4   the line of authority under you at that time,     4   address?
 5   does the rest of this look correct under the      5       A. Yes, and -- there are offices
 6   Private Prisons Division?                         6   there. There are still offices in Colorado.
 7        A. Looks like it.                            7       Q. Is there a particular break-out of
 8        Q. Where is CHC on this chart?               8   which are where?
 9        A. This is CHC.                              9       A. Yes. I think, yes.
10        Q. And you're pointing to a part of         10       Q. Guess what's coming next?
11   the Private Prisons break-out?                   11          MR. FINCH: I told him not to.
12        A. Yes. All of these are CHC.               12       Q. (BY MR. EVANS) Which are where
13        Q. Okay. Can you just put a pencil          13   and why?
14   around those -- or draw a circle around them     14       A. Pharmacy is still in Colorado.
15   and we'll . . .                                  15   Clinical -- a portion of Clinical is still in
16        A. (Marking).                               16   Colorado. Some of Claims Processing is still
17        Q. So all of that is CHC, and is            17   in Colorado.
18   there any other part of the chart that would     18       Q. And what is in Nashville at
19   be CHC?                                          19   Murfreesboro?
20        A. Yes.                                     20       A. Most of the rest.
21        Q. What would that be?                      21       Q. Which would include?
22        A. There were parts of CHC that's           22       A. Legal, IT, HR.
23   probably in most of these at that time.          23          MS. PARRISH: Finance and
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Don Houston                                                                                             18
                                           Page 69                                              Page 71
 1   Accounting?                                      1        A. Earlier this year. I don't know
 2        A. Finance and Accounting, yes.             2   the exact date.
 3        Q. (BY MR. EVANS) Is the CCS located        3        Q. Those would be some of the
 4   there?                                           4   members in addition to the head of the
 5        A. CCS's office, yes.                       5   divisions, is that right?
 6        Q. So they're located there, and most       6        A. Correct.
 7   of the rest of CHC is located there. Does JCS    7        Q. I'll ask you if you can go back to
 8   have an office there?                            8   the board here because I'm going to ask you
 9        A. No.                                      9   about a couple of people I had seen --
10        Q. Where are their offices?                10        A. Okay.
11        A. They have a number of offices.          11        Q. -- on the break-out of your
12        Q. Do they have a corporate office,        12   executive team. Are you a member of the
13   a --                                            13   executive team?
14        A. Yes.                                    14        A. Yes, sir.
15        Q. And where is it?                        15        Q. And, of course, you've told us
16        A. It's in Georgia.                        16   that you are president of the State and
17        Q. But then the Accounting, Human          17   Federal Division. You report to whom?
18   Resources, Legal, are all handled out of        18        A. Jorge Dominicis.
19   Murfreesboro?                                   19        Q. Is Cary McClure a member of the
20           MR. FINCH: Object to the form.          20   executive team?
21        Q. (BY MR. EVANS) Is that correct?         21        A. He is not.
22        A. Most.                                   22        Q. Was he previously?
23        Q. What is the executive team?             23        A. He may have been at one time.
                                           Page 70                                              Page 72
 1        A. It's the leadership of each one of       1        Q. What is his position?
 2   the divisions.                                   2        A. He -- I'm not even sure what it
 3        Q. Of CCS?                                  3   is. He's over -- he's an executive vice
 4        A. Of CCS. And the CEO of the               4   president really kind of over support
 5   company, CFO of the company --                   5   services.
 6        Q. So that would include --                 6        Q. Is it called Ancillary Services?
 7        A. -- and the chief legal officer of        7        A. Yes.
 8   the company.                                     8        Q. And who does he report to?
 9        Q. The CEO is Mr. Dominicis?                9        A. I think Juan Perez now, the CFO.
10        A. Dominicis.                              10        Q. He previously reported to David
11        Q. Okay, thank you. And the CFO is         11   Watson, is that correct?
12   who?                                            12        A. Yes, correct.
13        A. We have an interim CFO right now.       13        Q. Marta Prado, is she a member of
14        Q. And who is that?                        14   the executive team?
15        A. It's Juan Perez.                        15        A. Marta Prado?
16        Q. Who was the previous one?               16        Q. Prado, yes, excuse me.
17        A. David Watson.                           17        A. She's is a member of the executive
18        Q. And the chief legal officer?            18   team.
19        A. David Perry.                            19        Q. And the division she's the head of
20        Q. And he came on fairly recently          20   is CCRS, is that correct?
21   too, didn't he?                                 21        A. That's correct.
22        A. Yes.                                    22        Q. And is that a separate entity, or
23        Q. Do you remember when?                   23   do you know?
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Don Houston                                                                                            19
                                            Page 73                                               Page 75
 1        A. It is a separate entity.                  1        A. I believe so.
 2        Q. And who does she report to?               2        Q. How about Bob Martin, is he a
 3        A. Jorge Dominicis.                          3   member of the executive team?
 4        Q. Patrick Cummiskey, is he a member         4        A. He is.
 5   of the executive team?                            5        Q. And what is his title?
 6        A. He is.                                    6        A. He is the CIO.
 7        Q. And his division is Operations, is        7        Q. What does that stand for?
 8   that right?                                       8        A. Chief information officer.
 9        A. No.                                       9        Q. So he would be over the IT
10        Q. What is his position?                    10   Division?
11        A. He is president of CCS Holdings.         11        A. Yes.
12        Q. And who does he report to?               12        Q. And he reports to whom?
13        A. Jorge Dominicis.                         13        A. Mr. Dominicis.
14        Q. Stan Wofford, is he a member of          14        Q. And, of course, you mentioned that
15   the executive team?                              15   Mr. Dominicis would be a member. Would Mr.
16        A. He is not.                               16   Boyle, as chairman of the board, be considered
17        Q. Was he previously?                       17   a member?
18        A. No.                                      18        A. Only as an ad hoc member. He's
19        Q. Randy Marshall, is he a member           19   not a functioning member.
20   ever the executive team?                         20        Q. He would be copied on emails, I
21        A. No.                                      21   suppose, from --
22        Q. Was he previously?                       22        A. (Nodding head).
23        A. I don't believe so.                      23        Q. Okay, well, that helps me, and
                                            Page 74                                               Page 76
 1        Q. How about Chris Bove --                   1   those lines of authority and reporting
 2        A. Chris Bove.                               2   directions are borne out on these charts, I
 3        Q. -- Bove, is he a member of the            3   presume?
 4   executive team?                                   4           MR. FINCH: Object to the form.
 5        A. He is.                                    5        A. Well, it's changed. It's not like
 6        Q. And what is his title, function?          6   this anymore.
 7        A. He's the president of Local               7        Q. (BY MR. EVANS) Right.
 8   Detention.                                        8        A. But at that time, yes.
 9        Q. And who does he report to?                9        Q. Do you have a new chart that would
10        A. Jorge Dominicis.                         10   be more current of this?
11        Q. And Craig Jenkins, is he a member        11        A. I don't, but I know that we're in
12   of the executive team?                           12   three divisions now.
13        A. No.                                      13        Q. But essentially all still under
14        Q. Was he previously?                       14   the CCS, LLC umbrella reporting upwards
15        A. No.                                      15   towards Mr. Dominicis?
16        Q. How about Damon O'Toole?                 16        A. Three divisions, yes.
17        A. No.                                      17        Q. Thank you.
18        Q. Is Mr. O'Toole still with the            18           MR. FINCH: Let's take a short
19   company?                                         19   break.
20        A. No.                                      20           (Recess from 9:58 A.M. until
21        Q. He was previously, as I                  21            10:09 A.M.)
22   understand, the controller of Conmed, is that    22        Q. (BY MR. EVANS) Mr. Houston, we're
23   right?                                           23   back on the record, and, of course, you know
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Don Houston                                                                                             20
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 1   from your previous experience that when we         1   about that actual purchase, isn't it?
 2   take a break you're still under oath.              2        A. Yes.
 3        A. I understand.                              3        Q. And it references the date of
 4        Q. Right, just to kind of give you a          4   September the 30th, 2011, as the actual sale
 5   heads-up, we're going to go through some           5   of the stock to CHC; does that sound
 6   emails that have been produced by your             6   appropriate to you?
 7   attorneys, and they all contain you or some        7        A. That's what the letter says.
 8   correspondence to or from you. When you look       8        Q. Okay. Down on the third paragraph
 9   at these documents, in the right lower corner      9   of that letter, about halfway down, you'll see
10   there's a number, a letter number, CHC CCS and    10   the sentence that says, further, the
11   then a number, and that will tell you that        11   opportunity to cross-sell services within our
12   these are documents that have been produced by    12   existing customer bases alone is enormous, you
13   your attorneys.                                   13   do you see that?
14        A. Okay.                                     14        A. I do.
15                                                     15        Q. The next sentence, JCS and CHC's
16           (Plaintiff's Exhibit Number 288           16   joint vision of becoming a full-service,
17   was marked for identification and copy of same    17   one-stop shop for the provision of probation
18   is attached hereto).                              18   and healthcare services to the criminal
19                                                     19   justice system is now complete with the
20       Q. (BY MR. EVANS) I'm going to show           20   addition of JCS. Do you see that?
21   you now Exhibit 288 from those documents.         21        A. I do.
22          MR. FINCH: Look at it, and he's            22        Q. And was that the idea when this
23   going to pass out copies to everybody, so just    23   was culminating?
                                             Page 78                                               Page 80
 1   take a minute while everybody gets their copy      1        A. It was the idea.
 2   and I get my copy, and then we'll just do that     2        Q. Uh-huh. When we go on down into
 3   with each of them.                                 3   this letter that was to be sent into paragraph
 4        A. (Examining document).                      4   number three on the last page, it indicates
 5        Q. (BY MR. EVANS) Have you had an             5   instead of reporting to a Board of Directors,
 6   opportunity to review it now?                      6   JCS Executive Management will now report to
 7        A. I have.                                    7   CHC, do you see that?
 8        Q. What we'll do, just to kind of set         8        A. I do.
 9   an approach on these emails, you're welcome to     9        Q. And is that what occurred after
10   review them in full. Most of the time I'm         10   the sale.
11   going to have a specific area that I'll ask       11        A. The JCS executive management would
12   you about, but I don't want to dissuade you       12   report to CHC according to this letter.
13   from looking at them. On Exhibit 288 do you       13
14   recognize this to be an email chain in which      14           (Plaintiff's Exhibit Number 289
15   you were included back on October the 6th,        15   was marked for identification and copy of same
16   2011?                                             16   is attached hereto).
17        A. Yes.                                      17
18        Q. And was this an email chain at or         18       Q. (BY MR. EVANS) Let me now show
19   about the time that CHC had purchased JCS?        19   you, if I may, what we've had marked as
20        A. Yes.                                      20   Exhibit 289, which has also been produced to
21        Q. Part of this email chain includes         21   us by your attorneys.
22   a letter that was proposed to be sent to the      22           MR. FINCH: That was produced by
23   stockholders and JCS team members talking         23   JCS, not me.
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Don Houston                                                                                              21
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 1           MR. EVANS: You're absolutely              1        A. Yes.
 2   right.                                            2        Q. I don't know exactly all of the
 3        Q. (BY MR. EVANS) The purpose of me          3   things that have been redacted, those were not
 4   showing you this, Mr. Houston, is simply to       4   provided to us, but in the first paragraph you
 5   verify that this document is the actual           5   talk of wanting JCS to truly become part of
 6   document of merger and does bear that date,       6   CHC from an operational and financial
 7   September the 30th, 2011. Had you seen this       7   perspective. That was the goal, wasn't it?
 8   document before?                                  8        A. The goal, correct.
 9        A. I have not seen this document.            9        Q. What is Justice Services?
10        Q. Okay. You don't have any reason          10        A. Justice Services is another
11   to question that date, though, do you?           11   company -- it's another company that does
12        A. I guess it speaks for itself.            12   outpatient behavioral health.
13        Q. After the purchase you mentioned         13        Q. Is it also under the umbrella of
14   that, and I forgot the exact term you used,      14   CCS?
15   but attempted integration or something --        15        A. Here (Indicating)?
16        A. Aspirational integration.                16        Q. Now.
17        Q. Aspirational. Thank you. I'm             17        A. Yes.
18   going to show you some emails that talk about    18        Q. In your paragraph there you talk
19   that aspiration.                                 19   about you understand it's a different sales
20                                                    20   project, many of the operational issues are
21           (Plaintiff's Exhibit Number 290          21   the same, compliance with contracts, provision
22   was marked for identification and copy of same   22   of services, et cetera, and then you say last,
23   is attached hereto).                             23   quote, they are not unique to community
                                            Page 82                                               Page 84
 1         Q. (BY MR. EVANS) Let me show you           1   services and can be integrated. What is
 2   Exhibit 290, if I may. Do you recognize this      2   community services?
 3   as being an email in which you were part of       3        A. Community corrections, so it's
 4   the chain, again, shortly after the purchase      4   services outside incarceration, so --
 5   in September, of JCS?                             5        Q. I see, and you include JCS in that
 6         A. Yes.                                     6   category?
 7         Q. And it's talking about the               7        A. At this time, yes (Indicating).
 8   aspiration to begin the integration into CHC,     8           MR. FINCH: And when you say at
 9   isn't it?                                         9   this time, you're pointing to the document?
10         A. Yes.                                    10        A. At the time of this document, yes,
11                                                    11   that's what I mean.
12           (Plaintiff's Exhibit Number 291          12        Q. (BY MR. EVANS) Who is Rich
13   was marked for identification and copy of same   13   Hegstad?
14   is attached hereto).                             14        A. Rich Hegstad was over HR at CHC.
15                                                    15        Q. And who is Jeff Tikker?
16        Q. (BY MR. EVANS) As we get a little        16        A. Jeff Tikker was a business
17   further into the year 2011, I'm going to show    17   director, business analyst.
18   you what we've had marked as Exhibit 291.        18           MS. PARRISH: At CHC?
19   Again, do you recognize this as an email from    19        A. At CHC.
20   you to Doug Goetz back in December of 2011?      20
21        A. I do.                                    21           (Plaintiff's Exhibit Number 292
22        Q. And are these things that you had        22   was marked for identification and copy of same
23   written at that time?                            23   is attached hereto).
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Don Houston                                                                                            22
                                           Page 85                                               Page 87
 1       Q. (BY MR. EVANS) Let me show you a          1           (Plaintiff's Exhibit Number 293
 2   group of emails that we've had marked as         2   was marked for identification and copy of same
 3   Exhibit 292?                                     3   is attached hereto).
 4       A. (Examining document).                     4
 5       Q. Have you had an opportunity to            5        Q. (BY MR. EVANS) Let me show you
 6   look at those?                                   6   what we've had marked as Exhibit 293. Mr.
 7       A. Yes.                                      7   Houston, you can just kind of pile those
 8       Q. Again, are these a group of emails        8   things up out of your way whenever it gets too
 9   in which you were part of the chain?             9   full for you.
10       A. Yes.                                     10        A. Okay.
11       Q. Do you remember what this was            11            MR. FINCH: Hopefully he's saying
12   about?                                          12   he's not going to backtrack on anything.
13       A. I do.                                    13        A. He'll have to find them (Examining
14       Q. This is in December of 2011,             14   document).
15   again, a few months after the purchase of JCS   15        Q. (BY MR. EVANS) Again, I'll ask
16   by CHC, correct?                                16   you to confirm, Mr. Houston, that this is an
17       A. The time frame, that's correct.          17   email chain in which you were part?
18       Q. What is the substance of those           18        A. It is.
19   emails?                                         19        Q. And we're talking about a time
20       A. This is really about a cost              20   frame now early in 2012, January, right?
21   reduction initiative at CHC.                    21        A. Correct.
22       Q. I see. The first email, the one          22        Q. This is an email from the, at that
23   from you to Mr. Hegstad, the one on the top,    23   time, the CEO of CHC, Mr. Goetz, correct?
                                           Page 86                                               Page 88
 1   talks about in your opinion all HR decisions,    1        A. Correct.
 2   regardless of the subsidiary company, must go    2        Q. And to a number of individuals, I
 3   through you. HR is one area in which we must     3   guess, within CHC?
 4   have a single and corporate direction. You       4        A. For the most part, yes.
 5   wrote that?                                      5        Q. Are there some of them within JCS
 6        A. I did.                                   6   as well?
 7        Q. And was that the company policy at       7        A. Yes.
 8   that point?                                      8        Q. And it says, Team, after finally
 9        A. It was not the policy.                   9   getting through the eventful 4th quarter of
10        Q. It was not?                             10   2011, we are ready to kick off the long
11        A. No.                                     11   awaited JCS integration plan. Did that
12        Q. Was it a policy that you hoped to       12   integration plan ever get completed --
13   instill?                                        13        A. No.
14        A. It was one that I was hoping to         14        Q. -- as far as you know?
15   instill, yes.                                   15        A. It did not.
16        Q. And as we sit here today, JCS is        16        Q. Do you know how the stock of JCS
17   under the HR provisions at -- on this chart     17   is held?
18   that we've been looking at?                     18        A. I do not.
19            MR. FINCH: Object to form.             19        Q. Does CCH -- CHC own the stock in
20        Q. (BY MR. EVANS) That's what you          20   JCS?
21   told me earlier, isn't it?                      21        A. I couldn't answer that. I don't
22        A. They support JCS, yes.                  22   know.
23                                                   23        Q. In this Exhibit 293 it talks about
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Don Houston                                                                                             23
                                             Page 89                                               Page 91
 1   a lead in each area, HR, Rich, Finance, Bruce,     1        A. He was the CEO --
 2   and so forth?                                      2        Q. Do you have any idea --
 3        A. Yes.                                       3        A. He came on, oh gosh, I don't know
 4        Q. Are those individuals who worked           4   exactly. In '13 sometime.
 5   for CHC?                                           5        Q. So if from 2013 I guess up until
 6        A. Yes.                                       6   today, JCS has been under your responsibility,
 7        Q. So they were taking the lead in            7   correct take out the first comma?
 8   those particular operational areas to -- and       8        A. Yes.
 9   administrative areas to integrate JCS, is that     9        Q. Colleen Ray, do you know Mrs. Ray?
10   what you understood?                              10        A. I do.
11        A. Correct.                                  11        Q. When did you first come to know
12                                                     12   her?
13           (Plaintiff's Exhibit Number 294           13        A. I probably met her in '12 or '13.
14   was marked for identification and copy of same    14        Q. And we've taken her deposition, so
15   is attached hereto).                              15   I understand she was the state manager of JCS
16                                                     16   in Alabama, is that right?
17       Q. (BY MR. EVANS) Let me show you             17        A. That's correct.
18   what we've had marked as Exhibit 294.             18        Q. So you would have met her at some
19       A. (Examining document).                      19   point in time after CHC bought it?
20       Q. Is this an email which you wrote           20        A. Yes, I think they had kind of a
21   to Mr. Goetz about this integration process       21   meet and greet meeting that I met her at.
22   with JCS?                                         22        Q. Did you go there, or did she come
23       A. Yes.                                       23   here?
                                             Page 90                                               Page 92
 1        Q. You wrote that it must continue            1        A. To Denver. She came to Denver.
 2   and even accelerate, correct?                      2        Q. She had told us in her deposition
 3        A. Yes.                                       3   that you were the COO at that time --
 4        Q. In that 2012 time frame in which           4        A. Probably.
 5   this email was written, the JCS employees,         5        Q. -- that was one of your prior
 6   were they receiving their checks from CHC? Do      6   deals?
 7   you know?                                          7        A. Yes.
 8        A. I don't know.                              8        Q. And that you actually were signing
 9        Q. Your overall responsibility there          9   -- once the purchase of JCS was done by CHC,
10   at CHC was -- included JCS's operations, is       10   you were the one who signed the contracts for
11   that correct?                                     11   JCS?
12        A. No.                                       12        A. I don't know when that happened,
13        Q. Who was over --                           13   but there was a time where I did sign
14        A. Doug Goetz.                               14   contracts.
15        Q. Doug Goetz was taking care of it          15        Q. On behalf of JCS?
16   at that time?                                     16        A. Yes.
17        A. Yes.                                      17
18        Q. When did JCS first come under your        18           (Plaintiff's Exhibit Number 295
19   responsibility?                                   19   was marked for identification and copy of same
20        A. Not until Doug left.                      20   is attached hereto).
21        Q. And that would have been?                 21
22        A. When Dirk Allison came on.                22      Q. (BY MR. EVANS) Let me show you
23        Q. I'll have to say --                       23   what we're going to mark as Exhibit 295.
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Don Houston                                                                                              24
                                            Page 93                                                 Page 95
 1         A. (Examining document). Yes.               1           MR. JACKSON: What number, Danny,
 2         Q. Okay, do you recognize this as an        2   118?
 3   email about that issue?                           3           MS. PARRISH: 118.
 4         A. I've never seen this email, but --       4           MR. FINCH: 118.
 5         Q. The reason I'm showing it to you,        5         Q. (BY MR. EVANS) Do you recognize
 6   it's an email from Mrs. Ray to Kevin Egan, and    6   that as your signature?
 7   did you know Mr. Egan?                            7         A. It is my signature.
 8         A. I met him.                               8         Q. What's the date of that document?
 9         Q. Okay, at some point in time he was       9         A. May of 2014.
10   terminated from his position with JCS, wasn't    10           MS. PARRISH: There are actually
11   he?                                              11   two contracts in there, so you might want
12         A. I believe he left, yes. I don't         12   to --
13   know that he was terminated.                     13         A. And June of 2014.
14         Q. Well, we can show you the               14         Q. (BY MR. EVANS) Okay. So at least
15   documents on that --                             15   by that point you had signed some contracts,
16         A. Okay.                                   16   you would agree?
17         Q. -- but, in any event, he left the       17         A. Yes.
18   employment of JCS, is that correct?              18         Q. I want to show you a document you
19            MR. FINCH: Object to form.              19   may or may not be able to help me with.
20         A. Yes.                                    20         A. Okay.
21         Q. (BY MR. EVANS) And after CHC            21
22   purchased it, at some point you would agree      22         (Plaintiff's Exhibit Number 296
23   that you became the person who would have to     23   was marked for identification and copy of same
                                            Page 94                                                 Page 96
 1   sign the contracts?                               1   is attached hereto).
 2           MR. FINCH: Object to form.                2
 3       A. I was not the only person that             3         Q. (BY MR. EVANS) This is a document
 4   could sign contracts.                             4   that was produced to us by JCS, and I'll ask
 5       Q. (BY MR. EVANS) Who else signed             5   you if you recognize that as one of the
 6   them?                                             6   accounting documents there with your company?
 7       A. Any officer of the company could           7         A. (Examining document). I've never
 8   sign the contracts.                               8   seen it.
 9       Q. Any officer of what company?               9         Q. Do you know what this document is?
10       A. Either JCS or CHC.                        10         A. No.
11       Q. And after JCS was purchased, who          11         Q. The reason I ask you, it appears
12   were the officers of that company?               12   it's referring to Ms. Colleen Ray, it's an
13       A. Of which company?                         13   accounting document, and appears to show her
14       Q. Of JCS?                                   14   entry into the system there in December of
15       A. Jarrett Gorlin, Robert McMichael,         15   2012. You can't confirm one way or another
16   Doug Goetz. These are the only ones I            16   about that?
17   remember, that I recall.                         17         A. No, sir.
18       Q. So, in your opinion, any of those         18            MR. TANKERSLEY: I'm sorry, what
19   folks and any of the people who were officers    19   exhibit was that?
20   of CHC could also sign contracts?                20            MR. EVANS: 296.
21       A. Correct.                                  21            MR. TANKERSLEY: Thank you, sir.
22       Q. Let me show you what was                  22
23   previously marked as Exhibit 118.                23          (Plaintiff's Exhibit Number 297
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Don Houston                                                                                               25
                                            Page 97                                                 Page 99
 1   was marked for identification and copy of same    1        Q. (BY MR. EVANS) I see. And,
 2   is attached hereto).                              2   again, we're talking about the CHC HR?
 3                                                     3        A. Correct.
 4        Q. (BY MR. EVANS) Let me show you            4        Q. Dennis Moon, did you know Mr.
 5   what we've had marked as 297.                     5   Moon?
 6        A. (Examining document). Yes.                6        A. I did.
 7        Q. Again, an email from you to Mr.           7        Q. And who was he?
 8   Goetz back in December of 2012, is that           8        A. Dennis was the chief operating
 9   correct?                                          9   officer of JCS.
10        A. Correct.                                 10        Q. And after the purchase by CHC, did
11        Q. You wrote this?                          11   Mr. Moon remain on board for a while?
12        A. I did.                                   12        A. He did.
13        Q. Can you -- again, a lot of it has        13
14   been redacted, for what reason we don't know,    14           (Plaintiff's Exhibit Number 298
15   but can you tell me what the purpose of this     15   was marked for identification and copy of same
16   communication was?                               16   is attached hereto).
17        A. This was a conversation -- I mean        17
18   an email between Doug and I about some           18       Q. (BY MR. EVANS) I'll show you what
19   frustration that I was having at the time.       19   we've had marked as Exhibit 298.
20        Q. What were you being asked to do          20       A. (Examining document).
21   that was frustrating?                            21       Q. Again, is this an email between
22        A. It's what I wasn't aware of that         22   you, Mr. Goetz, and originating with Mr. Moon
23   was frustrating.                                 23   about these integration efforts?
                                            Page 98                                                Page 100
 1        Q. And what was that?                        1          MR. FINCH: Object to form.
 2        A. Well, it's right here.                    2        A. It was really about getting the
 3        Q. Can you explain it to me?                 3   two entities together for a meeting.
 4        A. It's issues that I found out by           4        Q. (BY MR. EVANS) All right, and
 5   accident, and here I had met with the HR team     5   JCS and CHC you're referring to?
 6   that morning, and they had told me -- it was      6        A. Yes.
 7   about things that they were frustrated about      7        Q. And was this the meet and greet
 8   and the volume of work that they were dealing     8   that you were talking about that ultimately
 9   with.                                             9   they came to Denver?
10        Q. And this is the HR team there at         10        A. I don't know if this was the one
11   CHC?                                             11   that we talked about earlier, but this was a
12        A. Correct.                                 12   meet and greet, yes.
13        Q. And the volume of the work they          13
14   were dealing with in integrating JCS into the    14           (Plaintiff's Exhibit Number 299
15   company?                                         15   was marked for identification and copy of same
16            MR. FINCH: Object to the form.          16   is attached hereto).
17        A. It looks like here it was just --        17
18   I don't remember exactly what all of the         18      Q. (BY MR. EVANS) Let me show you
19   issues were at the time, but I do remember       19   Exhibit 299. Again, an email from you to Mr.
20   that they were complaining about the volume of   20   Goetz and others in early 2013, is that right?
21   work they had that was JCS related. So that      21      A. Yes, sir.
22   was probably HR starting to take on some of      22      Q. And you're suggesting the
23   the functions of JCS.                            23   Community Services titles have consistent --
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Don Houston                                                                                             26
                                           Page 101                                               Page 103
 1   that they be consistent with their responsi-      1          (Whereupon, an off-the-record
 2   bility?                                           2   discussion was had).
 3         A. That was my recommendation.              3
 4         Q. And the Community Services, would        4           (Plaintiff's Exhibit Number 300
 5   that have included JCS at that point?             5   was marked for identification and copy of same
 6         A. At that time yes.                        6   is attached hereto).
 7         Q. Did they have joint titles with          7
 8   CHC titles and JCS titles?                        8        Q. (BY MR. EVANS) I'll show you what
 9         A. They only had JCS titles.                9   we've had marked as Exhibit 300, sir.
10         Q. Did Mr. Moon, for instance, ever        10           MR. TANKERSLEY: 300? That's
11   have a CHC title?                                11   300?
12         A. No.                                     12           MR. EVANS: Yes.
13         Q. But did you have joint titles with      13           MR. TANKERSLEY: Thank you, sir.
14   JCS and CHC?                                     14        Q. (BY MR. EVANS) Tell me what this
15         A. I did -- well, not with JCS. I          15   is.
16   had joint titles.                                16        A. It's an email chain originating
17         Q. Okay.                                   17   from the general counsel.
18         A. I had a PNA title, and I had a CHC      18        Q. And, again, this would have been
19   title.                                           19   in January of 2013 pertaining to the relation-
20         Q. I see. And you had authority to         20   ships of PNA, JCS, and CHC it looks like, is
21   sign contracts and so forth with JCS?            21   that right?
22         A. Not at this time (Indicating).          22        A. It's confirming officers for PNA
23         Q. When did that occur?                    23   and JCS.
                                           Page 102                                               Page 104
 1        A. It was probably 2014 when --              1        Q. Okay. And you write in your part,
 2        Q. Dirk Allison?                             2   in your opinion, officers of PNA and JCS
 3        A. -- Dirk Allison came on board.            3   should mirror CHC as much as possible, that's
 4        Q. At this point in time in 2013, JCS        4   what you wrote?
 5   would have still been signing its contracts,      5        A. Correct.
 6   but it would have been under your supervision?    6        Q. So you felt they should be the
 7        A. Well, really at this time                 7   same?
 8   (Indicating) they were reporting to Doug          8        A. Correct.
 9   Goetz.                                            9        Q. And there was a great deal of
10        Q. I see. And who did Mr. Goetz             10   commonality, it looks like, in the second page
11   report to?                                       11   of that exhibit. Is that what the proposed
12        A. The board.                               12   officers were?
13        Q. The board of what?                       13           MR. FINCH: Object to form.
14        A. CHC.                                     14        A. That's what this document says.
15           (Whereupon, an off-the-record            15        Q. (BY MR. EVANS) And this Shannon
16   discussion was had).                             16   -- Shelton Frey is the legal counsel writing
17        Q. (BY MR. EVANS) You were talking          17   about this?
18   about 2013 when you mentioned at this time?      18        A. In January of 2013, yes.
19        A. Yes. I'm sorry.                          19        Q. Good job. Good job.
20           MR. FINCH: I didn't see you              20
21   point, but rather than saying at this time,      21           (Plaintiff's Exhibit Number 301
22   use dates if you would.                          22   was marked for identification and copy of same
23        A. Okay.                                    23   is attached hereto).
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Don Houston                                                                                            27
                                           Page 105                                              Page 107
 1         Q. (BY MR. EVANS) I'll show you             1   part of our division within CHC, and Goetz
 2   Exhibit 301.                                      2   says we appreciate your leadership role in the
 3         A. Okay.                                    3   company, it wasn't operated as a division as
 4         Q. It's an email from Goetz to you          4   far as you know?
 5   and Dennis Moon, isn't it, January 2013?          5        A. It was -- I can't speak for Doug,
 6         A. Yes.                                     6   but in here we're -- we're the two COOs of the
 7         Q. Do you remember this?                    7   company.
 8         A. Really I don't.                          8        Q. You were --
 9         Q. I wouldn't think you would, but          9        A. JCS is Dennis Moon, and I have
10   it's a -- am I correct, sir, that it appears     10   CHC, so this is going to the two COOs of --
11   to be a complaint from Mr. Moon about CHC's      11   he's the COO of JCS, and I'm the COO of CHC at
12   management of the office supply chain for JCS?   12   this time --
13         A. It appears.                             13        Q. And that ultimately changed when
14         Q. At that point in time were the          14   the --
15   office contracts and things of that nature       15        A. -- in February of 2013.
16   going through the CHC organization?              16        Q. At some point in time did you hold
17         A. It could be some of those were          17   joint meetings between CHC and JCS?
18   beginning to happen at this time, in January     18           MR. FINCH: Object to form.
19   of 2013.                                         19        A. There were meetings, yes.
20         Q. There you go.                           20        Q. (BY MR. EVANS) Joint between the
21             MR. FINCH: Thank you.                  21   two?
22         Q. (BY MR. EVANS) Quick study.             22        A. Yes.
23                                                    23
                                           Page 106                                              Page 108
 1           (Plaintiff's Exhibit Number 302           1          (Plaintiff's Exhibit Number 303 was
 2   was marked for identification and copy of same    2   marked for identification and copy of same is
 3   is attached hereto).                              3   attached hereto).
 4                                                     4
 5        Q. (BY MR. EVANS) I'll show you              5         Q. (BY MR. EVANS) Let me show you
 6   what we've marked as Exhibit 302. This,           6   Exhibit 303.
 7   again, Exhibit 302, is an email there in          7         A. Yes.
 8   February of 2013 that you were copied on,         8         Q. This is late January, early
 9   isn't it?                                         9   February 2013 about a proposed joint meeting,
10        A. Yes.                                     10   isn't it?
11        Q. Mr. Goetz writes back to Dennis          11         A. Yes.
12   Moon, quote, you are very welcome, Dennis.       12         Q. Do you remember that meeting?
13   You play a very important leadership role in     13         A. No.
14   the company, and this was following Moon's       14         Q. The second page of Exhibit 303
15   email that says he's very proud to be part of    15   shows an exhibit for it in the Atlantic
16   your team and look forward to continued growth   16   Station office. Topics II and III show the
17   in our division within CHC, correct?             17   state of JCS and then the state of CHC. Would
18        A. That's what it says.                     18   you have participated in that joint meeting?
19        Q. At that time in February of 2013         19         A. I did not participate in this
20   was JCS being operated essentially as a          20   meeting.
21   division of CHC?                                 21         Q. Topic VII shows Old Business, CHC
22        A. No.                                      22   Integration/Crossover. You don't remember
23        Q. So even though he says proud to be       23   anything about that?
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Don Houston                                                                                            28
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 1        A. I did not attend this meeting.            1   correct?
 2        Q. Were there other similar joint            2        A. I didn't -- let me read this again
 3   meetings of that nature?                          3   because I don't think that was what the issue
 4        A. There were other meetings, but not        4   was (Examining document). I know what this
 5   one that had an agenda like this that I'm         5   issue was.
 6   aware of. It was more meet and greet type         6        Q. What was the issue?
 7   meetings.                                         7        A. This was one of the struggles with
 8        Q. Do you remember when Mr. Goetz            8   integration. This was -- payroll was being
 9   went with Correct Care Solutions?                 9   integrated at the time, and a number of JCS
10        A. Mr. Goetz never went with Correct        10   employees were overpaid, and it was trying to
11   Care Solutions.                                  11   correct that. And that's what was creating
12        Q. He never did? When did he leave          12   the problem, the overpayment issue.
13   CHC?                                             13        Q. So CHC was beginning to pay the
14        A. I don't remember the exact date,         14   JCS folks, and they were overpaying them?
15   but it was before the -- had to be in 2014,      15        A. Yes.
16   early 2014.                                      16        Q. I bet they were happy.
17                                                    17        A. And they were trying to collect
18           (Plaintiff's Exhibit Number 304          18   that money back from them --
19   was marked for identification and copy of same   19           MS. PARRISH: Right, it wasn't the
20   is attached hereto).                             20   overpayment, it was the --
21                                                    21        A. -- is what this was about. That's
22       Q. (BY MR. EVANS) I'll show you what         22   why it's the overpayment concerns and --
23   we've marked as Exhibit 304.                     23        Q. (BY MR. EVANS) At some point in
                                           Page 110                                             Page 112
 1        A. (Examining document).                     1   time did you learn that there had been an
 2        Q. Are you ready?                            2   incentive program put in place for the JCS
 3        A. Yes.                                      3   employees?
 4        Q. What is Exhibit 304?                      4        A. I knew that there was an
 5        A. It is a memo from Jarrett to Doug,        5   incentive plan.
 6   and a copy of a message from Dennis Moon to       6        Q. What was your understanding of how
 7   Jarrett Gorlin.                                   7   that worked?
 8        Q. Mr. Goetz is using the email              8        A. I don't know how it worked, but it
 9   correctioncare.com. What is that?                 9   was always part of JCS prior to us acquiring
10        A. I don't -- that was the CHC email        10   them and subsequent to that.
11   system.                                          11        Q. Was it a revenue-based judgment?
12        Q. So when you see Correction Care --       12        A. I don't know how it worked, but I
13        A. Yeah.                                    13   know that there was one.
14        Q. -- that would be --                      14        Q. Did it affect the entry level
15        A. That was CHC.                            15   probation officers as well as the managers?
16        Q. So you may have had a similar --         16        A. I don't know how far down it
17        A. I did have a Correction Care.            17   went.
18        Q. And at that point Mr. Goetz, of          18
19   course, was with CHC, and Mr. Gorlin was with    19           (Plaintiff's Exhibit Number 305
20   JCS?                                             20   was marked for identification and copy of same
21        A. Correct.                                 21   is attached hereto).
22        Q. And they're communicating about a        22
23   call from the court that was critical of JCS,    23       Q. (BY MR. EVANS) Let me show you
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Don Houston                                                                                            29
                                          Page 113                                              Page 115
 1   what we have marked as Exhibit 305.               1       A. No.
 2        A. Okay.                                     2
 3        Q. Do you remember this?                     3           (Plaintiff's Exhibit Number 307
 4        A. I do.                                     4   was marked for identification and copy of same
 5        Q. What is this?                             5   is attached hereto).
 6        A. This was just a notice that Ed            6
 7   Buss would no longer be working at JCS.           7        Q. (BY MR. EVANS) After JCS was
 8        Q. And he was then working where?            8   purchased by CHC, did you or anybody at CHC
 9        A. Here, when this was written?              9   that you know about undertake to make any
10        Q. Yes.                                     10   changes in the business format, the business
11        A. He was at JCS.                           11   plan of JCS?
12        Q. Yes, and then where did he go            12        A. What do you mean?
13   after that?                                      13        Q. Well, did you undertake to try to
14        A. He went to CHC.                          14   change the way they were doing business?
15        Q. Working under you?                       15        A. I did not.
16        A. Correct.                                 16        Q. Do you know if anybody else did?
17        Q. And there was in 2014?                   17        A. I don't know.
18        A. Correct.                                 18        Q. Let me show you what we've had
19                                                    19   marked as 307.
20           (Plaintiff's Exhibit Number 306          20        A. (Examining document). Okay.
21   was marked for identification and copy of same   21        Q. Again, this appears to be an email
22   is attached hereto).                             22   from you to Mr. Moon in response to one from
23                                                    23   him. Now we're in June of 2013, correct?
                                          Page 114                                              Page 116
 1        Q. (BY MR. EVANS) About the                  1        A. Correct.
 2   incentives, I want to show you what we've had     2        Q. And you're asking about what?
 3   marked as Exhibit 306.                            3        A. Just to -- I was courtesy-copied
 4        A. Okay (Examining document). Okay.          4   on things at this time, and I just read
 5        Q. Does that refresh your recollec-          5   something in here that peaked my interest, so
 6   tion at all about these incentives?               6   I just asked a question about it.
 7        A. Like I said, I knew there were            7        Q. Sure. And you're asking about
 8   incentives, but I didn't know any -- I still      8   what?
 9   don't know any of the details of the              9        A. Have the day-care and vacation
10   incentives.                                      10   revenue issues happened in past years.
11        Q. This seems to be an email from Mr.       11        Q. And those were identified by Mr.
12   Egan on which you were copied, is that right?    12   Moon by saying their collection money had gone
13        A. Yes.                                     13   down because they thought people were spending
14        Q. Providing incentives both for the        14   money on daycare and on vacations?
15   local folks and asking that the individuals      15        A. Yes.
16   leverage their relationship with judges and      16        Q. Were you courtesy-copied on a
17   prosecutors to get meaningful meetings and       17   number of these types of operational issues
18   they get a bonus if they -- depending on the     18   over the --
19   size of the deal?                                19        A. Yes.
20           MR. FINCH: Object to form.               20            MR. FINCH: Hold on. Let him
21        Q. (BY MR. EVANS) Did you ever --           21   finish his question.
22   does any of that come back to you about how      22        A. I'm sorry. Okay.
23   that was structured?                             23            MR. FINCH: He may be giving you a
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Don Houston                                                                                               30
                                           Page 117                                                 Page 119
 1   time frame or something.                          1         A. Yes.
 2       A. Okay.                                      2         Q. Again, is this an email that you
 3                                                     3   were copied in on concerning operations of JCS
 4           (Plaintiff's Exhibit Number 308           4   in Alabama?
 5   was marked for identification and copy of same    5         A. Yes.
 6   is attached hereto).                              6         Q. It talks about case loads continue
 7                                                     7   to grow, an additional thirty-three -- three
 8        Q. (BY MR. EVANS) Let me show you            8   hundred and thirty-three cases this week, and
 9   Exhibit 308. Is this another example where        9   we are seeing improvements in areas that have
10   you were courtesy-copied about operational       10   been very weak so far this year, such as, and
11   issues with Alabama JCS?                         11   it's blanked out. Quote, as long as
12        A. Yes.                                     12   collections continue to track with the
13        Q. As we go down to the second bullet       13   remaining two Fridays, we should see the best
14   point it talks about, the second sentence, in    14   month to budget we have had in 2013. Did you
15   Montgomery the clerk informed us Friday they     15   understand what that meant in this time frame
16   have created digital signatures on the           16   in August of 2013?
17   nonpayment cases which would help us to start    17         A. Just that the financial perfor-
18   seeing more cases being placed on probation      18   mance was improving.
19   for nonpayment of fines. That's what it says,    19         Q. But you didn't know how they were
20   doesn't it?                                      20   making their money?
21        A. That's what it says.                     21         A. Not specifically, no.
22        Q. Did you understand that that was a       22
23   positive thing in the eyes of JCS, they would    23          (Plaintiff's Exhibit Number 310
                                           Page 118                                                 Page 120
 1   get more cases for the nonpayment of fines?       1   was marked for identification and copy of same
 2        A. I don't know -- I don't know what         2   is attached hereto).
 3   I felt at the time. I just remember -- I          3
 4   don't even remember seeing this.                  4       Q. (BY MR. EVANS) I'll show you what
 5        Q. You don't know how they operated,         5   we've had marked as Exhibit 310, Mr. Houston.
 6   how they generated income?                        6   Again, is this an email in which you were
 7        A. Did not.                                  7   included in November of 2013?
 8        Q. As you sit here today, you don't          8       A. Yes.
 9   know how --                                       9       Q. It attaches an organization chart,
10        A. No, I do. I did not at this time,        10   doesn't it?
11   in July of 2013.                                 11       A. It does.
12            MR. FINCH: Also be sure you let         12       Q. And it talks about changes in the
13   him finish because you guys are talking over     13   executive leadership team there at CHC?
14   each other.                                      14       A. Yes.
15        A. Okay.                                    15       Q. And bullet point number two, it
16                                                    16   shows that one of the changes would include
17           (Plaintiff's Exhibit Number 309          17   moving the operations of JCS under Don
18   was marked for identification and copy of same   18   Houston, our COO?
19   is attached hereto).                             19       A. Correct.
20                                                    20       Q. And then the last bullet point
21       Q. (BY MR. EVANS) I'll show you              21   says the JCS conptroller will now report to
22   another example. They may be the same. I'll      22   Bruce McDaniel, our CFO, correct?
23   show you Exhibit 309, sir.                       23       A. Correct.
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Don Houston                                                                                               31
                                           Page 121                                              Page 123
 1        Q. Does this help us pinpoint a date         1   Alabama operations of JCS?
 2   as to when those changes actually occurred?       2        A. I participated in that decision.
 3        A. Yes.                                      3        Q. Who else did?
 4        Q. So we're talking about November of        4        A. Colleen Ray, myself, Karen Lloyd.
 5   2013?                                             5        Q. When the operations were being
 6        A. Correct.                                  6   shut down and the leases and so forth were
 7        Q. I knew we would get there.                7   being terminated, were those matters handled
 8                                                     8   by the legal department of CCS?
 9           (Plaintiff's Exhibit Number 311           9        A. For the most part, yes.
10   was marked for identification and copy of same   10        Q. Did you ever review or see any of
11   is attached hereto).                             11   the marketing information from JCS?
12                                                    12        A. Ever?
13        Q. (BY MR. EVANS) Let me show you           13        Q. Yes, sir, ever.
14   Exhibit 311. Okay, do you recognize there        14        A. Yes.
15   email?                                           15        Q. Did you direct any changes to any
16        A. I do.                                    16   of it or --
17        Q. It's an email from you to Ed Buss        17        A. No.
18   and others in November of 2013, correct?         18        Q. -- as to whether it should be
19        A. Correct.                                 19   modified or reformatted?
20        Q. This is close to the time frame          20        A. No.
21   that you've now been appointed as the head of    21
22   JCS, correct?                                    22         (Plaintiff's Exhibit Number 312
23        A. Correct.                                 23   was marked for identification and copy of same
                                           Page 122                                              Page 124
 1        Q. And you're talking about, quote,          1   is attached hereto).
 2   gentleman, I believe our CEO will be joining      2
 3   us for our meeting, end quote. Who were you       3        Q. (BY MR. EVANS) After you became
 4   referring to?                                     4   the responsible for, the head of JCS there in
 5        A. Dirk Allison.                             5   November of 2013, did you change the way it
 6        Q. So he would have been the CEO you         6   was running in any way?
 7   were referring to?                                7        A. Appointed Karen Lloyd.
 8        A. Correct.                                  8        Q. Did you --
 9        Q. Was he your CEO at that point in          9        A. Functionally, no.
10   time?                                            10        Q. Did you begin running it as a
11        A. He was.                                  11   division of CHC?
12        Q. When Mr. Moon came into the              12        A. No, it always functioned as JCS.
13   picture, did he -- under CHC, did he sign a      13        Q. Let me show you what we've had
14   noncompete clause, if you know?                  14   marked as Exhibit 313 -- 312, I'm sorry.
15        A. When Mr. Moon did?                       15        A. 312 (Examining document). Okay.
16        Q. Yes, sir. In other words, when           16        Q. This is an email from you to Ed
17   JCS was purchased, did he sign a noncompete      17   Buss in January of 2014, isn't it?
18   clause?                                          18        A. It is.
19        A. I don't know.                            19        Q. Again, part of it redacted. Do
20        Q. Do you know whether Dennis Sanders       20   you know what is under the redacted area?
21   did?                                             21        A. I do not.
22        A. I don't know.                            22        Q. After that sentence you put, I'm
23        Q. Who made the decision to close the       23   sure you've had your thoughts on how you want
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Don Houston                                                                                             32
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 1   to run this Division. JCS will retain its          1   here, JCS itself would not have any assets
 2   corporate identity, but I want to run it as a      2   separate and apart from those of CHC, is that
 3   Division of CHC. You wrote that?                   3   correct?
 4         A. Yes.                                      4           MR. FINCH: Object to form.
 5         Q. And did you do that?                      5        Q. (BY MR. EVANS) You can answer.
 6         A. Did not.                                  6        A. I don't know.
 7         Q. Why not?                                  7        Q. Who would know that?
 8         A. I could never find a way to               8        A. I would think that our legal
 9   integrate it fully into the company. It just       9   department would know that.
10   -- it just didn't fit with health care.           10        Q. Has it acquired any assets since
11         Q. As we sit here today, it's paid          11   the sale went through between CHC and JCS?
12   through the payroll of CCS, that's what we        12        A. It's acquired contracts.
13   talked about earlier, correct?                    13        Q. And it's closed the Alabama opera-
14         A. Correct.                                 14   tion and terminated all of those contracts,
15         Q. Does it still maintain some              15   correct?
16   corporate identity?                               16        A. Correct.
17         A. Yes.                                     17        Q. What states is it currently
18         Q. And the officers of that entity          18   operating in?
19   are?                                              19        A. Currently in Florida and Georgia.
20         A. Could you ask that question again?       20
21         Q. Yes, sir. Does JCS still maintain        21           (Plaintiff's Exhibit Number 313
22   some corporate identity?                          22   was marked for identification and copy of same
23         A. Yes.                                     23   is attached hereto).
                                            Page 126                                              Page 128
 1        Q. As I understand it, at some point          1        Q. (BY MR. EVANS) Let me show you
 2   it changed its format from JCS -- or Judicial      2   what we've had marked as Exhibit 313.
 3   Correction Services, Incorporated, to Judicial     3        A. (Examining document).
 4   Correction Services, LLC. Are you aware of         4        Q. Do you recognize this document?
 5   that?                                              5        A. Yes.
 6        A. I'm not.                                   6        Q. What is it?
 7        Q. Or who did that?                           7        A. It's the leadership of CCS at some
 8        A. No.                                        8   point in time.
 9        Q. Or the purpose behind it?                  9        Q. It's dated, the bottom right
10        A. No.                                       10   corner.
11        Q. Do you know who are the owners of         11           MR. FINCH: No, that's when it was
12   JCS, LLC, or JCS, Incorporated, either one?       12   printed.
13        A. Not really. I would think it's            13        A. Yes.
14   CHC, and that's a supposition on my part.         14        Q. (BY MR. EVANS) Would that have
15        Q. When JCS was purchased by CHC,            15   been correct as far as the leadership in
16   were all of the assets transferred over to        16   December of 2015?
17   CHC?                                              17        A. Probably.
18        A. As far as --                              18        Q. It's from the website there. You
19           MR. FINCH: Object to form.                19   see the website address on the top front page?
20        A. Yes.                                      20        A. Yeah, I just don't know that the
21        Q. (BY MR. EVANS) As far as you              21   website is always kept up.
22   know. It appears to be that in that earlier       22        Q. That's fair. Do you recognize all
23   purchase document we looked at. So as we sit      23   of those persons?
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Don Houston                                                                                           33
                                           Page 129                                             Page 131
 1       A. I do recognize all of the people           1        A. Correct.
 2   here, yes.                                        2        Q. The reason for that question is
 3       Q. And they're part of the leadership         3   during our investigation of this case Mr.
 4   team of CCS, correct?                             4   Goetz was, back in 2011, the president of CHC,
 5       A. Correct.                                   5   wasn't he?
 6                                                     6          MR. FINCH: Object to form.
 7           (Plaintiff's Exhibit Number 314           7        A. Mr. Goetz?
 8   was marked for identification and copy of same    8        Q. (BY MR. EVANS) Yes, sir.
 9   is attached hereto).                              9        A. And when?
10                                                    10        Q. 2011.
11         Q. (BY MR. EVANS) For completeness         11        A. He was the CEO and president, yes.
12   we've had a more recent one done. I'll show      12        Q. And he was also the president of
13   you Exhibit 314.                                 13   another company called Correctional
14         A. (Examining document).                   14   Healthcare, Incorporated; did you know about
15         Q. Again, do you recognize --              15   that?
16         A. I do.                                   16        A. No.
17         Q. -- those people as the leadership       17        Q. Or CHC Companies, Limited, did you
18   team of CCS?                                     18   know about that?
19         A. Yes.                                    19        A. No.
20         Q. We talked about this entity a           20        Q. Did you have any participation in
21   little earlier, Correctional Healthcare          21   the operation of those other companies?
22   Company. Have you been involved with that        22        A. No.
23   entity at all?                                   23        Q. As far as the company that has had
                                           Page 130                                             Page 132
 1       A. Yes.                                       1   ownership participation in the operation of
 2       Q. In what way?                               2   JCS, we're talking about CHC Companies, Inc.,
 3       A. I was the chief operating officer          3   is that correct?
 4   of Correctional Healthcare Company.               4            MR. FINCH: Object to form.
 5       Q. And is that the company that we've         5        A. Correctional Healthcare Companies
 6   been talking about, CHC Companies, Inc.           6   is the only one that I know that I
 7       A. Yes.                                       7   participated in that managed JCS or had any
 8       Q. You know that --                           8   responsibility for JCS.
 9       A. That's who I refer to it as, yes.          9        Q. (BY MR. EVANS) Did you understand
10       Q. So it does business as                    10   that the corporate name of that is actually
11   Correctional Healthcare Company from time to     11   CHC Companies, Inc.?
12   time?                                            12        A. No.
13           MR. FINCH: Object to form. What          13        Q. What do you understand the name of
14   time frame, Danny?                               14   the company to be, the actual formal name of
15       Q. (BY MR. EVANS) You can answer.            15   the entity?
16           MR. FINCH: If you can.                   16        A. Correctional Healthcare Companies.
17       A. Yeah, I don't know, I've -- I             17        Q. Inc.?
18   don't know when there was a change in the        18        A. I don't know.
19   company's name. I've always just gone with       19        Q. Well, and that's the problem, see,
20   CHC as the company that we've been discussing.   20   we've had a bunch of name changes, one to the
21       Q. (BY MR. EVANS) And those letters,         21   other and back and forth, and so I'm trying to
22   you understood, stood for Correctional           22   make sure we have the right people at the
23   Healthcare Company?                              23   table.
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 1         A. Well, there's, you know -- and           1   course, I'll remind you you're still under
 2   probably there is someone who can explain that    2   oath. You understand that?
 3   a little bit better in what happens above the     3        A. I do.
 4   operating part of the company, which is -- to     4        Q. I want to make sure that we're
 5   me that was always about how to deal with         5   clear on some of the things that we were
 6   taxes more than anything else and how --          6   discussing right before lunch. When we set
 7            MR. FINCH: He's talking now at           7   this deposition up we asked to take the
 8   the -- below the -- he's talking at the CHC       8   corporate representative of CHC Companies,
 9   Companies level or below --                       9   Incorporated, and earlier in the day you told
10         A. Okay.                                   10   me that's you.
11            MR. FINCH: -- not up above.             11        A. That's me.
12         A. All right.                              12        Q. Okay. And then right before lunch
13         Q. (BY MR. EVANS) Let me show you          13   you suggested you were employed or paid by
14   what back here, we're looking now at Exhibit     14   Correctional Healthcare Companies, that you
15   289, remember us talking about this being the    15   didn't understand which was which?
16   purchase agreement --                            16        A. It's Correctional Healthcare
17         A. Yes.                                    17   Companies, Incorporated.
18         Q. -- and merger?                          18        Q. And doing -- is it called CHC
19         A. Yes.                                    19   Companies, Inc., or is it Correctional
20         Q. See, it shows CHC Companies,            20   Healthcare Companies, Inc.
21   Incorporated, as the purchaser, not              21        A. CHC, Inc. Correctional Healthcare
22   Correctional Healthcare Companies, but CHC       22   Companies, Incorporated.
23   Companies, Incorporated. We have seen            23        Q. Well, let me show you Exhibit 289,
                                          Page 134                                              Page 136
 1   documents where CHC Companies does business as    1   which again is the purchase agreement -- I'm
 2   Correctional Healthcare and where Correctional    2   sorry, you've got a copy of it. This is our
 3   Healthcare does business as CHC. But as far       3   copy.
 4   as the company you work for, is it your           4        A. Yes, sir, right here.
 5   understanding that it's CHC Companies, Inc.?      5        Q. Okay, you've got it in front of
 6           MR. FINCH: Object to form.                6   you there. That's the agreement or plan of
 7        A. Yes.                                      7   merger between CHC Companies, Inc., and
 8        Q. (BY MR. EVANS) Okay. And as far           8   Judicial Correction Services, Inc. Do you see
 9   as any of these other entities, you just don't    9   that?
10   know about those, is that correct?               10        A. Right.
11        A. Correct.                                 11        Q. And, of course, we've asked to
12           MR. FINCH: We're going to take a         12   take the deposition of the rep of CHC
13   break.                                           13   Companies, Inc.
14           MR. EVANS: Okay, we'll probably          14            MR. FINCH: That's what he's here
15   take a break for lunch pretty soon. If you       15   as.
16   want to do that now, we can.                     16            MR. EVANS: Okay, I --
17           MR. FINCH: Oh, yeah, why don't we        17            MR. FINCH: I will represent to
18   just do that now.                                18   you --
19           MR. EVANS: Okay.                         19        A. Yes.
20           (Recess from 11:40 A.M. until            20            MR. FINCH: -- that he's here to
21           12:33 P.M.)                              21   testify on behalf of CHC Companies, Inc.
22        Q. (BY MR. EVANS) Okay, Mr. Houston,        22        Q. (BY MR. EVANS) All right, there
23   we're back on the record after lunch, and, of    23   are other entities we have seen named
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Don Houston                                                                                            35
                                          Page 137                                               Page 139
 1   Correctional Healthare Company, sounds like       1        A. It is above CCS.
 2   the same, but it's a different company we're      2        Q. So CCS, LLC, would be within that
 3   told. Do you know anything about that             3   group?
 4   company?                                          4        A. Yes.
 5        A. No.                                       5        Q. And CCS-CHC Holdings, LLC --
 6        Q. What other subsidiaries does CHC          6        A. I don't know what that is.
 7   Companies, Inc., have?                            7        Q. Okay. What is Jasmine (sic)
 8        A. PNA, Physicians Network                   8   Healthcare, Incorporated?
 9   Association, Secure Care, Correctional            9        A. Jasmine Healthcare was the
10   Healthcare Management, and I guess JCS.          10   entity --
11        Q. Are those all that you know about?       11           MR. FINCH: Jessamine.
12        A. There's JHS.                             12        A. Jessamine, it was the entity that
13        Q. What does that stand for?                13   the private equity firm used as the vehicle to
14        A. I'm trying to remember what that         14   acquire CHC.
15   stands for. I don't even remember what it        15        Q. (BY MR. EVANS) And that happened
16   stands for, but it's a small company out in      16   when y'all were brought into the CCS umbrella?
17   Phoenix.                                         17        A. No, it was prior to that.
18        Q. Are they all under your --               18        Q. I see. And who signed on behalf
19        A. Yes.                                     19   of Jessamine?
20        Q. -- supervision as the president?         20        A. It was Dale, Dale Wolf.
21        A. Yes.                                     21        Q. Was Dirk Allison involved with
22        Q. The notice of deposition had a           22   that group?
23   number of topics, if I can find mine, and you    23        A. He became involved with that
                                          Page 138                                               Page 140
 1   can look back at it from earlier. See the         1   group.
 2   corporate rep deposition notice?                  2        Q. Do you know anything about GTCR?
 3           MR. FINCH: It's this one.                 3        A. Just that they're one of the
 4        A. Yes.                                      4   private equity companies that has invested in
 5        Q. (BY MR. EVANS) One of them dealt          5   CHC.
 6   with, if you'll look at paragraph three, if       6        Q. They're one of the owners or
 7   you would -- paragraph two, for that matter,      7   investors?
 8   and we talked about the relationship of JCS to    8        A. Correct.
 9   CHC Companies, that's what we were talking        9        Q. As far as the boards of these
10   about with merger this agreement, wasn't it?     10   various entities, which board meetings, board
11        A. Right.                                   11   participations are you involved with?
12           MR. FINCH: Let me see this for a         12        A. I'm invited to the CCS board
13   second. Okay.                                    13   meetings at times. I don't attend all of the
14        Q. (BY MR. EVANS) Paragraph three,          14   board meetings. I attend sporadically.
15   the relationship of JCS to Correct Care          15        Q. How often does the board meet?
16   Solutions, that would be by by virtue of being   16        A. They meet quarterly, at least
17   under the CCS umbrella as we discussed earlier   17   quarterly.
18   today?                                           18        Q. What other board meetings do you
19        A. Correct.                                 19   attend?
20        Q. What is CCS Group Holdings, LLC?         20        A. That's the only board meeting I'm
21        A. That is an umbrella group above          21   attending.
22   CHC Companies and CCS.                           22        Q. Does CHC Companies, Incorporated,
23        Q. It's above CCS?                          23   have a board?
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 1       A. It does.                                  1   an investor in which entity?
 2       Q. And who is on that board?                 2        A. They are an investor in CHC and
 3       A. It's the same members that's on           3   CCS.
 4   the CCS board.                                   4        Q. CCS, LLC, is that correct?
 5       Q. Okay, and does it have separate           5        A. Well, I don't know if it's an LLC,
 6   meetings from the CCS board?                     6   but I know that they are invested in both.
 7       A. Not lately.                               7        Q. Do they have any operational
 8       Q. When you say not lately --                8   function in the organization?
 9       A. It has had, but I think --                9        A. None.
10       Q. Since July of 2014 when --               10        Q. Do they have membership on the
11       A. I don't think so.                        11   board?
12       Q. How about JCS, does it have a            12        A. They do.
13   board?                                          13        Q. How many members would they have
14       A. It does.                                 14   on the board, do you know?
15       Q. Who's on that board?                     15        A. I believe just one, one member.
16       A. The same members.                        16        Q. And this CCS board, CCS, LLC,
17       Q. The same members who are members         17   board, it's your understanding that that board
18   of CCS?                                         18   now is the same board for these sub-entities
19       A. Yes.                                     19   like CHC and JCS?
20       Q. Does it have meetings separate and       20           MR. FINCH: Object to form.
21   apart from those board meetings of CCS?         21        A. Yes.
22       A. No.                                      22        Q. (BY MR. EVANS) Any other entities
23       Q. It previously did?                       23   within that umbrella group that the board
                                         Page 142                                              Page 144
 1       A. It did, yes.                              1   would also serve as the board of?
 2       Q. And I had asked you about JCS,            2           MR. FINCH: Same objection.
 3   LLC, and if I understood your answer, you        3        A. Not that I'm aware of.
 4   don't know anything about that?                  4        Q. (BY MR. EVANS) When JCS was
 5       A. No.                                       5   purchased by CHC, and I hope I'm getting all
 6       Q. And you don't know why it was             6   of these acronyms correct, when they were
 7   changed from Judicial Correction Services,       7   purchased back in 2011, we looked at that
 8   Incorporated to an LLC?                          8   Exhibit 289 --
 9       A. I do not.                                 9        A. Yes.
10       Q. Who would you suggest would be the       10        Q. -- there are some indemnity
11   person to talk to about that?                   11   provisions in that agreement, and it's got an
12       A. Probably David Perry.                    12   index in front. Do you see paragraphs
13       Q. We'll get a chance to do that            13   Sections 11.2 and 3?
14   tomorrow.                                       14        A. 11 --
15       A. Okay.                                    15        Q. Yes, sir --
16       Q. When JCS did have an operating           16        A. Okay.
17   board separate from CCS, when did it meet, do   17        Q. -- it's on pages forty and forty-
18   you know?                                       18   one.
19       A. It met quarterly.                        19        A. Okay.
20       Q. Did you meet with that board?            20        Q. What can you tell me about the
21       A. I did not.                               21   indemnification agreements in that purchase?
22       Q. And other than knowing GTCR is an        22        A. I can't tell you anything about
23   investor -- and it's your information they're   23   it.
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 1         Q. And why not?                             1   apologize, but the only board meetings that
 2         A. Well, as I testified, this was the       2   you would now attend would be sporadically
 3   first time I've seen this document.               3   attending the CCS board?
 4         Q. Yes, sir. Part of the topics that        4        A. Correct. That's correct.
 5   we had asked about is the relationship between    5        Q. How many people are on that board,
 6   these two companies, a representative who         6   do you know?
 7   would know about these relationships. Did you     7        A. Officially, I . . .
 8   make any investigation about the way this         8        Q. If you could name them, that would
 9   agreement came about or the terms of the          9   be great.
10   agreement before coming today?                   10        A. Well, Jerry Boyle --
11         A. In general, but I hadn't seen           11        Q. He's the chairman?
12   this, so no.                                     12        A. He's the chairman. And then you
13         Q. And you're saying you haven't seen      13   have the CEO, Jorge Dominicis. Patrick
14   Exhibit 289?                                     14   Cummiskey. And then David Perry, and then
15         A. This is the first time I've seen        15   there are -- I don't know each of the private
16   it.                                              16   equity companies, they have members, but I
17         Q. Even though it's the purchase           17   don't know them by name because they can
18   agreement where JCS was acquired?                18   rotate memberships through the board, but --
19         A. Yes.                                    19        Q. Who would be the other private
20         Q. Do you know from any source what        20   equity members other than GTCR?
21   the terms of the indemnification --              21        A. Audex and Frazier.
22         A. I do not.                               22        Q. Anybody else?
23         Q. Do you know why it has been             23        A. No.
                                           Page 146                                              Page 148
 1   blanked out and obliterated in the copy           1        Q. Are each of those board members
 2   provided to us?                                   2   also owners in the entity?
 3        A. I do not.                                 3          MR. FINCH: Object to form.
 4        Q. Who would have a copy of the              4        A. I wouldn't know.
 5   unredacted document like this?                    5        Q. (BY MR. EVANS) Again, that would
 6        A. I'm sure our general counsel              6   be something you would expect Mr. Perry to
 7   would.                                            7   know?
 8        Q. And that's Mr. Perry?                     8        A. Probably.
 9        A. Yes.                                      9
10        Q. And, of course, this predated his        10           (Plaintiff's Exhibit Number 315
11   time, this goes back to 2011.                    11   was marked for identification and copy of same
12        A. Correct.                                 12   is attached hereto).
13        Q. But when he came on board and CHC        13
14   purchased JCS, are those documents now kept at   14       Q. (BY MR. EVANS) Let me show you a
15   the common location there at Murfreesboro?       15   document that we were provided last week and
16           MR. FINCH: Object to form.               16   we've had marked as Exhibit 315. Do you
17        A. Yes, sir.                                17   recognize this document?
18        Q. (BY MR. EVANS) So the legal              18           MR. FINCH: This is actually
19   documents pertaining to JCS and CHC are now at   19   several documents.
20   the CCS location?                                20       A. It's more than one, yeah.
21        A. They should be.                          21       Q. (BY MR. EVANS) Okay, we've had
22        Q. They should be, okay. I think            22   them clipped together --
23   we've covered this, and if I've asked you, I     23           MR. FINCH: I don't have a problem
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 1   with that, I just wanted to be clear.             1   or entities, (including, but not included but
 2        A. (Examining documents).                    2   limited to, Correct Care Solutions, LLC,
 3        Q. (BY MR. EVANS) To be absolutely           3   Correct Care, LLC, Conmed Healthcare
 4   clear, I believe it's the noncompete agreement    4   Management, Inc., and CHC Companies, Inc.).
 5   with Karen Lloyd, Colleen Ray, and Stanley        5        Q. So is it your understanding from
 6   Stevens?                                          6   the terms of this agreement that all of those
 7        A. And Stan Stevens, yes.                    7   would be considered the employer under the
 8        Q. Feel free to look at them, but            8   interpretation of this noncompete?
 9   they're essentially the same form, aren't         9           MR. FINCH: Object to the form.
10   they?                                            10        A. I mean, it speaks for itself.
11        A. They appear to be.                       11        Q. (BY MR. EVANS) That's what it
12        Q. And they were all executed in or         12   says, doesn't it?
13   around February of 2015?                         13        A. That's what it says.
14        A. No, this looks like 4-9-15. Looks        14        Q. Why were these -- Ms. Lloyd used
15   like April the 9th of '15.                       15   to be the JCS Alabama operational manager or
16        Q. I was looking at the first date,         16   Southeast operational manager, wasn't she?
17   so they must have all been dated the same but    17        A. No.
18   signed a little bit later.                       18        Q. What was her position?
19        A. Yeah, I was just looking at when         19        A. Previous to her current position
20   they were --                                     20   she was the state manager for Florida.
21        Q. Actually signed?                         21        Q. Uh-huh. We deposed her, and she
22        A. -- actually signed.                      22   said she was the regional manager and reported
23        Q. What do you know about this              23   to you. Was she incorrect about that?
                                           Page 150                                              Page 152
 1   document?                                         1        A. No, currently. You said previous-
 2        A. I just know that they're                  2   ly, so previously she was the state manager of
 3   noncompete agreements.                            3   Florida.
 4        Q. Did you sign a similar one?               4        Q. I see, maybe we miscommunicated
 5        A. I've signed one. Not similar to           5   then.
 6   this, a little different.                         6        A. Okay.
 7        Q. This would have been prepared by          7        Q. Was she at one time the
 8   the CCS legal department?                         8   Southeastern operational manager for JCS?
 9        A. Or HR department.                         9        A. I've never used that title. She
10        Q. The recitals in the first page, do       10   was the director of operations for JCS --
11   you see that?                                    11        Q. Okay.
12        A. Yes.                                     12        A. -- which incorporated all of JCS.
13        Q. The first paragraph, can you read        13        Q. And according to her testimony,
14   that for me?                                     14   she reported to you?
15        A. It is Confidentialilty -- oh, for        15        A. Correct.
16   the recitals?                                    16        Q. And Mrs. Colleen Ray, we've talked
17        Q. Yes, sir.                                17   about her, she was the state manager there for
18        A. Whereas, Employer shall collec-          18   Alabama, correct?
19   tively and individually mean CCS Intermediate    19        A. Correct.
20   Holdings, LLC, a Delaware LLC, and/or any of     20        Q. Is she still employed in the
21   its current or future affiliates, subsidia-      21   company --
22   ries, predecessor companies, parent or holding   22        A. She is not.
23   companies or related professional corporations   23        Q. -- in any capacity?
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Don Houston                                                                                              39
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 1            MR. FINCH: Make sure you wait            1        A. Yes.
 2   until he's done for Kerry's benefit.              2        Q. And that, again, is for you and
 3        Q. (BY MR. EVANS) When did she leave         3   shows the W-2s issued to you by CHC Companies,
 4   the employment of the company?                    4   Incorporated?
 5        A. I don't remember exactly. It was          5        A. Yes.
 6   late last year, in 2015.                          6        Q. And then the last page is 2015,
 7        Q. The press release said that JCS           7   W-2s to you, correct?
 8   was leaving the state in November of 2015.        8        A. Correct.
 9   Would it have been at that time?                  9        Q. And for some reason this one shows
10        A. Around about that time, yes.             10   the employer's name is Correctional Healthcare
11        Q. Do you know what she's doing now?        11   Companies. That's what we were talking about
12        A. I do not.                                12   as the confusion a little earlier.
13        Q. As far as Stanley Stevens, who is        13        A. Okay.
14   he? What's his --                                14        Q. Is that one and the same as CHC
15        A. Stan is over IT for JCS.                 15   Companies, Incorporated, as far as you know?
16        Q. And did he come in after Pelts?          16        A. As far as I know.
17        A. Yes.                                     17        Q. One of the things that might help,
18        Q. And where does he work physically?       18   looking at that, it's the same address here on
19        A. In Georgia.                              19   Murfreesboro in Nashville, isn't it?
20                                                    20        A. Which one?
21           (Plaintiff's Exhibit Number 316          21        Q. Well, the 2015, the one that
22   was marked for identification and copy of same   22   has --
23   is attached hereto).                             23        A. Oh, the same --
                                           Page 154                                               Page 156
 1                                                     1          MR. FINCH: He's comparing '15 to
 2         Q. (BY MR. EVANS) Mr. Houston, let          2   '14.
 3   me show you now what we've had marked as          3         A. Correct.
 4   Exhibit 316.                                      4         Q. (BY MR. EVANS) And when you look
 5         A. Okay.                                    5   at the employer ID number, if you compare it
 6         Q. Can you identify this for me?            6   back to the 2013 and 2014 employer ID number,
 7         A. This one I'm having a hard time          7   it, in fact, is the same, isn't it?
 8   reading. It's a W-2, but I can't tell who         8         A. It is.
 9   it's for. But the other pages are mine.           9         Q. So even though that name is
10         Q. They all have your name at the          10   spelled out as Correctional Healthcare
11   bottom on them --                                11   Companies, in your judgment it's one and the
12         A. Okay.                                   12   same entity as CHC Companies, Inc.?
13         Q. -- that's the way they were             13         A. Yes.
14   provided to us.                                  14
15         A. All right.                              15           (Plaintiff's Exhibit Number 317
16         Q. And they all show, like, the first      16   was marked for identification and copy of same
17   page is 2013, shows W-2s from CHC Companies,     17   is attached hereto).
18   Incorporated, is that correct?                   18
19         A. That's correct.                         19        Q. (BY MR. EVANS) Let me show you
20         Q. And the second page, we're looking      20   similar documents that we've had marked as
21   at 2014, I believe, W-2s, is that right?         21   Exhibit 317. And you see at the bottom this
22         A. I'm looking for the date, but --        22   is for Lisha Kidd?
23         Q. It's at the bottom.                     23        A. Yes.
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Don Houston                                                                                             40
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 1          Q. Do you know Ms. Kidd?                    1        A. It is a press announcement.
 2          A. I do not.                                2        Q. It's dated June the 13th, 2014?
 3          Q. You never had any contact with           3        A. Correct.
 4   her?                                               4        Q. Over the name of Mr. Boyle, Jerry
 5        A. Never.                                     5   Boyle, Chairman and Chief Executive Officer,
 6        Q. This shows that she was given W-2s         6   Correct Care Solutions?
 7   from CHC Companies, Inc., in 2013, doesn't it?     7        A. That's correct.
 8        A. It does.                                   8        Q. And it's written as an open letter
 9        Q. And in 2014 the same, correct?             9   to all of the employees of CCS, is that right?
10        A. Yes.                                      10        A. Correct.
11        Q. 2015, again for some reason the           11        Q. Did you see it at or about the
12   name is changed but the employer ID number is     12   time it was released, then?
13   the same, can you confirm that?                   13        A. I did.
14        A. Yes.                                      14        Q. He writes in the first paragraph,
15           MR. EVANS: We still haven't               15   quote, I am pleased to announce today that CCS
16   gotten the W-3 that you talked about. Are you     16   has signed a purchase agreement that will
17   going to try to get that for us?                  17   initiate a transaction that will merge its
18           MR. FINCH: Yeah. For --                   18   operations with Correctional Healthcare
19           MS. PARRISH: '15.                         19   Companies, a national provider of correctional
20           MR. FINCH: -- or '13 --                   20   healthcare solutions. CHC employees over
21           MR. EVANS: '15.                           21   2,500 healthcare professionals across
22           MS. PARRISH: '15.                         22   twenty-seven states and has provided inmate
23           MR. FINCH: Okay.                          23   healthcare services since 1992. I read that
                                            Page 158                                              Page 160
 1        Q. (BY MR. EVANS) Is Mr. Boyle                1   correctly, didn't I?
 2   actively involved in the business even those       2       A. You did.
 3   he's the board chairman?                           3       Q. And after that -- by the way, were
 4        A. Yes.                                       4   you aware of that transaction before it
 5        Q. Does he have an office there at            5   occurred?
 6   Murphreesboro?                                     6       A. Yes.
 7        A. He does.                                   7       Q. And were you aware of when it
 8        Q. And is that where Mr. Jorge                8   actually closed, when the transaction --
 9   Dominicis --                                       9       A. Yes.
10        A. Dominicis.                                10       Q. Okay.
11        Q. -- Dominicis, he's there at that          11
12   same address?                                     12           (Plaintiff's Exhibit Number 319
13        A. Yes.                                      13   was marked for identification and copy of same
14                                                     14   is attached hereto).
15           (Plaintiff's Exhibit Number 318           15
16   was marked for identification and copy of same    16        Q. (BY MR. EVANS) Let me show you --
17   is attached hereto).                              17   did you take part in the closing?
18                                                     18        A. No.
19       Q. (BY MR. EVANS) Let me show you             19        Q. Even though you were the president
20   what we've had marked as Exhibit 318. Do you      20   of CHC, you didn't have to attend the closing?
21   recognize that?                                   21        A. I didn't have to attend the
22       A. I've seen this, yes.                       22   closing.
23       Q. What is it?                                23        Q. You signed some documents on
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 1   behalf of CHC at the time?                        1   writes, quote, We do not intend to change
 2       A. I did have to sign some documents.         2   names in the foreseeable future as CHC will
 3       Q. A lot of documents?                        3   operate as a division of CCS. However, we
 4       A. A number of documents, yes.                4   will immediately begin referring to ourselves
 5       Q. Where were those signed? Was it            5   and doing business as Correct Care Solutions.
 6   done here, was it in Nashville, or was it --      6   I read that correctly, didn't I?
 7       A. It was done -- I think I signed            7        A. You did.
 8   mine in Denver.                                   8        Q. And that's the way you proceeded
 9       Q. Who would have copies of those             9   after that point, wasn't it?
10   documents?                                       10        A. Correct.
11       A. I guess David Perry would.                11        Q. The last paragraph -- next to last
12       Q. We've not been provided those, and        12   paragraph, quote, As we work to integrate the
13   we've asked for those, but Mr. Perry would       13   two companies, we will keep you updated. I am
14   have them as far as you know?                    14   committed to bringing the best of CHC and
15       A. I would -- the secretary of the           15   CCS's capabilities into our combined company,
16   corporation would have them, I would think.      16   end quote. And that references today, July
17       Q. And who is that?                          17   23rd, 2014, as the date of the formal merger.
18       A. That's --                                 18   Does that comport with your memory? Is that
19       Q. Mr. Perry?                                19   when you think it happened?
20       A. -- Mr. Perry.                             20           MR. FINCH: Object to form.
21       Q. Let me show you Exhibit 319.              21        A. Yes.
22           MR. EVANS: By the way, Lane, is          22        Q. (BY MR. EVANS) Who else on behalf
23   there any reason we can't get those documents?   23   of CHC would have participated in the formal
                                           Page 162                                             Page 164
 1           MR. FINCH: I don't know off the           1   merger documents other than you?
 2   top of my head one way or the other.              2        A. Dirk Allison --
 3           MR. EVANS: Well, how about                3        Q. And what position would he have
 4   finding out about it because we've been asking    4   had?
 5   for them for a long time.                         5        A. The CEO.
 6        Q. (BY MR. EVANS) And Exhibit 319,           6        Q. Still at that time?
 7   can you tell me what this is?                     7        A. At that time. Dale Wolf, who was
 8        A. Yes, it's a letter from Jorge             8   the chairman at that time. Probably Brad
 9   Dominicis to Ms. Lucy Sheftall?                   9   Bickman, who was the chief legal officer at
10        Q. Difficult name. He writes -- and         10   that time. Bruce McDaniel, who was the CFO.
11   the date of the letter is what?                  11        Q. At that time?
12        A. July 23rd, 2014.                         12        A. At that time.
13        Q. Do you recognize Mr. Dominicis'          13        Q. And on behalf of CCS, do you know
14   signature?                                       14   who would have participated?
15        A. I do.                                    15        A. Not -- no.
16        Q. He writes, quote, Today, Correc-         16        Q. Was this closing done in a formal
17   tional Healthcare Companies has formally         17   fashion with a group gathering, or you signed
18   merged with Correct Care Solutions, LLC.         18   separate documents at separate times?
19   Since its inception, CCS has developed a         19        A. I signed documents separately.
20   reputation for providing the highest quality     20   I'm sure others signed them together.
21   healthcare services available in the             21        Q. At that point you would have still
22   correctional setting. And then he goes down      22   been in Colorado, correct?
23   into the second paragraph, second sentence, he   23        A. Correct.
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 1        Q. After the merger of CHC and CCS,          1        A. Correct.
 2   did the employees of CHC become employees of      2        Q. Other than I know Ms. Lloyd
 3   CCS?                                              3   wasn't, per se, an Alabama employee for JCS,
 4           MR. FINCH: Object to form.                4   but she did have some operational supervision
 5        Q. (BY MR. EVANS) You can answer.            5   there according to her --
 6        A. I know they were -- they were paid        6        A. Correct, she did.
 7   by CCS, but they still referred to themselves     7        Q. -- other than her, is there
 8   as CHC employees.                                 8   anybody else that previously was in the
 9        Q. After the merger between CCS and          9   Alabama operation for JCS that is still
10   CHC, did CCS direct and control the human        10   employed in the overall CCS, LLC?
11   resource policy for the prior CHC folks?         11        A. I don't think so. Stan Stevens, I
12           MR. FINCH: Object to form.               12   guess.
13        A. Not right away.                          13        Q. His assignment was really broader
14        Q. (BY MR. EVANS) Over a period of          14   than just Alabama, though, wasn't it?
15   time?                                            15        A. It was.
16        A. Over a period of time, yes.              16        Q. And actually he was located in
17        Q. That was the goal --                     17   Georgia, correct?
18        A. Yes.                                     18        A. That's correct.
19        Q. -- and the intention of the              19        Q. I asked you a little bit about
20   merger?                                          20   this earlier, and I don't want to rehash it,
21        A. Yes.                                     21   but during the time JCS was operating in
22        Q. And, again, when that transaction        22   Alabama, were you aware of the employment of
23   occurred, though we've not been provided those   23   any lobbyists there?
                                           Page 166                                               Page 168
 1   documents, I assume there were some indemnity     1        A. No.
 2   provisions in the agreement on the purchase?      2        Q. Did you know you did employ
 3        A. Yes.                                      3   lobbyists, or you just didn't know one way or
 4        Q. Are you familiar with what those          4   the other?
 5   were?                                             5        A. No, we did not have any that I'm
 6        A. No.                                       6   aware of.
 7        Q. The assets of CHC Companies, Inc.,        7        Q. Okay. Have you ever heard the
 8   were they, in that transaction, transferred       8   name Susan Fuqua or Brad Bishop?
 9   over to CCS?                                      9        A. I've heard the name.
10            MR. FINCH: Object to form.              10        Q. Do you remember in what context?
11        A. I couldn't answer that.                  11        A. (Pause).
12        Q. (BY MR. EVANS) The document would        12        Q. Maybe I didn't hear you,
13   tell us that?                                    13   Alexandria says I didn't. Did you tell us in
14        A. Yes, it would.                           14   what context that you've heard those names?
15        Q. And as far as any insurance              15        A. No, I've just heard the names.
16   provisions providing indemnity to CCS, that      16        Q. You don't have any idea of why?
17   would be something we would get out of the       17        A. No.
18   document?                                        18
19        A. That would be in the document.           19           (Plaintiff's Exhibit Number 320
20        Q. And as far as the assumption of          20   was marked for identification and copy of same
21   liabilities of CHC Companies, Inc., in that      21   is attached hereto).
22   transaction, that would be something we would    22
23   have to look to that document for?               23       Q. (BY MR. EVANS) Let me show you
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 1   what we've had marked as Exhibit 320.             1       A. I don't.
 2        A. (Examining document). Okay.               2       Q. You don't know?
 3        Q. You're copied on some of these --         3       A. I don't know.
 4   I guess most all of these emails. Do you          4
 5   remember this email chain?                        5           (Plaintiff's Exhibit Number 321
 6        A. I really don't. I remember some           6   was marked for identification and copy of same
 7   of it, yes.                                       7   is attached hereto).
 8        Q. Am I correct, sir, that this is an        8
 9   email chain that took place back in February      9         Q. (BY MR. EVANS) I asked you a
10   of 2014?                                         10   little bit earlier about Brad Bishop as one of
11        A. You're correct.                          11   the other names --
12        Q. And it looks like y'all were             12         A. Uh-huh (Nodding head).
13   trying to review your costs there in Alabama,    13         Q. -- and you told me you had heard
14   is that right?                                   14   his name too, but weren't certain of the
15        A. I don't think it's just Alabama.         15   context, correct?
16        Q. After reviewing these emails here        16         A. Yes.
17   today in Exhibit 320, does that refresh your     17         Q. Let me show you a document that
18   recollection that you did, in fact, have paid    18   may help you remember. Exhibit 321, I'll show
19   lobbyists there in Alabama?                      19   that to you.
20        A. It says so here, but I sure don't        20         A. (Examining document). Okay.
21   remember anyone functioning as a lobbyist in     21         Q. Do you recognize this as an email
22   Alabama.                                         22   from Colleen Ray to you September 11th, 2015?
23        Q. In fact, Mr. Buss writes you on          23         A. I do.
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 1   February the 7th, 2014, or copies you, rather,    1         Q. Do you remember getting this?
 2   I checked below and Susan Suqua, he misspelled    2         A. I do.
 3   her name, is our Alabama lobbyist who is clerk    3         Q. What do you remember about it?
 4   of court. That's what he wrote, correct?          4         A. This is when the decision was
 5         A. Yes.                                     5   being made to shut down Alabama, and Colleen
 6         Q. And then when we go to the next          6   was trying to convince me to retain certain
 7   chain, a couple of chains up, Mr. Herndon         7   courts.
 8   writes, again copies to you, we have a few        8         Q. Right. The last paragraph, she
 9   contractors that we pay on a regular monthly      9   writes, the second sentence, quote, As you
10   basis. That's what he writes, correct?           10   know Susan Fuqua and Judge Bishop are working
11         A. That's what she writes, yes.            11   still on getting the policies and procedures
12         Q. I'm sorry. In one of those the          12   through the next legislative bill and if we
13   first one on the list is Susan Fuqua, right?     13   could hold on to some of the ones we have now
14         A. Yes.                                    14   until the bill gets passed I know we could get
15         Q. And the amount that she's paid          15   some of the courts back that we've lost, end
16   each month is blanked out. Do you know who       16   quote. I've read that correctly, haven't I?
17   would know that amount?                          17         A. You did read that correctly.
18         A. Probably someone in finance.            18         Q. And she says, As you know, Susan
19         Q. CCS Finance?                            19   Fuqua and Judge Bishop are working on it.
20         A. Yes.                                    20   Were you aware of that or just don't remember
21         Q. Do you know whether Ms. Fuqua is        21   it now?
22   still employed by CCS or anybody in the          22         A. I don't remember what exactly they
23   organization?                                    23   were working on. I know some things that
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 1   Colleen and I had talked about --                 1   behalf to try to convince you to stay in
 2        Q. What were those?                          2   Alabama, let things get better?
 3        A. -- and I think that's what she was        3        A. Yes.
 4   referencing. The fact that I would like to        4        Q. What did you do, if anything, in
 5   see some legislation promulgated in the state     5   response to this? Do you remember?
 6   that would clarify some issues and make it        6        A. Just continued with the shutting
 7   easier to operate.                                7   down of Alabama.
 8        Q. Easier for a private probation            8        Q. In this document she writes a
 9   company to operate?                               9   suggestion that the collection format of JCS
10        A. Just in general. If you're going         10   be switched to a thirty percent contingency of
11   to -- I like rules, I like a structure, and so   11   collections, do you see that, the second
12   I was hoping that Alabama would pass rules       12   paragraph?
13   that were more structured, a more formalized     13        A. The second paragraph?
14   process.                                         14        Q. Second paragraph, this morning I
15        Q. Did you have any contact directly        15   received a phone call from Jan Davis --
16   with Judge Bishop?                               16        A. Okay.
17        A. I wouldn't know him if he walked         17        Q. -- asking me, et cetera.
18   in the room.                                     18        A. Now repeat your question.
19        Q. Or Susan Fuqua?                          19        Q. Yes, sir. Is she referencing a
20        A. No.                                      20   suggested thirty percent collection
21        Q. Do you know whether or not you           21   contingency rather than the current format?
22   were paying Judge Bishop as Susan Fuqua was      22           MR. FINCH: Object to form.
23   being paid?                                      23        A. I don't read it that way.
                                          Page 174                                               Page 176
 1        A. Not that I'm aware of.                    1        Q. (BY MR. EVANS) You do not?
 2        Q. And who would know that, somebody         2        A. I read it that she is telling us
 3   in accounting?                                    3   that someone else is suggesting that.
 4        A. Yes.                                      4        Q. I see. And in the third paragraph
 5                                                     5   she writes, quote, I know by talking with
 6           (Plaintiff's Exhibit Number 322           6   Susan Fuqua and Judge Bishop that this is
 7   was marked for identification and copy of same    7   something that is in the law that
 8   is attached hereto).                              8   municipalities can call (sic) so called
 9                                                     9   "collection agency." In the past this was
10        Q. (BY MR. EVANS) Let me show you           10   one of the reasons that the City of Montgomery
11   what we've had marked as Exhibit 302 -- I'm      11   left PPS and went with JCS because it would
12   sorry, I gave you the wrong number. 322.         12   not cost the City. I've read that correctly,
13        A. (Examining document). Okay.              13   haven't I?
14        Q. Okay, have you had an opportunity        14           MR. FINCH: No. Object to form.
15   to see that?                                     15           MR. EVANS: Where is it incorrect?
16        A. Yes.                                     16           MR. FINCH: You misread after
17        Q. This is, again, a lengthy email to       17   municipalities, but it says what it says.
18   you back on October the 2nd, 2015, isn't it?     18        Q. (BY MR. EVANS) Did you have any
19        A. It is.                                   19   contact with Susan Fuqua or Judge Bishop about
20        Q. And it's from Colleen Ray                20   this --
21   referencing other revenue options for Alabama?   21        A. I've never had contact with
22        A. Yes.                                     22   either.
23        Q. Is this a continuing effort on her       23        Q. She suggests in paragraph number
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 1   four is it a possibility that CCS would let me     1   of CHC Companies, Inc., right, January of
 2   do the same thing by sending letters to the        2   2015?
 3   court and suggesting twenty percent of             3        A. I would be the president of State
 4   everything collected and get away from the JCS     4   and Federal.
 5   name and have it fall under CCS. Did you           5        Q. The division that encompassed
 6   respond to that in any way?                        6   that?
 7       A. Yes, and the answer was no.                 7        A. Correct.
 8       Q. Other than the ones I've shown              8        Q. And if any documents were to be
 9   you, have you had any other context that           9   signed during that time on behalf of CHC
10   you're aware of at all with Susan Fuqua and       10   Companies, Inc., you would have been the
11   Brad Bishop?                                      11   person to sign them?
12            MR. FINCH: Object to form.               12            MR. FINCH: Object to the form.
13       A. No, I have not.                            13        A. Not necessarily.
14                                                     14        Q. (BY MR. EVANS) Who else?
15           (Plaintiff's Exhibit Number 323           15        A. It could have been a board member.
16   was marked for identification and copy of same    16   It could have been the CEO.
17   is attached hereto).                              17        Q. Meaning Mr. Dominicis?
18                                                     18        A. Yes, or Dominicis.
19       Q. (BY MR. EVANS) Mr. Houston, let            19        Q. Dominicis. I thought sure I would
20   me show you what we've marked as Exhibit 323.     20   get it right that time.
21   This was produced not by you directly, but        21            Part of this document -- do you
22   through JCS.                                      22   remember reading through it or any part of it?
23       A. (Examining document). Okay.                23        A. No, I remember the discussion
                                            Page 178                                              Page 180
 1        Q. Have you had an opportunity to             1   about it.
 2   look at it?                                        2        Q. It shows, for instance, that --
 3        A. I have.                                    3   well, let me ask you this.
 4        Q. Have you seen that document                4            Is this a common document among
 5   before?                                            5   the various entities there under the CCS
 6        A. I think I -- yes.                          6   umbrella?
 7        Q. What do you recall about it? What          7            MR. FINCH: Object to form.
 8   was the function or the purpose of it?             8        A. I don't know that it's a common
 9        A. The intent was to have a                   9   document, no.
10   management services agreement between CCS and     10        Q. (BY MR. EVANS) Are there a number
11   CHC to formalize the back office work that was    11   of them?
12   going to be provided.                             12            MR. FINCH: Same objection.
13        Q. The administrative office?                13        A. There are documents. I don't know
14        A. Yes.                                      14   if they're like this one.
15        Q. This is dated in January of 2015,         15        Q. (BY MR. EVANS) Okay. Well, are
16   and we don't have an executed copy of it, it's    16   there management service agreements?
17   just -- but it's an agreement between             17        A. Yes, there are management service
18   Correctional Healthcare Companies, Inc., and      18   agreements.
19   Correct Care Solutions, LLC. Is that the way      19        Q. And is it typical for them to have
20   you understand the document?                      20   terms such as h. on page three of this
21        A. It's what the document reads.             21   document?
22        Q. Sure. And at that point in time           22            MR. FINCH: Same objection.
23   you would have been, of course, the president     23        A. (Examining document).
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 1        Q. (BY MR. EVANS) Paragraph 3.h.              1   testified earlier that you had spent some time
 2        A. Okay, I couldn't answer that.              2   in the military. How many years of service
 3        Q. How about paragraph 3.l.,                  3   did you have?
 4   Financial Statements and Budgets, quote, CCS       4        A. Seven active duty, ten in the
 5   shall prepare monthly and annual financial         5   Reserves.
 6   statements concerning a balance sheet and the      6        Q. Okay, and what was the highest
 7   money -- for the income and statement of           7   rank you achieved in the Reserves?
 8   income for CHC. Is that usually part of it?        8        A. Lieutenant commander.
 9            MR. FINCH: Object to form.                9        Q. (Indicating).
10        A. I don't know what would be in             10        A. Lieutenant commander.
11   there.                                            11        Q. So you were in the Navy?
12        Q. (BY MR. EVANS) Who would know             12        A. Army active duty, Navy Reserves.
13   those kinds of answers?                           13        Q. I see. Did you have any overseas
14            MR. FINCH: Object to form.               14   duty?
15        A. I would think that Mr. Perry              15        A. I did.
16   would.                                            16        Q. Where?
17        Q. (BY MR. EVANS) Mr. Perry. And as          17        A. Berlin, Germany. West Germany at
18   we look at page -- the next page, paragraph       18   the time.
19   5.d., it shows that at least in this document     19        Q. Yes, sir, West Germany at the
20   any notice to CHC would go to the legal           20   time, of course. And did you receive any
21   department at Murfreesboro, is that right?        21   awards for valor?
22        A. Correct.                                  22        A. I did.
23        Q. And, similarly, any notice to CCS         23        Q. What was that award?
                                            Page 182                                              Page 184
 1   would go to the legal department at                1        A. Joint service commendation medal.
 2   Murfreesboro, correct?                             2        Q. Well, when I say awards for valor,
 3       A. Correct, that's what it says.               3   I'm talking about the Distinguished Service
 4           MR. EVANS: I don't want to slow            4   Cross --
 5   us up, so -- we've got some other documents to     5        A. No, no.
 6   go through, but we can pass the witness so you     6        Q. -- Bronze Star, Silver Star --
 7   can be asked some other questions. I think         7        A. No.
 8   Mr. Tankersley --                                  8        Q. -- Medal of Honor, all of that.
 9           MR. TANKERSLEY: Sure.                      9        A. None of that.
10           MR. EVANS: Will Hill, do you              10        Q So you received a Commendation
11   mind if we take just a very short break?          11   Medal when you
12           MR. FINCH: That's fine. That              12        A. Yeah, I did, several of those.
13   would be good.                                    13        Q. All right, sir. I know your
14           MR. TANKERSLEY: Sure.                     14   lawyer and our able court reporter here have
15           (Recess from 1:25 P.M. until              15   all cautioned you about this, but this
16           1:35 P.M.)                                16   interaction that we have, it's important that
17                                                     17   we not talk over each other. So even though
18   EXAMINATION BY MR. TANKERSLEY:                    18   you know what question I'm going to ask and
19        Q. All right, Mr. Houston, I'm Will          19   you know what your answer is going to be, I
20   Hill Tankersley, I represent the City of          20   would just respectfully request that you wait
21   Childersburg, Alabama, and I've got a few         21   until I finish my question before you begin
22   questions I need to ask you filling in some of    22   your answer, okay?
23   the gaps from your prior testimony. You           23        A. Yes, sir.
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 1         Q. All right, sir, thank you. All-          1             MR. FINCH: Object to form.
 2   righty, and when was your last year of service    2         A. Yes.
 3   in the Reserves?                                  3         Q. (BY MR. TANKERSLEY) Okay, and
 4         A. 1993.                                    4   remind us what your testimony was about that.
 5         Q. All right, sir, I want to                5   As of today, who serves on the CHC board?
 6   understand a little -- I must tell you I'm a      6         A. There are three members that are
 7   little confused about the companies that you      7   the same, which is Jorge Dominicis, David
 8   work for that have the words correctional and     8   Perry, and Cary McClure, I believe.
 9   health in them because a lot of these things      9         Q. And Mr. Perry is the lawyer for
10   sound alike and some of the names are similar,   10   the company, is that correct?
11   so let me just make sure I have it right at      11         A. Correct.
12   this time. Presently you serve as the chief      12         Q. All right, sir. Now, and as of
13   executive officer of the CCS State and Federal   13   today JCS is a part of CHC, is that correct?
14   Division, is that correct?                       14         A. That's correct.
15         A. No, sir.                                15         Q. All right. And as of today what
16         Q. Tell me exactly what your duties        16   title, if any, do you hold with JCS?
17   -- your title is as of today.                    17         A. I do not hold a title with JCS.
18         A. I'm the Division president for          18         Q. Now, Mr. Houston, you testified
19   State and Federal for CCS.                       19   earlier that you had been called upon to
20         Q. And you recall you came up under        20   attend board meetings from time to time; do
21   questioning from plaintiff's counsel and drew    21   you recall your testimony about that?
22   a circle around those entities that you          22         A. Yes.
23   believe were still characterized as CHC          23         Q. Which board meetings have you been
                                          Page 186                                               Page 188
 1   entities; do you recall having done that?         1   called upon to attend, the CHC board meetings,
 2            MR. FINCH: Object to form.               2   the CCS board meetings, or both?
 3        A. I do.                                     3        A. At what time?
 4        Q. (BY MR. TANKERSLEY) All right,            4        Q. Well, we're going to say at any
 5   sir, did I get something wrong about what I       5   time after September 30th, 2011, and the
 6   characterized you as having done? What did        6   reason why I'm picking that date is because
 7   you understand yourself to be doing when you      7   that's the date of the merger with JCS. So
 8   drew circles around these entities?               8   from that date forward which board meetings
 9        A. Of the entities that were under           9   have you appeared in?
10   Private Prisons which ones were CHC.             10        A. There have been a number of --
11        Q. All right. Does CHC still exist          11   once I became the chief operating officer, I
12   today as a part of the division over which you   12   attended a number of CHC board meetings.
13   are president?                                   13        Q. What was your role in these CHC
14        A. Yes.                                     14   board meetings that you attended as the chief
15            MR. FINCH: Object to the form.          15   operating officer?
16        Q. (BY MR. TANKERSLEY) Okay. Does           16        A. To report on the operations, what
17   it exist as a separately incorporated entity?    17   was going on operationally.
18        A. I know it still is a -- an entity        18        Q. That included, when you say the
19   that contracts and can sign contracts.           19   operations, I take it that included how well
20        Q. And I believe you testified              20   that JCS was doing financially?
21   earlier there was some overlap with the CHC      21        A. That was usually -- the CFO would
22   board and some other boards, isn't that          22   do that.
23   correct?                                         23        Q. What sort of things would you tell
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 1   the board about as to JCS when you appeared       1   we did not -- I did not ask for permission.
 2   before the boards from 2011 -- correction,        2       Q. What's your understanding about
 3   from September 30th, 2011, to present?            3   how it is the board that presided over the
 4           MR. FINCH: Object to form.                4   operations of the company that housed JCS was
 5        A. Very little.                              5   made aware of the decision to cease JCS
 6        Q. (BY MR. TANKERSLEY) Okay, sir.            6   operations in Alabama?
 7   Well, you testified just a minute ago that you    7       A. I couldn't tell you. It may have
 8   would testify about operations. Tell me what      8   been a report from the CEO to them. I did not
 9   you meant when you said that.                     9   make a report to the board.
10        A. I'm talking about the health care        10       Q. I see. To whom did you report
11   operations of CHC or CCS is what I would         11   your decision to close down JCS operations in
12   report on.                                       12   Alabama?
13        Q. Is it your testimony here today          13       A. To Mr. Dominicis.
14   that you never made any reports about the        14       Q. Is that in the form of a written
15   operations of JCS before the CHC board or the    15   report?
16   CCS board from September 30th, 2011, to          16       A. No.
17   present?                                         17       Q. Say again. I didn't --
18        A. I don't know that I ever made it         18       A. No, it was not in the form of a
19   to the board.                                    19   written report.
20        Q. All right. Sir, at a certain             20       Q. How was that decision conveyed to
21   point in time JCS's operations in Alabama were   21   Mr. Dominicis?
22   ceased, isn't that correct?                      22       A. He and I meet on a weekly basis.
23        A. That's correct.                          23   It was during one of our weekly meetings.
                                           Page 190                                              Page 192
 1        Q. And was that decision presented or        1         Q. The weekly meetings you had with
 2   proposed to the board?                            2   Mr. Dominicis, were these in-person meetings?
 3        A. No.                                       3         A. They are.
 4        Q. Walk me through how that decision         4         Q. Was it just you and Mr. Dominicis
 5   was made.                                         5   or --
 6        A. That decision was made primarily          6         A. It was --
 7   by myself in consultation with members of the     7         Q. -- were other people present?
 8   JCS management team, which at that time was       8            MR. FINCH: Slow down.
 9   Karen Lloyd, Colleen Ray. I did talk with         9         A. Just the two of us.
10   legal to talk about how we could close down --   10         Q. (BY MR. TANKERSLEY) Where does
11   if we decided to move forward, what would we     11   that meeting take place?
12   do about leases and how we would cancel leases   12         A. Different places.
13   and what that would entail.                      13         Q. Where does it typically take
14           I did talk to someone in finance         14   place?
15   to see with the financial costs would be for     15         A. His office or my office.
16   closure. I did talk to HR about how we would     16         Q. What did you tell Mr. Dominicis as
17   handle employees, pay out PTO and those types    17   to the reason why you had decided to shut down
18   of things and what those costs would be.         18   JCS operations in Alabama?
19        Q. So it's your testimony that the          19         A. There were a number of reasons.
20   board was not made aware of this decision to     20   One was that the business was contracting,
21   shut down JCS operations?                        21   that I did not see what I had hoped to see in
22        A. They may have been made aware.           22   Alabama with some legislation passed that
23   They were not consulted, and they did not --     23   would create a more structured environment for
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 1   private probation. And when I saw that that       1        Q. Where did the draft legislation
 2   didn't happen, was not going to happen in the     2   come from?
 3   near future, it just didn't make sense for us     3        A. I don't know, but it's not -- I
 4   to be there. It is not part of our core           4   never felt that he was doing it on his own.
 5   business, it's not what we do, and it's just      5        Q. All right. Tell me about -- you
 6   too problematic.                                  6   said that Mr. Egan briefed you on this draft
 7        Q. When you say you wished there             7   legislation. Tell me what he told you about
 8   could be some legislation passed in Alabama       8   the draft legislation.
 9   that would, as you put it, clarify JCS-type       9        A. Just that he was trying to get
10   operations in Alabama, what do you mean by       10   legislation passed that would make the -- the
11   that?                                            11   business of the business in the state more
12        A. Enabling legislation which lays          12   formalized.
13   out a structure for how you operate the          13        Q. Did Mr. Egan share with you how he
14   business, an entity that has supervision or      14   was planning to accomplish that?
15   oversight over whatever entities are             15        A. No.
16   participating in that business an accrediting    16        Q. Did Mr. Egan have the responsi-
17   body that would accredit the work that you do.   17   bility to hire or fire lobbyists or government
18   Just a laundry list of things that I would       18   relations consultants?
19   like to have seen.                               19        A. Not that I was aware of, no.
20        Q. You're aware, are you not, Mr.           20        Q. All right, who had that power at
21   Houston, that there was some draft legislation   21   the time in your company?
22   considered by the Alabama legislature?           22            MR. FINCH: Object to form.
23        A. I was aware of that.                     23        Q. (BY MR. TANKERSLEY) If you know.
                                           Page 194                                              Page 196
 1         Q. And did you see that legislation         1         A. It could have been any of the
 2   in advance of it being presented to the           2   leaders of JCS at the time. It could have
 3   legislature?                                      3   been Robert McMichael. It could have been
 4         A. I had it briefed to me by Kevin          4   Jarrett Gorlin. It could have been Dennis
 5   Egan.                                             5   Moon. It could have been Karen Lloyd.
 6         Q. What role -- or who is Kevin             6         Q. Did they not have to get such
 7   Egan?                                             7   expenses approved in advance of incurring them
 8         A. Kevin Egan worked for JCS.               8   by you or somebody else?
 9         Q. Egan is E-g-a-n?                         9         A. Not if it was within their budget.
10         A. E-g-a-n.                                10         Q. What budget are you talking about?
11         Q. Yes, sir. And what was Mr. Egan's       11         A. The budget that they promulgated.
12   title at JCS, if you remember?                   12         Q. Was there a line item that allowed
13         A. I don't remember what his title         13   them to hire whatever lobbyists they wanted to
14   was.                                             14   hire?
15         Q. What were Mr. Egan's job responsi-      15         A. No.
16   bilities at JCS?                                 16         Q. Well, again, how did the -- you've
17         A. Business development, and he was        17   seen the documents that plaintiff's counsel
18   one of the owners of the company. He had some    18   showed you about -- with the blacked-out
19   shares in JCS.                                   19   number about what Ms. Fuqua was being paid.
20         Q. Is it your understanding that Mr.       20   How was that number approved?
21   Egan came up with this draft legislation on      21           MR. FINCH: Object to form.
22   his own?                                         22         A. I don't know what the number is.
23         A. No.                                     23   If it was --
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 1        Q. (BY MR. TANKERSLEY) Well, we              1        A. No.
 2   don't either. What's your understanding about     2        Q. I just want to be sure I got this
 3   how it is such a number would be approved in      3   right because I don't really think I captured
 4   the ordinary course of business at CHC when       4   it when you were testifying about it earlier.
 5   you were overseeing the operations of JCS?        5   Did you make presentations to both the CCS
 6            MR. FINCH: Object to form.               6   board and also the CHC board? Is that
 7        A. In general --                             7   correct?
 8        Q. (BY MR. TANKERSLEY) Yes.                  8        A. Yes, I have.
 9        A. -- there is a -- based on your            9        Q. And sometimes, as I understand it,
10   role in the company, your title, so to speak,    10   those boards met at the same time, is that
11   you have certain things, certain spending        11   right?
12   limits that you're allowed to approve            12        A. They used to.
13   yourself. If it's above that, it goes to the     13        Q. Okay.
14   next person in your organization. So it's a      14        A. Not anymore. Now it's one -- one
15   matrix, an approval matrix.                      15   board.
16        Q. What line item would hiring              16        Q. Okay. Now they don't meet at the
17   lobbyists fit under? In other words, what        17   same time because there is no CHC board, is
18   would you call that in your budget?              18   that right?
19        A. You wouldn't. There's not a line         19        A. There's a board, but the board
20   item for a lobbyist.                             20   doesn't meet as a CHC board anymore. They
21        Q. Okay. Well, if you wanted to know        21   can. The board still exists.
22   how much Ms. Lloyd or anybody else was           22        Q. But the only board that meets
23   spending on lobbyists in Alabama, how would      23   presently is the CCS board?
                                           Page 198                                             Page 200
 1   you go about finding out about that?              1        A. Correct.
 2           MR. FINCH: Object to form.                2        Q. And when did that happen, that the
 3        A. I would ask them if they have any         3   CHC board ceased to meet and the CCS board had
 4   -- you know, if I was looking to see if there     4   all of the board meetings?
 5   are lobbyists -- we don't hire lobbyists.         5        A. Soon after --
 6        Q. (BY MR. TANKERSLEY) Who is we?            6            MR. FINCH: Object to form.
 7        A. CHC, CCS, we rarely if ever hire          7        A. I'm sorry.
 8   lobbyists.                                        8        Q. (BY MR. TANKERSLEY) Sir?
 9        Q. Why is that?                              9        A. Soon after the transaction.
10        A. For what specific reason would you       10        Q. What transaction is that?
11   need them?                                       11        A. The transaction between CCS and
12        Q. Mr. Houston, do you have a written       12   CHC.
13   job description?                                 13        Q. All right, and remind us of what
14        A. I don't know. It's kind of as it         14   the date of that was?
15   -- whatever my boss wants me to do is my job     15        A. Mid 2014.
16   description.                                     16        Q. Okay. All right, I take it that
17        Q. Do you have a time at one or more        17   board minutes were kept prior to mid 2014 of
18   times during the year where you meet with your   18   the CHC --
19   leadership and they tell you how you're doing?   19        A. Yes.
20        A. They tell me every day how I'm           20        Q. -- board meetings?
21   doing.                                           21        A. Board meetings were kept.
22        Q. But you don't have a formal review       22        Q. And who was the secretary
23   process?                                         23   responsible for keeping those board minutes of
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 1   the CHC entities prior to mid 2014?               1   JCS integration in October of 2011?
 2        A. It would have been Brad Bickman.          2        A. I'm just referring to your
 3        Q. And who was responsible for               3   sentence there to Bruce --
 4   keeping the board minutes of CCS?                 4        Q. Yes, sir.
 5        A. It would have been Lori Boulware          5        A. -- knowing what Bruce did, what
 6   and now David Perry.                              6   this probably meant for Bruce.
 7        Q. Both lawyers for the company, is          7        Q. I see, because Bruce had an
 8   that --                                           8   accounting function, is that right?
 9        A. Yes.                                      9        A. He was the CFO of the company.
10        Q. Thank you, sir. Do you remember          10        Q. All right. And because of that,
11   being asked about Exhibit Number 290, which      11   you believe that Bruce would have focused his
12   should be at the bottom of the stack that's in   12   actions on the financial operations, is that
13   front of you?                                    13   correct?
14        A. Yes.                                     14        A. Absolutely.
15        Q. Sir, this is the exhibit that is         15        Q. All right. Sir, going to Exhibit
16   an email chain dated on or about October 13th    16   291, thank you, sir, this is an email, again
17   of 2011. If you look below that redaction in     17   heavily redacted, dated December 7, 2011, from
18   the center of the page it says, Bruce, being     18   you to Mr. Goetz, right?
19   Bruce McDaniel, will lead the charge on the      19            MR. FINCH: Object to form.
20   JCS integration that we will kick off soon.      20        A. Yes.
21   Did I read that correctly?                       21        Q. (BY MR. TANKERSLEY) And Mr. Goetz
22        A. You read that correctly.                 22   at this time was your boss?
23        Q. All right, sir. What did you             23        A. Yes.
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 1   understand the JCS integration to be comprised    1        Q. And when you say in the first
 2   of?                                               2   bullet point begin the integration of JCS and
 3        A. At this time --                           3   complete the integration of Judicial Services,
 4        Q. Yes, sir.                                 4   do you see that?
 5        A. -- which is in 2011, that would           5        A. Of Justice Services.
 6   have been the integration of finance.             6        Q. I'm sorry, Justice Services, yes,
 7        Q. When you say integration of               7   sir.
 8   finance, what do you mean?                        8        A. Yes, I do.
 9        A. AP and AR.                                9        Q. Remind me of what Justice Services
10        Q. Okay, well, accounts payable and         10   was?
11   accounts receivable?                             11        A. Justice Services is another
12        A. Yes.                                     12   company that's in Phoenix, Arizona.
13        Q. So are you talking about from a          13        Q. What is it that Justice Services
14   reporting perspective? What exactly do you       14   does?
15   mean when you say AP and AR?                     15        A. Outpatient behavioral services.
16        A. Putting the two companies on the         16        Q. So you're really talking about two
17   same financial reporting system.                 17   totally separate things here, the integration
18        Q. Oh, I see. So recognizing income         18   of JCS and the integration of Justice
19   the same way in both companies, is that right?   19   Services, is that right?
20        A. Well, or using the same software         20        A. That's correct.
21   programs.                                        21        Q. You're not talking about making
22        Q. All right. Anything other than           22   Justice Services part of JCS or vice versa?
23   that that was, in your view, included in this    23        A. No.
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 1        Q. When you say in this email I want         1   from Mr. Goetz to you and others.
 2   to make sure JCS truly becomes part of CHC,       2          MR. FINCH: Which page are you on?
 3   especially from an operational and financial      3          MR. TANKERSLEY: I'm on Bates
 4   perspective, what exactly did you mean by         4   stamp page 626.
 5   that?                                             5       A. Okay.
 6        A. Well, it speaks for itself. I             6       Q. (BY MR. TANKERSLEY) This is the
 7   wanted to have the same reporting so that if I    7   email dated December 27th of 2011 from Mr.
 8   got a report from JCS it looked like a report     8   Goetz to you and others. In this email
 9   that I received from another entity, their        9   message from Mr. Goetz he says towards the
10   financial reporting looked the same as           10   bottom of the first paragraph, We are about to
11   financial reporting of someone else so that      11   break covenants. Do you see that language?
12   you can compare and contrast performance.        12       A. Yes.
13        Q. Yes, sir, that would be the format       13       Q. What did you understand that to
14   of financial reporting, is that correct?         14   mean when you read it back in December 27 --
15        A. Yes.                                     15   on December 27 of '11?
16        Q. Well, again, with respect to the         16       A. Those are financial bank
17   operational part of this, what did you mean      17   covenants.
18   when you wanted JCS to become part of -- truly   18       Q. Loan covenants?
19   become part of JCS from an operational           19       A. Uh-huh (Nodding head).
20   perspective?                                     20       Q. You've got to verbalize your
21        A. In 2011 JCS did not report to me.        21   response.
22   I was getting information second and third and   22          MR. FINCH: Say yes or no.
23   fourthhand, and I wanted to -- and this is       23       A. Yes.
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 1   just me wanting to get the information coming     1        Q. (BY MR. TANKERSLEY) So you're
 2   directly to me in the same format I was           2   about to go into greater depth than your bank
 3   getting it from other companies.                  3   covenants allowed, is that correct?
 4        Q. What experience, if any, had you          4        A. That was my understanding at the
 5   had with managing a private probation company     5   time.
 6   as of this time?                                  6        Q. All right, and what caused the
 7        A. Zero.                                     7   company to go into greater debt than your bank
 8        Q. When did you become the co-chief          8   covenants allowed?
 9   operating officer of JCS?                         9        A. I don't remember.
10        A. I'm not sure when that happened,         10        Q. Had there been some problem with
11   but they just -- I remember there was a co-CEO   11   sales that caused income to dip at that time?
12   and a co-COO and a co -- I don't know that       12        A. I don't think so, just more
13   that was ever truly formally done.               13   expenses than income.
14        Q. Well, was there some episode or          14        Q. What expenses do you recall the
15   some event that made it sensible for you to      15   company having incurred that put the company
16   become the co-chief operating officer of the     16   in danger of breaking its bank covenants?
17   company?                                         17        A. Acquisition of other companies.
18        A. No.                                      18        Q. Like, for example, JCS?
19        Q. Sir, if you would turn to Exhibit        19        A. And PNA.
20   292, it looks like this (Indicating).            20        Q. All right, sir. Sir, if you
21        A. Okay.                                    21   would, turn to this document here, it's
22        Q. All right, thank you, sir. Turn          22   Exhibit Number 118, looks like this.
23   into the interior part of the email, the one     23        A. 118?
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 1        Q. 118, yes, sir. It's not in order          1        A. Well, they were just underper-
 2   because it's from another deposition. I think     2   forming, you know. JCS didn't report to me at
 3   you just passed it.                               3   that time, but I saw the financials of the
 4            MR. FINCH: It's right after 294,         4   company. And if one part of the company was
 5   295.                                              5   underperforming, then, of course, I had an
 6        Q. (BY MR. TANKERSLEY) Oh, you               6   obligation to mention it, and that's what I
 7   didn't pass it. Keep going.                       7   did here.
 8        A. After 294 --                              8        Q. Yes, sir. Underperforming
 9            MR. FINCH: Here, use this. Use           9   compared to what, what it had done before or
10   this one.                                        10   its budget goals?
11            MR. TANKERSLEY: You ready to go?        11        A. Their budget goals.
12   Thank you, sir.                                  12        Q. And who established the budget
13        Q. (BY MR. TANKERSLEY) I can read           13   goals for JCS?
14   your signature at the bottom here. What          14        A. JCS.
15   input, if any, did you have about the language   15        Q. So JCS is missing its own budget
16   that was in this contract?                       16   goals?
17        A. None.                                    17        A. Correct.
18        Q. To your knowledge, did CHC legal         18        Q. Who approved the budget goals that
19   review this contract before you were asked to    19   JCS proposed that it meet?
20   sign it?                                         20        A. JCS would approve their own
21        A. In 2014, yes.                            21   budget. Then that would go to, at this time
22        Q. So it would have been your               22   it was Doug Goetz, and the CFO, who would
23   practice to have shown this, a document like     23   either agree or disagree with that budget.
                                           Page 210                                              Page 212
 1   this, to CHC legal before you decided to sign     1        Q. All right, Doug Goetz at the time
 2   it --                                             2   was the -- what position did he hold?
 3         A. Yes.                                     3        A. He was the CEO.
 4         Q. -- correct?                              4        Q. Of CHC?
 5         Q. Sir, if you would turn to Exhibit        5        A. Of CHC, yes.
 6   297, if you would, please, it's the email from    6        Q. So the CHC CEO and his chief
 7   you to Mr. Goetz dated December 13, 2012.         7   financial officer of --
 8            MR. FINCH: 297. That's it.               8        A. CHC.
 9         Q. (BY MR. TANKERSLEY) All right,           9        Q. -- CHC would have had the role of
10   sir, I'm focusing on the very last sentence of   10   approving or disapproving the budget goals
11   this -- well, the last sentence that we can      11   proposed by JCS, correct?
12   read in this exhibit. The last sentence or       12        A. Correct.
13   two appear to be blacked out. The one I'm        13        Q. Now, in this email you say how can
14   focusing on is, How can a division missing       14   a division missing budget so dramatically be
15   budget so dramatically be giving raises. Do      15   giving raises. What raises are you talking
16   you see that language?                           16   about?
17         A. Yes.                                    17        A. Employee raises.
18         Q. Which division are you talking          18        Q. Well, by raises, are these raises
19   about in this email?                             19   or is some of this incentive pay you testified
20         A. It would be JCS.                        20   about earlier?
21         Q. What do you recall about JCS            21        A. I don't know, but in this case I
22   missing its budget so dramatically as of the     22   was referring to raises, not incentive pay.
23   end of 2012?                                     23        Q. Well, how did you become aware of
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                                           Page 213                                             Page 215
 1   these raises?                                     1   asking. Let me try it again. I'm not asking
 2        A. I would ask questions about -- if         2   about why you asked questions or what led to
 3   you would see an area that was over budget,       3   your asking questions. What I'm raising here
 4   you would ask why.                                4   is why you chose to put this in an email to
 5        Q. So you were given financial               5   Mr. Goetz. And so the question I'm asking you
 6   reporting from JCS, and you, in turn, were        6   is the reason why you chose to put this in an
 7   asking questions of people at JCS as to why it    7   email to Mr. Goetz is so that Mr. Goetz could
 8   is they were missing their budget?                8   intervene about these raises if he chose to do
 9        A. Or in this case I was probably            9   so?
10   asking questions of my team, the CFO, as to      10            MR. FINCH: Objection --
11   why they were underperforming, and his           11         A. If he chose to.
12   response would be that there would be areas      12            MR. FINCH: -- asked and
13   that they were over, and so I would ask          13   answered.
14   further questions about that.                    14            MR. TANKERSLEY: He can answer it
15        Q. And I take it that if you thought        15   again.
16   that the giving of raises was inappropriate      16            MR. FINCH: No, he can't answer it
17   that you could tell this to Mr. Goetz and he     17   again.
18   could intervene?                                 18            MR. TANKERSLEY: Sir, are you
19        A. I brought it to his attention with       19   telling this witness not to answer the
20   this email.                                      20   question?
21        Q. Yes, sir, but the reason why you         21            MR. FINCH: He's already answered
22   brought it to his attention with this email is   22   it, so the cat's out of the bag, but you've
23   because -- to give him the option of             23   asked it and you don't like the way he answers
                                           Page 214                                             Page 216
 1   intervening if he chose to do so, right?          1   it, and you want to use your question as the
 2           MR. FINCH: Objection. It's been           2   answer. You can't keep doing that.
 3   asked and answered. He already told you why       3            MR. TANKERSLEY: Sir, are you
 4   he brought it to Mr. Goetz's attention.           4   acquainted with Rule 30?
 5        Q. (BY MR. TANKERSLEY) Well, sir,            5            MR. FINCH: I'm acquainted with
 6   again, I'm trying to get a clarification. Is      6   all of the rules.
 7   the reason why you brought this issue that you    7            MR. TANKERSLEY: Sir, I'm insist-
 8   had about the raises to Mr. Goetz's attention     8   ing on getting an answer to this.
 9   so that he could intervene if he chose to do      9            MR. FINCH: You got an answer.
10   so?                                              10   Move on.
11           MR. FINCH: Objection. Asked and          11            MR. TANKERSLEY: No, sir I'm not.
12   answered.                                        12   You do not have the authority under Rule 30 to
13        Q. (BY MR. TANKERSLEY) You can              13   tell this witness not to answer the question
14   answer it again.                                 14   when there's a fair question on the table
15        A. I was looking at the performance         15   and --
16   of the company as a whole, CHC, and if it was    16            MR. FINCH: If you're going to
17   not performing where it should, then I start     17   badger my witness, I can instruct him not to
18   looking where it was underperforming, and then   18   answer.
19   I would ask questions. And in this case there    19            MR. TANKERSLEY: I am not
20   was an area that I thought was                   20   badgering your witness, sir.
21   underperforming, so I asked a question.          21         Q. (BY MR. TANKERSLEY) What's the
22        Q. Sir, with respect, I just don't          22   answer to my question?
23   think you're answering the question I'm          23            MR. FINCH: He's already answered
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 1   answered it, and Mr. Thames can read it back      1   Mr. Moon was talking about, he has it in
 2   if you would like him to.                         2   capital letters as though it was a document.
 3           MR. TANKERSLEY: Sir, are you              3   Was it?
 4   instructing this witness not to answer this       4        A. There is a document for the bonus
 5   question?                                         5   plan, yes.
 6           MR. FINCH: Yes, because he                6        Q. And the bonus plan that this email
 7   already did.                                      7   refers to, what are the components of the
 8        Q. (BY MR. TANKERSLEY) Sir, are you          8   bonus plan?
 9   taking your lawyer's direction?                   9        A. I don't remember what it was at
10        A. Yes, I am.                               10   that time.
11        Q. Sir, if you would, take a look at        11        Q. Yes, sir. What's your general
12   Exhibit 302. It looks like this.                 12   recollection about what the bonus plan said?
13        A. Okay.                                    13        A. In general, a bonus plan is there
14        Q. All right, sir, in this email,           14   are -- as an executive you were given certain
15   Exhibit 302, Mr. Moon is sending an email to     15   things that you have to achieve, and if you
16   someone, this email, the good morning email,     16   achieve those there is a potential for a
17   do you see that at the bottom of the exhibit?    17   bonus.
18        A. Good morning, yes.                       18        Q. So you understood this bonus plan
19        Q. Who do you understand Mr. Moon to        19   to be a bonus plan for Mr. Moon and not for
20   be sending this email to?                        20   producers at JCS?
21        A. Mr. Goetz.                               21           MR. FINCH: Object to the form.
22        Q. Now, Mr. Moon worked at JCS, is          22   What do you mean by producers?
23   that correct?                                    23           MR. TANKERSLEY: People who --
                                          Page 218                                               Page 220
 1         A. That's correct.                          1   that's a fair objection, sir.
 2         Q. And what was his role at JCS?            2        Q. (BY MR. TANKERSLEY) You know,
 3         A. He was the direct -- chief               3   case workers, people who created income for
 4   operating officer of JCS.                         4   the company at the lowest level.
 5         Q. All right, sir, now, at this time        5            MR. FINCH: Object to form.
 6   you were the co-chief operating officer of        6        A. This appears to be as an executive
 7   JCS?                                              7   of JCS.
 8         A. I don't believe so.                      8        Q. (BY MR. TANKERSLEY) All right.
 9         Q. Sir, I would like to refresh your        9   Sir, you testified during the examination by
10   recollection. I'm showing you what was marked    10   the plaintiff that at one time there was an
11   as Exhibit Number 300, this is my copy of        11   incentive payment plan at JCS. Do you
12   it --                                            12   remember your testimony about that?
13         A. Okay.                                   13        A. I do.
14         Q. -- and if you look at the second        14        Q. And that incentive payment plan,
15   page it says current, JCS current, do you see    15   unlike this bonus plan, that went to the
16   that?                                            16   actual employees who were generating income
17         A. Yes.                                    17   for the company, is that correct?
18         Q. And so at this time -- oh, I            18            MR. FINCH: Object to form.
19   apologize, I thought you had testified earlier   19        A. I'm not sure how far down that
20   that you were the co-chief operating officer     20   went in the organization.
21   of the company.                                  21        Q. (BY MR. TANKERSLEY) Okay, how far
22         A. No.                                     22   down do you believe it went in the
23         Q. All right. This bonus plan that         23   organization?
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 1        A. I knew it went at least to the            1   states, and so --
 2   office managers and those that were running       2        Q. Sir, is it my understanding that
 3   the offices.                                      3   you're still offering this incentive plan?
 4        Q. And what was your recollection            4        A. We are not offering an incentive
 5   about how this incentive plan worked?             5   plan.
 6        A. I didn't know the details of that         6        Q. Well, given that you're not
 7   plan.                                             7   offering an incentive plan, please help me
 8        Q. What was your general understand-         8   understand how that could be a competitively
 9   ing of it at this time?                           9   sensitive number?
10        A. That there would be goals estab-         10            MR. FINCH: Asked and answered.
11   lished and that they would be incentivized if    11        A. We have competitors, and I prefer
12   they met those goals.                            12   not to give numbers out that could give a
13        Q. Were these goals in writing?             13   competitor information that they could use in
14        A. I don't know.                            14   other locations.
15        Q. Sir, turn to Exhibit 306.                15        Q. (BY MR. TANKERSLEY) Is that your
16        A. Okay.                                    16   testimony about why this number was redacted
17        Q. On the second page, that is page         17   out?
18   Bates-stamp 1050, do you see the part where it   18        A. I did not redact this number.
19   says -- this is Mr. Moon recommending this to    19        Q. Do you believe that to be a
20   Mr. Goetz and others -- my suggestion would be   20   reasonable basis to redact a number --
21   we run a mid-month incentive awarding blank to   21        A. I can tell you that's why I would
22   an office in each state that shows the largest   22   do it.
23   percentage movement, and then it goes on. Do     23        Q. All right. What is this reference
                                          Page 222                                              Page 224
 1   you see that?                                     1   to a -- in the last full paragraph here, the
 2        A. I do.                                     2   one that begins total cost, in the third line
 3        Q. Now, as I understand it, JCS has          3   up it says PSP, all in capital letters, PSP
 4   ceased operations in Alabama, isn't that          4   program; what's that?
 5   correct?                                          5        A. I have no idea.
 6        A. That's -- now or --                       6        Q. Sir, if you would turn to Exhibit
 7        Q. As of today, September of 2016?           7   315, it looks like this.
 8        A. Correct.                                  8        A. Okay.
 9        Q. Whatever number this was, that's,         9            MR. FINCH: I'm sorry, which one?
10   given that JCS has ceased operations in the      10        A. 315. Okay.
11   state of Alabama, that's not a number that       11        Q. (BY MR. TANKERSLEY) I'm on the
12   could affect your business operations in         12   signature page, the first signature page, it's
13   Alabama, right? In other words, that's not a     13   page five, Bates-numbered CCS 001868.
14   competitively sensitive number in Alabama now    14        A. Okay.
15   because you've ceased operations in Alabama,     15        Q. Whose signature is this (Indica-
16   right?                                           16   ting)?
17        A. In Alabama?                              17        A. Which one?
18        Q. Yes, sir.                                18        Q. That one (Indicating).
19        A. It still could be.                       19        A. Scott I think.
20        Q. How so, sir, since you're not            20        Q. Could you spell that for the court
21   doing business in Alabama?                       21   reporter, please.
22        A. Well, your competitors aren't in         22        A. P-u-s-t-i-z-z-i.
23   just Alabama, your competitors are in multiple   23        Q. And at the time of the signing of
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 1   this document, April 9th of 2015, he was the      1        A. No.
 2   senior VP of HR for CHC or for some other         2        Q. Is that because you didn't feel
 3   company?                                          3   like you needed to?
 4        A. CCS.                                      4        A. Correct.
 5        Q. For CCS. Now, as I understand it,         5        Q. And is the reason why you did not
 6   Mr. Houston, if an employee, for example, with    6   feel like you needed to discuss this with
 7   this Exhibit 315, Ms. Lloyd as an example, if     7   anyone is because the decision had already
 8   she moves around from Correct Care Solutions      8   been made to leave Alabama?
 9   to Correct Care, LLC, or any of the other CCS     9        A. Yes.
10   or CHC companies, she is not required to sign    10        Q. And in your view, just the fact
11   a new noncompete agreement, is that right?       11   that the fee structure would be different,
12        A. I don't know that that is correct.       12   that didn't change your view about whether or
13        Q. All right. Why do you doubt the          13   not you should reconsider the staying in
14   correctness of that?                             14   Alabama or not, right?
15        A. Well, there's -- I'm just saying I       15        A. Correct.
16   don't know for certain that that is correct.     16        Q. Did you discuss this with Mrs.
17   That probably is, but there may be reasons       17   Ray?
18   that you would have a different noncompete       18        A. Yes.
19   depending on your status. If you're promoted     19        Q. By telephone or in person?
20   into a more senior position, then your           20        A. By telephone.
21   noncompete would be different than this.         21        Q. Was there one call or more than
22        Q. Well, if somebody is making a            22   one call about this?
23   purely lateral move from one company to          23        A. One call, and it was very simple.
                                          Page 226                                              Page 228
 1   another --                                        1   No, we're not going to do this.
 2        A. Then this would probably suffice.         2        Q. Did you tell her why you weren't
 3        Q. Okay.                                     3   going to do this?
 4           MR. EVANS: This meaning Exhibit           4        A. No, I just told her we were not
 5   315?                                              5   moving forward with this option.
 6        A. Yes.                                      6        Q. She references Clay Cox from PPS.
 7        Q. (BY MR. TANKERSLEY) I'm sure you          7   Is that Private Probation Services, or do you
 8   were asked by plaintiff's counsel about           8   know?
 9   Exhibit 322. It looks like this.                  9        A. Yes, that's it.
10           (Whereupon, an off-the-record            10        Q. Is Clay Cox known to you?
11   discussion was had).                             11        A. I know of him. Don't know him.
12        Q. (BY MR. TANKERSLEY) Sir, do you          12        Q. Okay. You just know him to be --
13   remember your testimony about this, that Mrs.    13        A. He's a competitor.
14   Ray was attempting to propose to you other       14        Q. Okay.
15   structures, fee structures, for JCS services     15        A. That's all I know.
16   in Alabama? Do you recall that?                  16        Q. We're doing it again. We're
17        A. I do.                                    17   talking over each other. You know Mr. Cox to
18        Q. And your testimony was that when         18   be a competitor, right?
19   Mrs. Ray asked you about this you said no?       19        A. I do.
20        A. Correct.                                 20        Q. That's how you know him?
21        Q. Once you received this Exhibit           21        A. Yes.
22   Number 322 from Mrs. Ray, did you discuss it     22        Q. Thank you, sir. Was the only
23   with anyone?                                     23   income source for JCS when it was in operation
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 1   in Alabama the fees that it received from the     1   went to JCS's bank account, or did it go to an
 2   probationers?                                     2   insurance company? Where did it go?
 3           MR. FINCH: Object to form.                3        A. It would go to an insurance
 4        A. Yes.                                      4   company.
 5        Q. (BY MR. TANKERSLEY) As I                  5        Q. Which insurance company was
 6   understand it, that was the ten dollar setup      6   providing those services?
 7   fee, correct? I'm not finished, but that was      7        A. I couldn't tell you.
 8   one of them?                                      8        Q. If you wanted to find out about
 9           MR. FINCH: Just wait till he's            9   that, where would you go to find out about it?
10   done.                                            10        A. I don't even know where I would go
11        Q. (BY MR. TANKERSLEY) The ten              11   to find out. I don't know.
12   dollar setup fee and the monthly fee for being   12        Q. All right. What was that called,
13   on the JCS program, right?                       13   by the way, that community services insurance
14        A. Yes.                                     14   payment? What did you call that internally?
15        Q. Were there any other fees other          15        A. I didn't call it anything
16   than those two that probationers paid to JCS?    16   internally, I just remember hearing something
17        A. To JCS?                                  17   about that and it was to cover the -- if
18        Q. Yes, sir, to JCS.                        18   someone was doing community service and they
19        A. Not to JCS.                              19   were injured, that it would cover them for
20        Q. The way you answered the question        20   that injury.
21   makes it sound like probationers would pay       21        Q. Was the insurance company to which
22   other things that would not be paid to JCS?      22   that premium was paid, was that a company that
23        A. They would pay fines.                    23   was associated with CHC or CCS?
                                           Page 230                                               Page 232
 1        Q. All right, sir. Aside from the            1       A. No.
 2   underlying fines and court costs and the fees     2       Q. All right.
 3   that we've just outlined for JCS, was there       3           MR. TANKERSLEY: Okay, that's all
 4   any other money that was paid to JCS that you     4   I have at this time.
 5   know of?                                          5           (Recess from 2:27 P.M. until
 6           MR. FINCH: Object to form.                6           2:38 P.M.)
 7        A. No.                                       7
 8        Q. (BY MR. TANKERSLEY) Have you ever         8   REEXAMINATION BY MR. EVANS:
 9   heard of JCS requiring probationers to pay a      9        Q. Mr. Houston, we're getting closer,
10   certain amount of money for insurance            10   believe it or not?
11   associated with that probationer performing      11        A. Okay.
12   community service?                               12        Q. I do have a few other questions
13        A. I didn't know the probationers           13   for you, though.
14   paid that. I thought the City paid that or       14        A. All right.
15   the entity paid that.                            15
16        Q. All right. You knew of some              16           (Plaintiff's Exhibit Number 324
17   payment being made for people serving on --      17   was marked for identification and copy of same
18   doing community service?                         18   is attached hereto).
19        A. Yes.                                     19
20        Q. What happened to that money?             20       Q. (BY MR. EVANS) I want to show you
21   Where did that money go?                         21   an email that we've had marked as Exhibit 324,
22        A. I don't know.                            22   and then I'm going to ask you a couple of
23        Q. I mean, was it paid to JCS and it        23   questions about that.
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 1        A. All right.                                1   of the merger to the employees and so forth,
 2            MR. TANKERSLEY: Which number is          2   and you remember those being in June and
 3   this, please, sir?                                3   July --
 4            MR. EVANS: 324.                          4        A. I would --
 5            MR. TANKERSLEY: Thank you, sir.          5           MR. FINCH: Object to form.
 6        A. Okay.                                     6        Q. (BY MR. EVANS) I don't want to
 7        Q. (BY MR. EVANS) Do you remember            7   belabor it, but that's about the time it
 8   this?                                             8   happened, wasn't it?
 9        A. I do remember there.                      9        A. I would have to look and see, but
10        Q. The time frame is in May of 2014,        10   about then.
11   and, as I understand from our previous           11        Q. Do you remember having ongoing
12   conversation, this was shortly before the        12   conversations with folks from JCS throughout
13   actual merger of CCS and CHC, is that correct?   13   that merger between CCS and CHC?
14        A. That's correct.                          14        A. (Pause).
15        Q. And was this already something you       15
16   knew that was imminent, that CCS was merging?    16           (Plaintiff's Exhibit Number 325
17        A. The discussions were going on.           17   was marked for identification and copy of same
18        Q. I see. And it appears that you           18   is attached hereto).
19   were having discussions with Jorge about your    19
20   position after the merger, is that correct?      20      Q. (BY MR. EVANS) I'll show you
21        A. Correct.                                 21   Exhibit 325. I'm sorry. 325.
22        Q. Okay. And as we get to the last          22      A. (Examining document). Okay.
23   part of the email that you wrote on May 15th,    23      Q. Do you recognize what Exhibit 325
                                          Page 234                                              Page 236
 1   you write, I'm struggling a little with the       1   is?
 2   role they want me to play, and then down as       2        A. I do.
 3   you get to the bottom, they want to create a      3        Q. What is it?
 4   private division, add JCS and Phoenix and have    4        A. It's a letter from Colleen Ray to
 5   me run that division. I'm not saying I would      5   Karen Lloyd about --
 6   not do it, but it is not the next step I          6        Q. Copied to you?
 7   wanted in my career. Was there some modifi-       7        A. Yes, I'm copied on it.
 8   cation of that offer to you before the actual     8        Q. Is it fair to say this is some of
 9   merger came about?                                9   Ms. Ray's ideas for getting more money in the
10        A. No, that's exactly what did              10   company?
11   happen.                                          11        A. Yes.
12        Q. So you did ultimately --                 12        Q. Okay. As we go down to paragraph
13        A. I did accept what they asked me to       13   three, she talks about having JCS offer an
14   do, and then over time they realized --          14   interlock system and charging for that on a
15        Q. What you wanted --                       15   monthly basis, doesn't she?
16        A. -- that I knew what I was doing,         16        A. Yes -- well, let me -- just a
17   and they added what I wanted.                    17   second (Examining document). I don't see
18        Q. I see. So ultimately you got what        18   where it says on a monthly basis, but I do see
19   you wanted?                                      19   a fee.
20        A. Ultimately, yes.                         20        Q. Do you see about --
21        Q. And as we get on into -- of              21        A. Oh, I see it. I see it now down
22   course, we've shown the letters and so forth     22   in the next paragraph. I was looking at the
23   that you authenticated about the announcement    23   wrong paragraph.
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 1        Q. Okay. About halfway through the           1   paragraph three, if that will help you, the
 2   third paragraph, do you see the sentence that     2   second sentence.
 3   starts most defendants?                           3        A. Okay.
 4        A. I do.                                     4        Q. She references, quote, with the
 5        Q. Would you read that for me?               5   recent announcement of the merger with CCS,
 6        A. Most defendants in Alabama get            6   and the conversations with Steven Page that
 7   placed on probation with JCS because they         7   Mac has had regarding his interest in selling
 8   can't pay their fine in full and once they do     8   Georgia Probation Management, we feel this is
 9   pay their fine in full they are terminated as     9   a good opportunity to look into growing JCS
10   a case with JCS.                                 10   through acquiring companies like GPM. We hope
11        Q. However?                                 11   that CCS will be in support of this growth, as
12        A. However, if we are monitoring the        12   growing our company has always served as a
13   interlock they would be with JCS up to two       13   major motivation for our staff. That's what
14   years. I'm proposing that after they pay         14   she was writing to you?
15   their fine in full if we continue to monitor     15        A. That's correct.
16   their interlock we charge a $20.00 interlock     16        Q. Did you understand that she was
17   monitoring fee.                                  17   reaching out to you as one of the executives
18        Q. Uh-huh.                                  18   with CCS to consider this?
19        A. Do I continue?                           19           MR. FINCH: Object to form.
20        Q. No, sir, that's fine. The                20        A. Yes.
21   statement about most defendants get placed on    21        Q. (BY MR. EVANS) After the
22   probation with JCS because they can't pay        22   announcement of the merger between CCS and
23   their fine in full and once they do their        23   CHC, did there also begin an integration
                                          Page 238                                               Page 240
 1   probation is terminated, were you aware at        1   project to blend the two companies together?
 2   that time that that was the way the system        2       A. Blend which two companies
 3   operated?                                         3   together?
 4           MR. FINCH: Object to form.                4       Q. CCS and CHC.
 5           MR. JACKSON: Object to the form.          5       A. Yes.
 6        A. Yes.                                      6
 7                                                     7           (Plaintiff's Exhibit Number 327
 8           (Plaintiff's Exhibit Number 326           8   was marked for identification and copy of same
 9   was marked for identification and copy of same    9   is attached hereto).
10   is attached hereto).                             10
11                                                    11        Q. (BY MR. EVANS) Let me show you
12        Q. (BY MR. EVANS) Let me show you           12   what we'll mark as Exhibit 327. What is this
13   also what we'll mark as Exhibit 326.             13   document, sir?
14        A. (Examining document). Okay.              14        A. This is the integration project.
15        Q. Do you recognize Exhibit 326 to be       15        Q. Referencing what?
16   an email to you from Karen Lloyd in June of      16        A. CHC Integration Project.
17   2014?                                            17        Q. Into CCS?
18        A. I do.                                    18        A. This is 2014 -- yes.
19        Q. And is it fair to say that this          19        Q. Is that correct?
20   email follows the announcement that CCS is       20        A. Yes.
21   merging with CHC?                                21        Q. Just huge amounts of it are
22          MR. FINCH: Object to form.                22   redacted for reasons we don't know, but there
23        Q. (BY MR. EVANS) You can look at           23   is some of it that at least we can see the
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Don Houston                                                                                            61
                                          Page 241                                               Page 243
 1   status. On the second page, one of the work       1        A. Okay.
 2   stream status summaries specifically refers to    2        Q. This page is HR Position Control
 3   JCS's current status, do you see that? Right      3   Executive Summary, that's the title, isn't it?
 4   there on your finger.                             4        A. It is the title.
 5         A. I do see that.                           5        Q. Did you understand this was a
 6         Q. When this integration project was        6   document dealing with the transition of these
 7   afoot, were you participating in it?              7   merged companies over to the same HR program?
 8         A. I was.                                   8        A. No, I think this was just HR
 9         Q. This would have been a document          9   giving their report on position control and an
10   you would received, I suppose?                   10   executive summary of that.
11         A. Yes.                                    11        Q. When the merger took place, were
12         Q. Did you help formulate this             12   there a number of terminations or reductions
13   document, or who did?                            13   in force, anything of that nature?
14         A. No, I didn't formulate the              14        A. Well, there were reductions in
15   document. A number of people formulated the      15   force, yes.
16   document.                                        16        Q. The reason I ask that is because
17         Q. When we go on over to the fourth        17   in the project summary it shows severance
18   page in the document, do you see the title at    18   pay-out, personnel transition, CHC employee
19   the top, Synergy Targets and Status?             19   communications, and things of that nature.
20         A. I do.                                   20        A. Correct.
21         Q. One of the first categories there       21        Q. Would that have been referencing
22   is -- the second category is Corporate           22   those types of concerns?
23   Nonlabor, do you see that?                       23        A. Yes.
                                          Page 242                                               Page 244
 1        A. I do.                                     1        Q. Let's go to Bates page 1825 in
 2        Q. And the second entry there is             2   that same exhibit. Here we're talking about
 3   Lobbyists and Consultants?                        3   Employee Benefits Integration Executive
 4        A. Yes.                                      4   Summary. That's the title, isn't it?
 5        Q. And there was some conversation           5        A. Yes.
 6   earlier in questions about that very topic.       6        Q. And it's -- the project name is HR
 7   Was it common for CCS and CHC to hire             7   Health & Welfare, 401(k). When you were
 8   lobbyists and consultants?                        8   dealing with this integration project, were
 9        A. More consultants than lobbyists,          9   the 401(k)s and the health and welfare
10   but yes.                                         10   benefits being integrated between the two
11        Q. Some of both?                            11   companies that merged?
12        A. Some of both.                            12        A. It was definitely being looked at
13        Q. And who would have been responsi-        13   to see if you could get, you know, a more cost
14   ble for filling out the disclosure forms for     14   efficient program by putting the two programs
15   the lobbyists that had been hired?               15   together. You have more employees, so you can
16        A. Legal.                                   16   get better purchasing power.
17        Q. When we go over to -- let's see          17        Q. Makes sense. All related, though,
18   which page it is. It might be easier to read     18   to the merger?
19   that Bates number. Do you see the Bates          19        A. Correct.
20   number?                                          20        Q. And when we go to the next page,
21        A. I do.                                    21   1826, it says Finance Project Plan Executive
22        Q. Let's go to page 1823 in that same       22   Summary, doesn't it?
23   exhibit?                                         23        A. Yes.
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                                          Page 245                                             Page 247
 1        Q. And the project name on this is          1        A. Okay.
 2   called Project Bronco. Do you know what that     2        Q. -- this one is entitled OPS-
 3   is?                                              3   Clinical CCS-CHC Process Integration Executive
 4        A. I do.                                    4   Summary. What can you tell me about this
 5        Q. What is that?                            5   page?
 6        A. Since CHC was in Colorado, they          6        A. This is about operation, which is
 7   gave the project plan the name Bronco as         7   ops, and the clinical, which is your
 8   you're working on finances. You didn't want      8   physicians and your clinical team, your
 9   to create problems with employees when you're    9   psychiatrists, to see whether or not the
10   talking about synergies and things like that,   10   processes that were being used by those two
11   so you have a project name, and that's why it   11   entities could be integrated.
12   was called Bronco.                              12        Q. And ultimately did you find a way
13        Q. What did it do? I mean, what was        13   to do that?
14   project Bronco about, merging --                14        A. Some.
15        A. Finances.                               15        Q. When we go to 1833 in the document
16        Q. Merging financial --                    16   we see a title of HR and Payroll Systems
17        A. This is AP and AR and finance.          17   Migration Executive Summary, do you see that?
18        Q. I see. When we go to page 1828 in       18        A. I do.
19   that same exhibit, this one is entitled CHC     19        Q. Project Name, HR and Payroll
20   Vizion EMR Consolidation to ERMA?               20   Systems Migration. What was this about?
21        A. Yeah, Vizion to ERMA.                   21        A. This was moving payroll into one
22        Q. Okay, and what is this about?           22   platform instead of two different platforms.
23        A. Those are electronic medical            23        Q. So as the migration and
                                          Page 246                                             Page 248
 1   records and electronic claims processing sys-    1   integration became complete, CCS -- prior CCS
 2   tems. And CHC had one and CCS had another,       2   people were being paid through CCS -- I'm
 3   and it was to see whether or not we could        3   sorry, I misspoke. Prior CHC personnel would
 4   integrate those two and merge them into one      4   be paid through CCS?
 5   system.                                          5        A. Correct.
 6        Q. So that was, again, as a result of       6        Q. The next page is page 1834 in this
 7   the merger, trying to find some efficient        7   document entitled Active Directory Exchange
 8   method?                                          8   and Server MigrationExecutive Summary. Am I
 9        A. Yes, sir.                                9   correct, sir, that this was the integration of
10        Q. The next page, 1829 is entitled         10   your IT information systems?
11   Legal & Risk Team Executive Summary, Project    11        A. Yes.
12   Legal & Risk Team, and everything here is       12        Q. And after the merger and this
13   virtually blanked out. Again, was this a        13   integration, the data would be consolidated in
14   product of the merger between CCS and CHC,      14   some form?
15   bringing them all under the same legal team,    15            MR. FINCH: Object to form.
16   legal department?                               16        A. Some of it, yes.
17        A. Once again, it was looking to see       17        Q. (BY MR. EVANS) Your email
18   if there were any efficiencies to doing that.   18   servers, would they all become the same?
19        Q. And ultimately they found those, I      19        A. I can't answer that.
20   suppose?                                        20        Q. Okay. Page 1835 of this document,
21        A. They did.                               21   this one is entitled Finance Systems Migration
22        Q. If you would go with me to 1831 in      22   Executive Summary. What can you tell me about
23   that document --                                23   this as far as the integration of these
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                                           Page 249                                              Page 251
 1   companies?                                        1   Summary. What are we talking about here?
 2        A. They were on two different                2        A. Wide area network, IT.
 3   financial systems, two different platforms,       3        Q. Were those merged?
 4   and they looked to determine which one was        4        A. Not completely, but --
 5   best and tried to migrate to one system.          5        Q. Substantially?
 6        Q. And were they able to substan-            6        A. Substantially.
 7   tially do that?                                   7        Q. The next page, 1839 in this
 8        A. Not completely.                           8   document deals with the CHC Reporting
 9        Q. Not completely. The next page,            9   Conversion. What are we talking about here?
10   page 1836, entitled CHC UM Project Executive     10        A. We had a myriad of reports. We
11   Summary. What is the CHC UM Transition           11   wanted to see whether or not we could merge
12   Project?                                         12   reports so that there was only a report
13        A. This is Utilization Management           13   instead of multiple reports. So it was just
14   Project, and it is when you have patients who    14   analysis of the different reports.
15   go to hospitals and you have care outside the    15        Q. Were you able to substantially do
16   facility, how you manage that care. And          16   that so you had similarity of reports?
17   there's, you know, both an IT piece to that      17        A. For the most part.
18   and a process piece to that. And this is         18        Q. The next page, 1840 of this same
19   analyzing and deciding which is the best way     19   exhibit, it looks like an acronym, CHCFYI Into
20   to go.                                           20   Sharepoint.
21        Q. Which is the best way to would,          21        A. It's just so you could use
22   CHC's system versus CCS's system?                22   Sharepoint was all.
23        A. In this case they were just              23        Q. I see. I see, so you were able to
                                           Page 250                                              Page 252
 1   analyzing -- we were just analyzing CHC's         1   accomplish that?
 2   because it was fairly different.                  2         A. Yes. Not very well, though. I
 3        Q. I see. So there really wasn't a           3   still can't use Sharepoint well.
 4   merger component about that doesn't sound         4         Q. Well, I won't quiz you on
 5   like?                                             5   Sharepoint, then. I'm not sure I could.
 6        A. No.                                       6            The next document is the same
 7        Q. Let's go to the next page, page           7   page, 1841 -- in the same exhibit, I'm sorry,
 8   page 1837. This is titled CIGNA Claims            8   CHC Salesforce.com into CCS Salesforce.com.
 9   Project Executive Summary?                        9   What are we talking about there?
10        A. Yes.                                     10         A. Both companies use Salesforce, and
11        Q. Project Name, CIGNA Claims               11   just seeing whether or not we could just merge
12   Management Implementation and CHC Claims         12   that into one directory.
13   Transition. Do you know what this is?            13         Q. Were you able to substantially do
14        A. I do.                                    14   that?
15        Q. Can you tell me?                         15         A. For the most part, yes.
16        A. CIGNA is a third party                   16
17   administrator for claims at CCS, and it was to   17           (Plaintiff's Exhibit Number 328
18   see whether or not it would work to move CHC     18   was marked for identification and copy of same
19   under that same claims management system.        19   is attached hereto).
20        Q. And did you?                             20
21        A. For the most part, but not               21       Q. (BY MR. EVANS) Let me show you
22   completely.                                      22   what I've had marked as Exhibit 328 now, sir.
23        Q. The next page, 1838, WAN Executive       23   Do you recognize this as a group of emails in
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                                          Page 253                                                Page 255
 1   or around the September 2015 time frame?          1        A. I do.
 2        A. I do.                                     2        Q. And, again, the discussion is
 3        Q. And, again, they're substantially         3   between you and Cary McClure about the list of
 4   redacted, but from what is available it           4   people impacted when the closures will take
 5   appears that they're dealing with a reduction     5   place?
 6   in force of the JCS Alabama personnel. Can        6        A. That's correct.
 7   you discern that?                                 7        Q. And Mr. McClure, and Ms. Huffine
 8        A. Yes.                                      8   are copied, and, of course, you are all CCS
 9        Q. Okay. And the people that are             9   employees at that time, is that right?
10   involved, you include the entire executive       10        A. Yes.
11   management team in your email, the second        11
12   page. That would have included all of the CCS    12           (Plaintiff's Exhibit Number 330
13   heads that we talked about earlier today?        13   was marked for identification and copy of same
14        A. Right.                                   14   is attached hereto).
15        Q. And the first page of the document       15
16   comes from Cary McClure, he's a CCS person,      16         Q. (BY MR. EVANS) I want to back up
17   and what would have been his position at that    17   a little bit in time frame and show you an
18   point?                                           18   exhibit I've marked as Exhibit 330.
19        A. He is over support services, and         19         A. (Examining document). Okay.
20   payroll reports to him.                          20         Q. Okay, I'm sorry, wake me up.
21        Q. Why would he have been involved in       21   Exhibit 330 that's before you, it's a group of
22   decisions when the JCS people were being         22   emails and an attachment back in March of
23   discharged?                                      23   2015, isn't it?
                                          Page 254                                                Page 256
 1           MR. FINCH: Object to form.                1        A. Okay.
 2        A. Well, he is going to make sure            2        Q. Is that correct?
 3   that people got their final paycheck, PTO         3        A. Yes.
 4   payouts, any of those things.                     4        Q. And attached to the email is a
 5        Q. (BY MR. EVANS) When we go to the          5   document entitled Payroll Department Executive
 6   third page of this document, the email from       6   Update, March 16, 2015. Would you have
 7   you, it shows that legal also -- you write        7   received that at that time?
 8   also legal is researching leases to determine     8        A. Yes.
 9   any impact associated with termination of the     9        Q. The third page of that document
10   lease. That would have been the CCS Legal        10   deals with systemic issues. Do you see that?
11   Department you would have been referring to?     11        A. I do.
12        A. Yes.                                     12        Q. And it talks about JCS employees
13                                                    13   receiving health and welfare payments and how
14           (Plaintiff's Exhibit Number 329          14   they're to receive VAC under different
15   was marked for identification and copy of same   15   schedules. Is this all part of the
16   is attached hereto).                             16   integration coming about when CCS bought CHC?
17                                                    17        A. Well, it's -- what's the date of
18        Q. (BY MR. EVANS) Let me show you           18   this. This is an integration project for
19   Exhibit 329, if I may, sir. I believe it's       19   payroll because it wasn't just JCS that's
20   along the same lines, but . . .                  20   being talked about, but it was a system issue
21        A. (Examining document).                    21   of trying to integrate payroll.
22        Q. Do you recognize these as emails         22        Q. That's what I thought, but it's
23   in that same time frame, September 2015?         23   CCS -- when CCS came on the scene and bought
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 1   CHC, these were some of the issues y'all were      1        A. Yes.
 2   dealing with?                                      2        Q. And you're telling him specifi-
 3         A. Payroll was an issue. Integration         3   cally, Jorge, here's the update on the JCS
 4   of payroll was definitely an issue.                4   Improvement Plan, the RIF, reduction in force,
 5            MR. FINCH: I need to take a               5   of the two JCS headquarters employees has
 6   little short break for this call.                  6   taken place, and so forth, is that --
 7            MR. EVANS: Okay.                          7        A. Correct.
 8            MR. FINCH: Thanks.                        8        Q. And on the third page of the
 9            (Recess from 3:08 P.M. until              9   document you see communication between you and
10            3:16 P.M.)                               10   Mr. McClure, also a CCS employee, who is
11                                                     11   asking for the names of the individuals so he
12           (Plaintiff's Exhibit Number 331           12   can take care of that aspect of it, correct?
13   was marked for identification and copy of same    13            MR. FINCH: Object to form.
14   is attached hereto).                              14        A. (Examining document).
15                                                     15        Q. (BY MR. EVANS) You may not be
16       Q. (BY MR. EVANS) Mr. Houston, let            16   looking at the right page, page 18 --
17   me show you now what we've marked as Exhibit      17        A. Well, I'm looking at this
18   331. Let me ask you if you can identify that      18   (Indicating) --
19   for me?                                           19        Q. Okay.
20           MR. FINCH: Have you passed that           20        A. I'm making sure that it's not more
21   out or --                                         21   than that because this was a much broader
22           MR. EVANS: No.                            22   initiative, and so I don't know that this is
23       A. (Examining document). It's a               23   just JCS that's being discussed here with
                                            Page 258                                              Page 260
 1   series of emails related to a fifty-day plan       1   Cary.
 2   to improve the financial performance of the        2        Q. The prior email to Cary from you
 3   company.                                           3   says the RIF at JCS headquarters has taken
 4        Q. (BY MR. EVANS) And part of what's          4   place. Do you see that?
 5   in this group of emails is a discussion of a       5        A. Yeah, I do see that.
 6   reduction in force at JCS, isn't it?               6        Q. Okay.
 7        A. Correct.                                   7        A. I was just looking at the last
 8        Q. The time frame we're talking about         8   part of the sentence too where it's talking
 9   is December of 2014, is that correct?              9   about labor cost at other sites, so it could
10        A. That's correct.                           10   be that there's more than just those two.
11        Q. So this would have been approxi-          11        Q. But you agree that this exhibit
12   mately five months after the announced merger     12   does contain communication between you and
13   of CCS an CHC?                                    13   Jorge and Cary about reductions in force at
14        A. Correct.                                  14   the JCS headquarters?
15        Q. Is that the reason you were               15        A. Yes.
16   including in your emails on the first page        16
17   communication to Jorge, I'm not going to say      17          (Plaintiff's Exhibit Number 3 was
18   his name, Dominicis, Dominicis -- y'all help      18   marked for identification and copy of same is
19   me again. I don't know why I always have such     19   attached hereto).
20   trouble with that.                                20
21            MS. PARRISH: Call him Jorge.             21       Q. (BY MR. EVANS) I'll show you
22        Q. (BY MR. EVANS) Jorge. That's the          22   Exhibit 332 now.
23   reason you're communicating to Jorge?             23       A. (Examining document). Okay.
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 1        Q. Am I correct, sir, that this now          1   you some documents that are records from the
 2   is an email in early February of 2015?            2   Secretary of State of Alabama and ask you a
 3            MS. PARRISH: Are you on 333 or           3   few questions about them. I'm showing you now
 4   334?                                              4   Exhibit 333. I'll represent to you, sir, this
 5            MR. FINCH: This is document 1579.        5   is a report of JCS, Incorporated, their annual
 6        A. 332.                                      6   report in 2015 on file with the Secretary of
 7            MS. PARRISH: 332?                        7   State. Look with me, if you will, on this
 8        A. Yes.                                      8   first page. The second page is 2014, and it
 9        Q. (BY MR. EVANS) Yes, Exhibit 332           9   goes on back. What I would like for you to do
10   is a group of emails between Karen Lloyd and     10   is look at the people who are represented as
11   Randy Harris copying you in February of 2015,    11   the officers and verify for me if that's
12   is that correct?                                 12   correct or not. In 2015 was Dirk Allison the
13        A. That's correct.                          13   president?
14        Q. And on page 1580 of that exhibit         14         A. He was president and CEO.
15   Mr. Harris is writing to Ms. Lloyd and copying   15         Q. Was Bradley Bickham the secretary?
16   you, correct?                                    16         A. Yes.
17        A. Correct.                                 17         Q. And when we go to 2014 of JCS,
18        Q. Who was Mr. Harris at that time?         18   Incorporated, was Dirk Allison the president
19        A. Mr. Harris is an HR manager.             19   then?
20        Q. With CCS?                                20         A. Yes.
21        A. With CCS.                                21         Q. And Bradley Bickham the secretary?
22        Q. And he writes, quote, One of our         22         A. Yes.
23   HR goals this year is to standardize our         23         Q. And when we go back to 2013, it
                                           Page 262                                                 Page 264
 1   policies and procedures across all divisions      1   shows Jarrett Gorlin as the president and
 2   of the company. In the next several months,       2   Shelton Frey as the secretary, is that
 3   we will be rolling out these policies and         3   correct?
 4   procedures to all the former CHC sites.           4        A. Correct.
 5   That's what he wrote, isn't it?                   5        Q. And going back to 2012 it doesn't
 6        A. That's what he wrote.                     6   show a president, but it shows Shelton Frey as
 7        Q. And that was the goal?                    7   the secretary. Is that what you understand?
 8        A. This is -- it's a goal, but --            8        A. Yes.
 9           MR. FINCH: It says it was a goal.         9
10        A. It was a goal, yes.                      10           (Plaintiff's Exhibit Number 334
11        Q. (BY MR. EVANS) And that would            11   was marked for identification and copy of same
12   have included JCS as one of the CHC sites?       12   is attached hereto).
13        A. This is really limited to time and       13
14   attendance policy.                               14        Q. (BY MR. EVANS) We're going to do
15        Q. Okay. My question is would that          15   the same thing for CHC Companies. Let me show
16   have included JCS?                               16   you now Exhibit 334. And, again, we have a
17        A. Yes.                                     17   multi-page document for 2013, '14 and '15.
18                                                    18   Looking at the first page, it shows -- who
19           (Plaintiff's Exhibit Number 333          19   does it show as the president?
20   was marked for identification and copy of same   20        A. It shows Jorge Dominicis.
21   is attached hereto).                             21        Q. Dominicis. And he would have been
22                                                    22   the president in 2015, is that correct?
23       Q. (BY MR. EVANS) I'm going to show          23        A. Yes.
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 1       Q. Not you?                                     1             MR. FINCH: We are.
 2       A. No.                                          2         Q. (BY MR. EVANS) My question to
 3       Q. And it shows David Watson as the             3   you, is that a correct listing of the officers
 4   secretary, is that correct --                       4   of that entity in March of 2016?
 5       A. Correct.                                     5         A. I don't know if David Watson was
 6       Q. -- in 2015?                                  6   still -- as far as I know, yes. David Watson
 7       A. Correct.                                     7   left, but I don't remember exactly when.
 8       Q. When we go back to 2014, for CHC             8         Q. The next page is a similar
 9   Companies, Inc., it shows the president is          9   document about JCS dated April the 9th, 2015,
10   Dirk Allison, is that correct for 2014?            10   same exhibit, Exhibit 335. Do you see that?
11       A. Correct.                                    11         A. I do.
12       Q. And Bradley Bickham as the                  12         Q. And the time frame of this filing
13   secretary?                                         13   in April of 2015 would have been shortly
14       A. Correct.                                    14   before -- or it would have been after the
15       Q. When we go back to 2013 it shows            15   merger between CHC and CCS, wouldn't it?
16   Doug Goetz as the president for CHC Companies,     16         A. Correct.
17   and Shelton Frey as the secretary, is that         17         Q. And here we're showing Mr. Boyle
18   correct?                                           18   as the CEO, Mr. McClure as the CFO and the
19       A. That's what it shows, yes.                  19   secretary. Were those correct indications at
20       Q. And is that correct?                        20   that time frame?
21       A. Yes.                                        21         A. I believe so.
22       Q. So that document has correct                22         Q. Flip on over with me to the fourth
23   information, not just on file?                     23   page of that exhibit, if you would. And,
                                             Page 266                                             Page 268
 1       A. Yes.                                         1   again, it's a report about JCS, this time back
 2                                                       2   in March of 2014.
 3          (Plaintiff's Exhibit Number 335 as           3        A. Okay.
 4   marked for identification and copy of same is       4        Q. And as the officers of JCS are
 5   attached hereto).                                   5   listed here, it's Doug Goetz, the CEO, Bruce
 6                                                       6   McDaniel, CFO, and Shelton Frey as the
 7         Q. (BY MR. EVANS) I'm now going to            7   secretary. Were those correct at that time?
 8   show you some similar documents from the State      8        A. Correct.
 9   of Georgia which we've marked as Exhibit 335.       9        Q. And it shows that it's updated to
10   I'll represent to you, sir, this is an annual      10   Dirk Allison, Bruce McDaniel, and Bradley
11   registration again for Judicial Correction         11   Bickham. Which would have been correct in
12   Services, Incorporated, filed just a few           12   March of 2014?
13   months ago, March of 2016, showing the             13        A. Correct.
14   officers information. And it shows Mr. Cary        14        Q. Sir?
15   McClure as the secretary, David Watson as the      15        A. Yes.
16   CFO, and Jorge Dominicis --                        16        Q. Okay, maybe I didn't ask the
17            MR. FINCH: You got the last name          17   question very clearly. Which grouping of
18   right.                                             18   those two would have been correct in March of
19         A. The last name.                            19   2014?
20            MR. EVANS: Jorge.                         20        A. Oh. This is updated from this --
21            MR. FINCH: Jorge.                         21        Q. Okay.
22            MR. EVANS: All right, bear with           22        A. -- so the latter, Dirk Allison,
23   me, guys.                                          23   McDaniel, and Bickham.
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Don Houston                                                                                                 68
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 1        Q. Okay. The next page in that               1        A. No, I said Goetz -- I mean,
 2   document is a similar filing with the State of    2   Jarrett Gorlin was the president, Goetz was
 3   Georgia showing Mr. Goetz as the CFO, Bruce       3   the CEO.
 4   McDaniel, and Shelton Frey in 2013, is that       4        Q. And that would have been true in
 5   correct?                                          5   August of 2012?
 6        A. Yes.                                      6        A. Yes.
 7        Q. And as we go on back to the next          7        Q. When we filed this lawsuit it was
 8   page, 2012, Mr. Goetz is the -- CFO, Charlie      8   served on Mr. Goetz, and the parties included
 9   Farrahar, and Shelton Frey, the secretary, is     9   Correctional Healthcare Companies, Incorpo-
10   that correct?                                    10   rated. There were sworn answers filed to a
11        A. Okay, the first one is not               11   set of interrogatories that we had served at
12   correct. The second one is correct.              12   that time, and for a number of months it was
13        Q. The second one showing --                13   defended on the basis that Correctional
14        A. This is not correct.                     14   Healthcare Companies, Incorporated, was
15           MR. FINCH: NO, I think he's --           15   different from CHC Companies, Incorporated,
16        A. Down here, this is correct.              16   and we've talked about that today, haven't we?
17           MS. PARRISH: The first group or          17        A. We have.
18   the second group?                                18        Q. Mr. Goetz certainly would have
19        A. The first group where it's got           19   known any difference that existed at that
20   Doug as the CEO and CFO and Larry Wolk.          20   time, wouldn't he?
21           MR. FINCH: That's not correct.           21            MR. FINCH: Object to the form.
22        A. Doug was not the CFO --                  22        A. I can't speak for him, but I would
23        Q. (BY MR. EVANS) Yes, sir, it looks        23   think so.
                                          Page 270                                                 Page 272
 1   like it's been updated to show Goetz is the       1         Q. (BY MR. EVANS) I want to show
 2   CEO, Charlie Farrahar as the CFO, and Shelton     2   you, and I don't have a lot of copies of this,
 3   Frey as the secretary --                          3   gentlemen, but it's JCS's answers to
 4        A. Correct.                                  4   interrogatories and requests for production
 5        Q. -- in 2012, would that be correct?        5   that were filed back in February of 2014, and
 6        A. Correct.                                  6   I'll mark it as Exhibit 336.
 7        Q. So in 2012 when this lawsuit was          7
 8   filed Mr. Goetz would have been the president     8           (Plaintiff's Exhibit Number 336
 9   of the company, Judicial Correction Services,     9   was marked for identification and copy of same
10   Incorporated, correct?                           10   is attached hereto).
11        A. The president of the company was         11
12   Jarrett Gorlin.                                  12       Q. (BY MR. EVANS) I'm sure in your
13        Q. But Goetz would have been the CEO?       13   experience you've seen interrogatories and
14             MR. FINCH: CEO.                        14   requests for production, haven't you?
15        A. Right.                                   15       A. I have, yes.
16        Q. (BY MR. EVANS) Okay.                     16       Q. They're a series of written ques-
17             MR. TANKERSLEY: You've got to          17   tions and written responses to them.
18   verbalize your response.                         18           MR. JACKSON: Are those JCS's
19             MR. EVANS: I'm sorry?                  19   responses or Correctional Healthcare
20             MR. TANKERSLEY: He needs to            20   Companies' responses or both?
21   verbalize the response.                          21           MR. EVANS: This is JCS and
22             MR. EVANS: I thought he did.           22   Correctional Healthcare Companies' responses.
23        Q. (BY MR. EVANS) Did you say yes?          23           MR. JACKSON: Okay.
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Don Houston                                                                                          69
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 1           MR. FINCH: What's the date of            1   believe that's correct.
 2   that?                                            2        Q. You believe that's correct?
 3           MS. PARRISH: February of 2014.           3        A. Yes.
 4           MR. EVANS: '14, February 19th.           4        Q. Is that something that's under
 5           MR. FINCH: Okay.                         5   your supervision in your position here with
 6        Q. (BY MR. EVANS) I'll step around          6   CCS?
 7   here beside you, sir. Of interest to us is       7        A. This here is, Correctional
 8   this. Question number two, we asked to           8   Healthcare Companies, Inc., which is that
 9   identify the officers, directors, owners,        9   there, yes, I do supervise that.
10   board members, et cetera, of JCS, Judicial      10        Q. You're pointing to the chart
11   Correction Services, Inc., and Correctional     11   that's on the wall. What are you pointing to?
12   Healthcare Companies, Inc. And Correctional     12        A. Well, it's -- it's these facili-
13   Healthcare Companies responds that              13   ties here.
14   Correctional Healthcare Companies, Inc. is a    14        Q. So on the chart this morning you
15   wholly-owned subsidiary of CHC Companies,       15   drew a circle around a number of boxes?
16   Inc. Is that true?                              16        A. Correct.
17        A. (Examining document).                   17        Q. And you put CHC out here. Are you
18   Correctional Healthcare Companies, Inc.,        18   now saying that's Correctional Healthcare
19   Correctional Healthcare . . . CHC. So this is   19   Companies, Inc., not CHC Companies, Inc.?
20   CHCC, Inc., correct?                            20        A. This is CHC Companies, Inc.
21           MR. FINCH: Yeah.                        21        Q. Okay, this is CHC Companies?
22        A. Then that's correct.                    22        A. Correct.
23        Q. (BY MR. EVANS) Is that correct?         23        Q. Again, let me ask you on not that,
                                         Page 274                                              Page 276
 1         A. Yes.                                    1   but this --
 2         Q. Well, what is this entity,              2           MR. FINCH: He's asking about the
 3   Correctional Healthcare Companies, Inc., that    3   subsidiary, not --
 4   we've been talking about and asking about?       4        Q. (BY MR. EVANS) This Correctional
 5   Does it exist now?                               5   Healthcare Companies, Inc., which this answer
 6         A. It does exist.                          6   differentiates from CHC Companies, Inc., are
 7         Q. What does it do?                        7   we communicating?
 8         A. It is -- it holds contracts for         8           MR. FINCH: I think if you show
 9   prisons and jails, and it's an entity that,      9   him the org. chart --
10   you know, I help manage.                        10        A. Really.
11         Q. Is it still -- is it owned and         11           MR. FINCH: -- you can get better
12   controlled by CHC Companies, Inc.?              12   communication, but you can do it however you
13           MR. FINCH: Object to form.              13   want.
14         A. I'm not sure how it works above        14        A. Yeah, do you have an org. chart?
15   that.                                           15        Q. (BY MR. EVANS) No, but I've got
16         Q. (BY MR. EVANS) I'm not talking         16   this answer, though, and we've got a bunch of
17   about above it, I'm talking about is it under   17   responses pretending that this company was a
18   CHC Companies, Inc.? This document indicates    18   different company.
19   it's a wholly-owned subsidiary of CHC           19           MR. JACKSON: Object to the form.
20   Companies, Inc.                                 20           MR. FINCH: There's no pretension
21         A. At this time --                        21   about it.
22         Q. 2014 is when this was signed.          22        Q. (BY MR. EVANS) You can answer,
23         A. I think that -- yeah, I -- I           23   sir. Do you know anything about this wholly-
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 1   owned subsidiary of CHC Companies?                1           MS. PARRISH: Correctional
 2              MR. FINCH: Objection --                2   Healthcare Companies, Inc.
 3         A. It is --                                 3           MR. FINCH: Where is that?
 4              MR. FINCH: -- asked and answered.      4           MS. PARRISH: Right here (Indi-
 5         A. It is a part of this, so                 5   cating).
 6   it's . . .                                        6        Q. (BY MR. EVANS) (Indicating).
 7         Q. (BY MR. EVANS) If you don't know,        7   We'll go back to this again.
 8   I can understand, but --                          8        A. See, I thought this was talking
 9         A. Okay, all right, just yes.               9   about this, Correctional Healthcare Companies,
10         Q. Okay. CHC Companies, Inc., we've        10   Inc., and the current officers of that --
11   gone through that --                             11        Q. Yes, sir, go to the next page.
12         A. Yes.                                    12        A. Okay.
13         Q. -- you're the corporate represen-       13        Q. You see it shows you as the
14   tative about that here today?                    14   executive VP and COO --
15         A. Yes.                                    15        A. Correct.
16         Q. And we've testified, and that's --      16        Q. -- of this entity that you said
17   and you've circled around the boxes that are     17   you don't know anything about.
18   CHC Companies, Inc.?                             18        A. (Examining document). (Shaking
19         A. Correct.                                19   head).
20         Q. This answer says that one of the        20        Q. You don't know how that came
21   subsidiaries, a wholly-owned subsidiary of CHC   21   about? Is it your understanding --
22   Companies, Inc., is Correctional Healthcare      22        A. To me -- yeah, I --
23   Companies, Inc. Do you know anything about       23        Q. You've told me you didn't know
                                          Page 278                                               Page 280
 1   that?                                             1   anything about that company?
 2        A. No.                                       2        A. Well, to me that was this company.
 3        Q. That's an honest answer.                  3   I'm testifying --
 4        A. Okay.                                     4        Q. You think they're one and the
 5        Q. And I believe it. Do you know why         5   same?
 6   it has been involved at all? Is it involved       6        A. I'm testifying to this company
 7   at all in JCS, if you know?                       7   here, that's the one that I know about, which
 8        A. I don't know.                             8   is Correctional Healthcare Companies, Inc.
 9        Q. Do you know who the officers of it        9        Q. Known as CHC Companies, Inc.?
10   are?                                             10        A. Correct.
11        A. No.                                      11        Q. You think they're one and the same
12        Q. Well, the reason I ask that is           12   entity?
13   because it says that the president and chief     13        A. I can't answer that.
14   executive officer is Dirk Allison and that       14        Q. Well, do you know of any separa-
15   you're the executive vice president and COO.     15   tion between the separate legal entities with
16            MR. JACKSON: What are you               16   different names, although those are very
17   referring to?                                    17   similar?
18            MR. EVANS: The answers to               18        A. No, that would be -- I can't
19   interrogatories.                                 19   answer that.
20            MR. JACKSON: Which one?                 20        Q. So are you -- who could answer it
21            MR. EVANS: Number two.                  21   for us?
22            MR. JACKSON: Okay, still number         22        A. I would think that David Perry
23   two.                                             23   could answer that.
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 1        Q. I'll give him that opportunity.          1        A. Yes.
 2        A. Okay.                                    2        Q. You would have been aware that it
 3        Q. Other than the company we've asked       3   was alleging problems with the operations of
 4   to depose today, CHC Companies, Inc. --          4   JCS that was under CHC, weren't you?
 5        A. Yes.                                     5        A. I was, in general, aware of what
 6        Q. -- are you aware of any other            6   the allegations were, yes.
 7   entity of that similar name, Correctional        7        Q. Okay. Do you know why anybody
 8   Healthcare --                                    8   would have taken the position that CHC was
 9        A. Yeah, I've heard some confusion          9   Correctional Healthcare Companies, a different
10   about it --                                     10   entity from CHC?
11        Q. It's confusing, I'll tell you.          11        A. No.
12        A. -- but that's all I've heard, and       12        Q. Wouldn't make sense to you, would
13   so --                                           13   it?
14        Q. As far as being a COO of any other      14        A. In general terms, no.
15   company of similar name, you're not?            15           MR. EVANS: All right, we're going
16        A. No.                                     16   to continue the deposition because we still
17        Q. Okay. You mentioned just a moment       17   don't have the merger documents that we --
18   ago that when we were trying to figure that     18   that you talked about when the actual merger
19   out you thought that might be an entity that    19   between CCS and CHC occurred --
20   was holding contracts. Do you remember that     20           THE WITNESS: Okay.
21   just a moment ago?                              21           MR. EVANS: -- and we're going to
22        A. No, that was not that one. That         22   have to take up some issues on some of these
23   was PNA still holds contracts, there's a        23   redactions that we've seen, but -- and there
                                          Page 282                                              Page 284
 1   number of entities that create Correctional      1   are a number of agreements that we would ask
 2   Healthcare, Inc., that still hold contracts.     2   for that have not been produced. So we, with
 3         Q. Such as JCS?                            3   that caveat, we're done for the day. I
 4         A. JCS still holds contracts. PNA          4   appreciate your patience.
 5   still holds contracts. Secure Care still         5           THE WITNESS: All right, thank
 6   holds contracts. CHM still holds contracts.      6   you.
 7         Q. And as far as any separate legal        7           MR. FINCH: I do want to ask about
 8   entities of similar names, you're just not       8   this organizational chart which I offered to
 9   aware of them or how they're set up?             9   let you ask him about, but . . .
10         A. I'm not aware of them or how           10           (Whereupon, an off-the-record
11   they're set up.                                 11   discussion was had).
12         Q. When did you first become aware of     12
13   this lawsuit?                                   13          (Defendant's Exhibit Number 1 was
14         A. I heard about it in 2014.              14   marked for identification and copy of same is
15         Q. It was filed in 2012 --                15   attached hereto).
16         A. Okay.                                  16
17         Q. -- so you would have heard about       17   EXAMINATION BY MR. FINCH:
18   it, you think, the first time in 2014?          18        Q. All right, Mr. Houston, I will
19         A. Yes.                                   19   make my own attempt to clear up the confusion
20         Q. Okay, and I suppose you had            20   over CHC Companies, Inc., versus another
21   conversations with counsel, which I'm not       21   entity called Correctional Healthcare
22   going to ask you the substance, but you did     22   Companies, Inc. I've marked as Exhibit 1 an
23   about that?                                     23   organizational chart which shows a variety of
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 1   companies that you have been affiliated with,     1        A. Yes.
 2   is that correct?                                  2        Q. All right, and then moving to the
 3            MR. TANKERSLEY: Sir, do you have         3   right again, there's an entity called
 4   extra copies of that exhibit?                     4   Correctional Healthcare Companies, Inc. Was
 5            MR. FINCH: No, I do not.                 5   that a subsidiary of CHC Companies, Inc.?
 6            MR. TANKERSLEY: Do you mind if I         6        A. Yes.
 7   look over your shoulder?                          7        Q. And what sort of contracts did
 8            MR. FINCH: Come on.                      8   that company have, or what was its niche?
 9        Q. (BY MR. FINCH) And you see on             9        A. That held a -- correctional health
10   this organizational chart CHC Companies,         10   care contracts providing inmate health care in
11   Inc.?                                            11   prisons and jails.
12        A. Yes.                                     12        Q. All right. So Correctional
13        Q. All right, circle that and put           13   Healthcare Companies, Inc., was a subsidiary
14   your name by it, please?                         14   of CHC Companies, Inc., is that correct?
15        A. (Marking).                               15        A. That's correct.
16        Q. All right, so you have your              16        Q. And JCS -- excuse me, Judicial
17   initials there?                                  17   Correction Services, Inc., as we move further
18        A. Yes.                                     18   to the right on this organizational chart,
19        Q. And is that the entity that you          19   that's the company we've been talking about,
20   were the president and COO of at various         20   JCS, all day, correct?
21   times?                                           21        A. That's correct.
22        A. I was the COO of that entity, yes.       22        Q. And then moving further into the
23        Q. Okay. And below that entity are          23   last subsidiary on the right, we have
                                           Page 286                                              Page 288
 1   five other entities starting on the left,         1   Physicians Network Associates -- is that
 2   going from left to right, CHC Pharmacy            2   plural or not --
 3   Services, Inc. Was that a subsidiary of CHC       3        A. Association.
 4   Companies, Inc.?                                  4        Q. -- excuse me, Inc., and what was
 5        A. It was.                                   5   the industry that company was involved in?
 6        Q. What services did it provide or           6        A. Providing health care to inmates.
 7   what --                                           7        Q. Okay. Now, having looked at this
 8        A. Pharmacy --                               8   organization chart and seeing these two
 9        Q. -- kind of contracts did it hold?         9   entities that have been talked about, CHC
10        A. Pharmacy-related contracts.              10   Companies, Inc., and Correctional Healthcare
11        Q. For the correctional industry?           11   Companies, Inc., are those separate entities?
12        A. For -- for medication for inmates.       12        A. They are separate entities.
13        Q. Okay. And moving to the right,           13        Q. One is a parent, and the other is
14   there's another entity, Health Professionals,    14   a subsidiary company?
15   Ltd.. Was that also a subsidiary of CHC          15        A. Correct.
16   Companies, Inc.?                                 16        Q. All right, and the company that
17        A. Yes.                                     17   you were responsible for running was CHC
18        Q. And what function or contracts did       18   Companies, Inc.?
19   it have?                                         19        A. That's correct.
20        A. It had health care contracts             20        Q. And in that role you also oversaw
21   primarily in the Midwest United States.          21   these five subsidiaries, including commercial
22        Q. Okay, again, with correctional           22   -- excuse me, Correctional Healthcare
23   facilities?                                      23   Companies, Inc.?
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 1       A. That's correct.                              1   those (Indicating).
 2           MR. FINCH: All right, that's all            2        Q. You'll have to identify them for
 3   I have. Thank you.                                  3   the record.
 4           THE WITNESS: That made it so much           4        A. Health Professionals, Ltd., and
 5   easier.                                             5   Correctional Healthcare Companies, Inc.
 6                                                       6        Q. And do you know what function
 7   REEXAMINATION BY MR. EVANS:                         7   Correctional Healthcare Companies, Inc., as a
 8        Q. Mr. Houston, the document that              8   subsidiary, served?
 9   your lawyer pulled out of his stuff over            9        A. Yeah, it's inmate health care.
10   there, had you seen that before?                   10        Q. And it held contracts?
11        A. I have seen this -- something              11        A. It held contracts.
12   similar to this before, yes.                       12        Q. Essentially it was a shell to hold
13        Q. Something similar to it?                   13   these contracts, right?
14        A. Yes.                                       14           MR. FINCH: Object to form.
15        Q. Can you tell me the date of it?            15        Q. (BY MR. EVANS) You can answer.
16        A. July 29th, 2014.                           16        A. I don't know what a shell means,
17        Q. July 29th, 2014. And how long did          17   but it holds contracts. The contracts are in
18   that organizational structure remain in place?     18   that entity's name.
19        A. It's still in place.                       19        Q. Well, a shell would mean a company
20        Q. You think it's still in place?             20   that exists legally but doesn't have any
21        A. Uh-huh (Nodding head).                     21   assets. You've not heard that term before?
22        Q. And when did it first become in            22        A. (Shaking head).
23   place?                                             23        Q. As far as the operations of JCS
                                             Page 290                                             Page 292
 1           MR. FINCH: With respect to what             1   from 2010 forward, would Correctional
 2   part of the chart? He's pointing to a               2   Healthcare Companies, Incorporated, have had
 3   particular part, so I don't want you two to be      3   any responsibility or contact with it?
 4   confused further.                                   4        A. From 20 --
 5           MR. EVANS: I'm sure you wouldn't,           5        Q. 2012 --
 6   no more than a poke in the eye.                     6            MR. FINCH: 2011.
 7        Q. (BY MR. EVANS) As far as the                7        A. From 2011, okay. I was going to
 8   subsidiaries under CHC Companies, Inc., how         8   say 2010, no. 2011, it would have been to
 9   long were these subsidiaries structured under       9   here.
10   CHC Companies, Inc.?                               10        Q. (BY MR. EVANS) And you're
11        A. (Examining document).                      11   pointing back up to CHC Companies, Inc.?
12        Q. Do you know?                               12        A. Yes.
13        A. No. I know that it happened after          13            MR. FINCH: So his question is
14   the acquisition of PNA, which would have been      14   starting in 2011, did Correctional Healthcare
15   2010 and 2011 --                                   15   Companies, Inc. --
16        Q. 2011 was the acquisition of JCS?           16        Q. (BY MR. EVANS) Have any responsi-
17        A. JCS.                                       17   bility, operations --
18        Q. Okay.                                      18        A. No.
19        A. And Pharmacy, so before that it            19        Q. -- contact, any kind of --
20   was this (Indicating).                             20        A. No.
21        Q. Before 2011 you had two subsidi-           21        Q. -- effect on the operations of
22   aries?                                             22   JCS?
23        A. Yeah, before 2010 you just had             23        A. No.
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 1        Q. All of that would have run to CHC         1   chart, if I could. Do you know where this
 2   Companies, Inc., which you were the COO of, is    2   came from, this document came from?
 3   that your testimony?                              3         A. I've seen this document. It is --
 4        A. That's correct.                           4   I'm sure it came from our legal department.
 5        Q. And that testimony has now been           5         Q. But do you know what it was part
 6   expanded substantially by your review of          6   of? Was it part of a larger document?
 7   Defendant's Exhibit 1?                            7         A. I don't know.
 8        A. Yes.                                      8         Q. What do you remember about having
 9           MR. TANKERSLEY: Let me take a             9   seen this document before?
10   look at the document. Thank you, sir.            10         A. That it was confusing.
11        Q. (BY MR. EVANS) Do you know that          11         Q. Okay, other than that?
12   both CHC and Correctional Healthcare             12         A. No, I don't -- it really didn't
13   Companies, Inc., do business as the opposing     13   interest me, and so I didn't pay a whole lot
14   names?                                           14   of attention to it, but I've seen it before,
15           MR. FINCH: Object to form.               15   okay.
16        Q. (BY MR. EVANS) You didn't know           16         Q. Sure. Well, as you might imagine,
17   that?                                            17   I'm -- this is not a document we've seen
18        A. No, I don't know that.                   18   before. It's not Bates-numbered. It hasn't
19        Q. Did you know that Mr. Goetz              19   been produced.
20   changed the names of those two entities to       20            MR. FINCH: I'm going to object to
21   each other on the same day in 2011?              21   that.
22           MR. FINCH: Object to the form.           22            MR. JACKSON: Object to that. It
23        A. No, I don't know that.                   23   has been produced.
                                           Page 294                                             Page 296
 1        Q. (BY MR. EVANS) You didn't know            1            MR. TANKERSLEY: Okay, well, it
 2   that?                                             2   has been produced?
 3        A. No.                                       3            MR. FINCH: It has been produced.
 4        Q. And if that occurred, which the           4            MR. TANKERSLEY: It does not bear
 5   Department of Records in Delaware shows that      5   a Bates number?
 6   it did, you wouldn't know the reason that that    6            MR. JACKSON: Well, that copy may
 7   occurred?                                         7   not have a Bates number, but it's been
 8            MR. FINCH: Object to the form.           8   produced.
 9        A. I wouldn't know.                          9            MR. TANKERSLEY: All right.
10        Q. (BY MR. EVANS) It would be pretty        10        Q. (BY MR. TANKERSLEY) What I'm
11   confusing, wouldn't it?                          11   really trying to figure out is the source of
12            MR. FINCH: Object to form.              12   the document. Do you remember what it was
13        Q. (BY MR. EVANS) You can answer.           13   from?
14        A. I wouldn't know why Mr. Goetz made       14        A. No, I can't answer what the
15   that decision, no.                               15   document was from.
16        Q. I don't either. Maybe I'll get a         16        Q. Well, just to keep going here, so
17   chance to ask him.                               17   you were the chief executive officer of CHC
18            MR. EVANS: Okay, I don't have any       18   Companies, Inc., which is the holding company
19   further questions.                               19   for a number of companies which includes
20                                                    20   Correctional Healthcare Companies, Inc., is
21   REEXAMINATION BY MR. TANKERSLEY:                 21   that correct?
22       Q. Sir, not to look over your                22            MR. FINCH: Object to form.
23   shoulder, but I do have a question about this    23        A. Correct.
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 1         MR. FINCH: You said executive               1         A. That's what I'm told by our --
 2   officer.                                          2   there were just too many entities here --
 3        A. I was the chief operating officer.        3         Q. You're pointing at the bottom, and
 4        Q. (BY MR. TANKERSLEY) Chief opera-          4   these are the subsidiary corporations --
 5   ting officer. I'm sorry. And who was the          5         A. Correct.
 6   chief executive officer of Correctional           6         Q. -- for CHC Companies, Inc.?
 7   Healthcare Holding Company, Inc., the entity      7         A. Yes, because there were a number
 8   that's right above it?                            8   of companies that made this up.
 9        A. I have no idea.                           9         Q. Of what -- made what up?
10        Q. Who was your boss at this time,          10         A. Correctional Healthcare Companies,
11   July 29th, 2014?                                 11   Inc.
12        A. This was -- I think that may have        12         Q. So if the chart was a complete
13   been when Dirk came on. So it was either Doug    13   one, there would be a further line below
14   Goetz or Dirk Allison.                           14   Correctional Healthcare Companies, Inc., and
15        Q. All right, and who was Doug              15   some other entities below that?
16   Goetz's or Dirk Allison's boss?                  16           MR. FINCH: Object to form.
17        A. The board.                               17         A. (Nodding head).
18        Q. Okay. All right, and what is             18         Q. (BY MR. TANKERSLEY) You've got
19   Jessamine Healthcare, Inc., a Delaware company   19   to --
20   apparently?                                      20         A. Could be, yes.
21        A. Jessamine is a company that was          21         Q. What companies would they be?
22   created by one of the PE firms when they         22         A. Secure Care, CHM, Correctional
23   acquired CHC.                                    23   Healthcare Management.
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 1        Q. When you say PE you mean private          1        Q. Anything else?
 2   equity?                                           2        A. That's all I can remember.
 3        A. Private equity.                           3        Q. And, again, your testimony is that
 4        Q. Where does that word come from,           4   the business of the subsidiary Correctional
 5   Jessamine?                                        5   Healthcare Companies, Inc., was a health care
 6        A. The daughter of the chairman.             6   company?
 7        Q. Of the PE firm?                           7        A. Correct.
 8        A. Yes.                                      8            MR. TANKERSLEY: Okay, nothing
 9        Q. All right, and who was that, the          9   further. Thank you.
10   chairman?                                        10            MR. EVANS: With the previous
11        A. It was Dale Wolf. It had some-           11   statement I made about continuing to get the
12   thing to do with something in South Carolina.    12   rest of the documents, when we do, then we're
13        Q. Sure. Would you spell Dale --            13   done for the day.
14   Dale is D-a-l-e?                                 14            THE WITNESS: Thank you.
15        A. Why.                                     15
16        Q. And Wolf is W-o-l-f?                     16       FURTHER THE DEPONENT SAITH NOT
17        A. Correct.                                 17
18        Q. No E at the end?                         18
19        A. No, no E at the end.                     19
20        Q. And I believe you had testified          20
21   about this earlier, your understanding that      21
22   part of the motivation for the structure was     22
23   driven by tax considerations?                    23

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 1         CERTIFICATE
 2
 3   STATE OF ALABAMA:
 4   JEFFERSON COUNTY:
 5
 6           I hereby certify that the above
 7   and foregoing deposition was taken down by me
 8   in stenotype, and the questions and answers
 9   thereto were transcribed by means of
10   computer-aided transcription, and that the
11   foregoing represents a true and correct
12   transcript of the testimony given by said
13   witness upon said hearing.
14           I further certify that I am
15   neither of counsel nor kin to the parties to
16   the action, nor am I in any way interested in
17   the result of said cause.
18
19          /s/ Kerry K. Thames
20          KERRY K. THAMES - COMMISSIONER
21          Certificate Number: ACCR 364
22          Expires 9-30-16
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